                 Case 19-10488-LSS                 Doc 105         Filed 03/22/19           Page 1 of 106



                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                         )
In re:                                                                   )   Chapter 11
                                                                         )
Z GALLERIE, LLC, et al., 1                                               )   Case No. 19-10488 (LSS)
                                                                         )
                                       Debtors.                          )   (Jointly Administered)
                                                                         )

                     DISCLOSURE STATEMENT RELATING TO THE JOINT
               PLAN OF REORGANIZATION OF Z GALLERIE, LLC AND Z GALLERIE
         HOLDING COMPANY, LLC PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE 2

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Proposed Co-Counsel for the Debtors and Debtors in
Possession




THIS IS NOT A SOLICITATION OF AN ACCEPTANCE OR REJECTION OF THE PLAN. ACCEPTANCES OR
REJECTIONS MAY NOT BE SOLICITED UNTIL THIS DISCLOSURE STATEMENT HAS BEEN APPROVED BY
THE COURT. THIS DISCLOSURE STATEMENT IS BEING SUBMITTED FOR APPROVAL BUT HAS NOT BEEN
APPROVED BY THE COURT. THE INFORMATION IN THIS DISCLOSURE STATEMENT IS SUBJECT TO
CHANGE. THIS DISCLOSURE STATEMENT IS NOT AN OFFER TO SELL ANY SECURITIES AND IS NOT
SOLICITING AN OFFER TO BUY ANY SECURITIES.



1    The Debtors in the Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification number, are:
     Z Gallerie, LLC (3816) and Z Gallerie Holding Company, LLC (5949). The location of the Debtors’ service address is:
     1855 West 139th Street, Gardena, CA 90249.

2    The Debtors have filed this Disclosure Statement and the Plan with certain key provisions omitted. The Debtors continue to
     negotiate the terms of the Plan with their stakeholders including the DIP Lender, the Secured Credit Agreement Lenders,
     and the Committee. The Disclosure Statement and Plan remain subject to material modification in all respects.




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                Case 19-10488-LSS                Doc 105          Filed 03/22/19         Page 2 of 106




                     IMPORTANT INFORMATION ABOUT THIS DISCLOSURE STATEMENT


                                     THE DEADLINE TO VOTE ON THE PLAN IS
                                   June 4, 2019, 3 at 5:00 p.m. (prevailing Eastern Time)

          FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT MUST BE ACTUALLY RECEIVED BY
               STRETTO ON OR BEFORE THE VOTING DEADLINE AS DESCRIBED HEREIN.

       THE DEBTORS ARE PROVIDING THE INFORMATION IN THIS DISCLOSURE STATEMENT TO
HOLDERS OF CLAIMS OR INTERESTS FOR PURPOSES OF SOLICITING VOTES TO ACCEPT OR REJECT
THE JOINT PLAN OF REORGANIZATION OF Z GALLERIE, LLC AND Z GALLERIE HOLDING COMPANY,
LLC PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE. NOTHING IN THIS DISCLOSURE
STATEMENT MAY BE RELIED UPON OR USED BY ANY ENTITY FOR ANY OTHER PURPOSE. BEFORE
DECIDING WHETHER TO VOTE FOR OR AGAINST THE PLAN, EACH HOLDER ENTITLED TO VOTE
SHOULD CAREFULLY CONSIDER ALL OF THE INFORMATION IN THIS DISCLOSURE STATEMENT,
INCLUDING THE RISK FACTORS DESCRIBED IN ARTICLE VIII HEREIN. IN THE EVENT OF ANY
INCONSISTENCY BETWEEN THE DISCLOSURE STATEMENT AND THE PLAN, THE RELEVANT PROVISIONS
OF THE PLAN WILL GOVERN. 4

       THE DEBTORS URGE HOLDERS OF CLAIMS OR INTERESTS WHOSE VOTES ARE BEING
SOLICITED TO VOTE TO ACCEPT THE PLAN. THE DEBTORS URGE EACH HOLDER OF A CLAIM OR
INTEREST TO CONSULT WITH ITS OWN ADVISORS WITH RESPECT TO ANY LEGAL, FINANCIAL,
SECURITIES, TAX, OR BUSINESS ADVICE IN REVIEWING THIS DISCLOSURE STATEMENT, THE PLAN, AND
THE PROPOSED TRANSACTIONS CONTEMPLATED THEREBY. FURTHERMORE, THE BANKRUPTCY
COURT’S APPROVAL OF THE ADEQUACY OF THE INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT DOES NOT CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL OF THE PLAN.

      THIS DISCLOSURE STATEMENT CONTAINS, AMONG OTHER THINGS, SUMMARIES OF THE PLAN,
CERTAIN STATUTORY PROVISIONS, CERTAIN ANTICIPATED EVENTS IN THE CHAPTER 11 CASES, AND
CERTAIN DOCUMENTS THAT WILL IMPLEMENT THE RESTRUCTURING TRANSACTIONS DESCRIBED
HEREIN. ALTHOUGH THE DEBTORS BELIEVE THAT THESE SUMMARIES ARE FAIR AND ACCURATE,
THESE SUMMARIES ARE QUALIFIED IN THEIR ENTIRETY TO THE EXTENT THAT THEY DO NOT SET
FORTH THE ENTIRE TEXT OF SUCH DOCUMENTS OR STATUTORY PROVISIONS OR EVERY DETAIL OF
SUCH ANTICIPATED EVENTS. IN THE EVENT OF ANY INCONSISTENCY OR DISCREPANCY BETWEEN A
DESCRIPTION IN THIS DISCLOSURE STATEMENT AND THE TERMS AND PROVISIONS OF THE PLAN OR
ANY OTHER DOCUMENTS INCORPORATED HEREIN BY REFERENCE, THE PLAN OR SUCH OTHER
DOCUMENTS WILL GOVERN FOR ALL PURPOSES. FACTUAL INFORMATION CONTAINED IN THIS
DISCLOSURE STATEMENT HAS BEEN PROVIDED BY THE DEBTORS’ MANAGEMENT EXCEPT WHERE
OTHERWISE SPECIFICALLY NOTED. THE DEBTORS DO NOT REPRESENT OR WARRANT THAT THE
INFORMATION CONTAINED HEREIN OR ATTACHED HERETO IS WITHOUT ANY MATERIAL INACCURACY
OR OMISSION.

      IN PREPARING THIS DISCLOSURE STATEMENT, THE DEBTORS RELIED ON FINANCIAL DATA
DERIVED FROM THE DEBTORS’ BOOKS AND RECORDS AND ON VARIOUS ASSUMPTIONS REGARDING
THE DEBTORS’ BUSINESSES.    ALTHOUGH THE DEBTORS BELIEVE THAT SUCH FINANCIAL
INFORMATION FAIRLY REFLECTS THE FINANCIAL CONDITION OF THE DEBTORS AS OF THE DATE
HEREOF AND THAT THE ASSUMPTIONS REGARDING FUTURE EVENTS REFLECT REASONABLE BUSINESS
JUDGMENTS, NO REPRESENTATIONS OR WARRANTIES ARE MADE AS TO THE ACCURACY OF THE
FINANCIAL INFORMATION CONTAINED HEREIN OR ASSUMPTIONS REGARDING THE DEBTORS’
BUSINESSES AND THEIR FUTURE RESULTS AND OPERATIONS. THE DEBTORS EXPRESSLY CAUTION


3   As of the date hereof, the Debtors have not obtained Court approval of the Confirmation Schedule. Accordingly, this
    Disclosure Statement will be revised after entry of an order approving such schedule.

4   The Debtors have proprietary rights to a number of trademarks used in this Disclosure Statement that are important to their
    business, including, without limitation, the Z Gallerie trademark. This Disclosure Statement may omit the registered
    trademark (®), trademark (™), and other similar symbols for such trademarks named herein.




                                                              i
           Case 19-10488-LSS      Doc 105        Filed 03/22/19   Page 3 of 106



READERS NOT TO PLACE UNDUE RELIANCE ON ANY FORWARD-LOOKING STATEMENTS CONTAINED
HEREIN.

      THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE, AND MAY NOT BE CONSTRUED AS, AN
ADMISSION OF FACT, LIABILITY, STIPULATION, OR WAIVER.    THE DEBTORS OR ANY OTHER
AUTHORIZED PARTY IN INTEREST MAY SEEK TO INVESTIGATE, FILE, AND PROSECUTE CLAIMS AND
MAY OBJECT TO CLAIMS AFTER THE CONFIRMATION OR EFFECTIVE DATE OF THE PLAN
IRRESPECTIVE OF WHETHER THIS DISCLOSURE STATEMENT IDENTIFIES ANY SUCH CLAIMS OR
OBJECTIONS TO CLAIMS.

       THE DEBTORS ARE MAKING THE STATEMENTS AND PROVIDING THE FINANCIAL
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT AS OF THE DATE HEREOF, UNLESS
OTHERWISE SPECIFICALLY NOTED. ALTHOUGH THE DEBTORS MAY SUBSEQUENTLY UPDATE THE
INFORMATION IN THIS DISCLOSURE STATEMENT, THE DEBTORS HAVE NO AFFIRMATIVE DUTY TO DO
SO, AND EXPRESSLY DISCLAIM ANY DUTY TO PUBLICLY UPDATE ANY FORWARD-LOOKING
STATEMENTS, WHETHER AS A RESULT OF NEW INFORMATION, FUTURE EVENTS, OR OTHERWISE.
HOLDERS OF CLAIMS OR INTERESTS REVIEWING THIS DISCLOSURE STATEMENT SHOULD NOT INFER
THAT, AT THE TIME OF THEIR REVIEW, THE FACTS SET FORTH HEREIN HAVE NOT CHANGED SINCE
THIS DISCLOSURE STATEMENT WAS FILED. INFORMATION CONTAINED HEREIN IS SUBJECT TO
COMPLETION, MODIFICATION, OR AMENDMENT. THE DEBTORS RESERVE THE RIGHT TO FILE AN
AMENDED OR MODIFIED PLAN AND RELATED DISCLOSURE STATEMENT FROM TIME TO TIME.

      THE DEBTORS HAVE NOT AUTHORIZED ANY ENTITY TO GIVE ANY INFORMATION ABOUT OR
CONCERNING THE PLAN OTHER THAN THAT WHICH IS CONTAINED IN THIS DISCLOSURE STATEMENT.
THE DEBTORS HAVE NOT AUTHORIZED ANY REPRESENTATIONS CONCERNING THE DEBTORS OR THE
VALUE OF THEIR PROPERTY OTHER THAN AS SET FORTH IN THIS DISCLOSURE STATEMENT.

      IF THE PLAN IS CONFIRMED BY THE BANKRUPTCY COURT AND THE EFFECTIVE DATE OCCURS,
ALL HOLDERS OF CLAIMS OR INTERESTS (INCLUDING THOSE HOLDERS OF CLAIMS WHO DO NOT
SUBMIT BALLOTS TO ACCEPT OR REJECT THE PLAN, WHO VOTE TO REJECT THE PLAN, OR WHO ARE
NOT ENTITLED TO VOTE ON THE PLAN) WILL BE BOUND BY THE TERMS OF THE PLAN.

      THE CONFIRMATION AND EFFECTIVENESS OF THE PLAN ARE SUBJECT TO CERTAIN MATERIAL
CONDITIONS PRECEDENT DESCRIBED HEREIN AND SET FORTH IN ARTICLE IX OF THE PLAN. THERE IS
NO ASSURANCE THAT THE PLAN WILL BE CONFIRMED, OR IF CONFIRMED, THAT THE CONDITIONS
REQUIRED TO BE SATISFIED FOR THE PLAN TO GO EFFECTIVE WILL BE SATISFIED (OR WAIVED).

      YOU ARE ENCOURAGED TO READ THE PLAN AND THIS DISCLOSURE STATEMENT IN ITS
ENTIRETY, INCLUDING ARTICLE VIII, ENTITLED “RISK FACTORS,” BEFORE SUBMITTING YOUR BALLOT
TO VOTE ON THE PLAN.

      THE BANKRUPTCY COURT’S APPROVAL OF THIS DISCLOSURE STATEMENT DOES NOT
CONSTITUTE A GUARANTEE BY THE COURT OF THE ACCURACY OR COMPLETENESS OF THE
INFORMATION CONTAINED HEREIN OR AN ENDORSEMENT BY THE BANKRUPTCY COURT OF THE
MERITS OF THE PLAN.

      THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH SECTION 1125 OF
THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3016(B) AND IS NOT NECESSARILY PREPARED IN
ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS OR OTHER SIMILAR LAWS. THIS
DISCLOSURE STATEMENT HAS NOT BEEN APPROVED OR DISAPPROVED BY THE UNITED STATES
SECURITIES AND EXCHANGE COMMISSION (THE “SEC”) OR ANY SIMILAR FEDERAL, STATE, LOCAL, OR
FOREIGN REGULATORY AGENCY, NOR HAS THE SEC OR ANY OTHER AGENCY PASSED UPON THE
ACCURACY OR ADEQUACY OF THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT.

       THE DEBTORS HAVE SOUGHT TO ENSURE THE ACCURACY OF THE FINANCIAL INFORMATION
PROVIDED IN THIS DISCLOSURE STATEMENT; HOWEVER, THE FINANCIAL INFORMATION CONTAINED
IN THIS DISCLOSURE STATEMENT OR INCORPORATED HEREIN BY REFERENCE HAS NOT BEEN, AND
WILL NOT BE, AUDITED OR REVIEWED BY THE DEBTORS’ INDEPENDENT AUDITORS UNLESS
EXPLICITLY PROVIDED OTHERWISE.




                                            ii
           Case 19-10488-LSS      Doc 105         Filed 03/22/19   Page 4 of 106



      THE DEBTORS MAKE STATEMENTS IN THIS DISCLOSURE STATEMENT THAT ARE CONSIDERED
FORWARD-LOOKING STATEMENTS UNDER FEDERAL SECURITIES LAWS. THE DEBTORS CONSIDER ALL
STATEMENTS REGARDING ANTICIPATED OR FUTURE MATTERS TO BE FORWARD-LOOKING
STATEMENTS. FORWARD-LOOKING STATEMENTS MAY INCLUDE STATEMENTS ABOUT THE DEBTORS’:

      •   BUSINESS STRATEGY;

      •   FINANCIAL CONDITION, REVENUES, CASH FLOWS, AND EXPENSES;

      •   LEVELS OF INDEBTEDNESS, LIQUIDITY, AND COMPLIANCE WITH DEBT COVENANTS;

      •   FINANCIAL STRATEGY, BUDGET, PROJECTIONS, AND OPERATING RESULTS;

      •   SUCCESSFUL RESULTS FROM THE DEBTORS’ OPERATIONS;

      •   GENERAL ECONOMIC AND BUSINESS CONDITIONS;

      •   COUNTERPARTY CREDIT RISK;

      •   THE OUTCOME OF PENDING AND FUTURE LITIGATION;

      •   UNCERTAINTY REGARDING THE DEBTORS’ FUTURE OPERATING RESULTS; AND

      •   PLANS, OBJECTIVES, AND EXPECTATIONS.

       STATEMENTS CONCERNING THESE AND OTHER MATTERS ARE NOT GUARANTEES OF THE
REORGANIZED DEBTORS’ FUTURE PERFORMANCE. THERE ARE RISKS, UNCERTAINTIES, AND OTHER
IMPORTANT FACTORS THAT COULD CAUSE THE REORGANIZED DEBTORS’ ACTUAL PERFORMANCE OR
ACHIEVEMENTS TO BE DIFFERENT FROM THOSE THEY MAY PROJECT, AND THE DEBTORS UNDERTAKE
NO OBLIGATION TO UPDATE THE PROJECTIONS MADE HEREIN. THESE RISKS, UNCERTAINTIES, AND
FACTORS MAY INCLUDE THE FOLLOWING: THE DEBTORS’ ABILITY TO CONFIRM AND CONSUMMATE
THE PLAN; THE POTENTIAL THAT THE DEBTORS MAY NEED TO PURSUE AN ALTERNATIVE
TRANSACTION IF THE PLAN IS NOT CONFIRMED; THE DEBTORS’ ABILITY TO REDUCE THEIR OVERALL
FINANCIAL LEVERAGE; THE POTENTIAL ADVERSE IMPACT OF THE CHAPTER 11 CASES ON THE
DEBTORS’ OPERATIONS, MANAGEMENT, AND EMPLOYEES; THE RISKS ASSOCIATED WITH OPERATING
THE DEBTORS’ BUSINESSES DURING THE CHAPTER 11 CASES; CUSTOMER RESPONSES TO THE CHAPTER
11 CASES; THE DEBTORS’ INABILITY TO DISCHARGE OR SETTLE CLAIMS DURING THE CHAPTER 11
CASES; GENERAL ECONOMIC, BUSINESS, AND MARKET CONDITIONS; EXPOSURE TO LITIGATION; THE
DEBTORS’ ABILITY TO IMPLEMENT COST REDUCTION INITIATIVES IN A TIMELY MANNER; THE
DEBTORS’ ABILITY TO DIVEST EXISTING BUSINESSES; AND ADVERSE TAX CHANGES.

       THIS DISCLOSURE STATEMENT IS SUBJECT TO FURTHER REVISION AND WILL BE AMENDED
PRIOR TO THE HEARING TO CONSIDER ADEQUACY OF THIS THIS DISCLOSURE STATEMENT AND THE
RELATED SOLICITATION PROCEDURES TO, AMONG OTHER THINGS, TAKE INTO ACCOUNT THE
RESULTS OF THE AUCTION, IF ANY, FURTHER SPECIFICS OF ANY RESTRUCTURING TRANSACTION TO
BE CONSUMMATED PURSUANT TO THE PLAN, AND TO ACCOMMODATE ADDITIONAL REQUESTS FOR
DISCLOSURE.




                                            iii
                Case 19-10488-LSS                             Doc 105               Filed 03/22/19                    Page 5 of 106



                                                          TABLE OF CONTENTS
                                                                                                                                                                 Page

I.     INTRODUCTION ......................................................................................................................................... 1

II.    PRELIMINARY STATEMENT .................................................................................................................. 1

III.   QUESTIONS AND ANSWERS REGARDING THIS DISCLOSURE STATEMENT AND
       THE PLAN .................................................................................................................................................... 3
       A.           What is chapter 11? ........................................................................................................................... 3
       B.           Why are the Debtors sending me this Disclosure Statement? ........................................................... 4
       C.           Am I entitled to vote on the Plan? ..................................................................................................... 4
       D.           What will I receive from the Debtors if the Plan is consummated? .................................................. 4
       E.           What happens to my recovery if the Plan is not confirmed or does not go effective? ...................... 9
       F.           If the Plan provides that I get a distribution, do I get it upon Confirmation or when the
                    Plan goes effective, and what is meant by “Confirmation,” “Effective Date,” and
                    “Consummation?” ............................................................................................................................. 9
       G.           What are the sources of Cash and other consideration required to fund the Plan?............................ 9
       H.           Are there risks to owning the Reorganized Debtors Interests upon emergence from
                    chapter 11? ........................................................................................................................................ 9
       I.           Is there potential litigation related to Confirmation of the Plan? ...................................................... 9
       J.           Will the final amount of Allowed Unsecured Claims [and Allowed Critical Trade Claims]
                    affect the recovery of holders of Allowed Unsecured Claims under the Plan? ............................... 10
       K.           Will there be releases and exculpation granted to parties in interest as part of the Plan? ............... 10
       L.           What is the deadline to vote on the Plan? ....................................................................................... 11
       M.           How do I vote for or against the Plan? ............................................................................................ 11
       N.           Why is the Bankruptcy Court holding a Confirmation Hearing? .................................................... 11
       O.           When is the Confirmation Hearing set to occur? ............................................................................ 11
       P.           What is the purpose of the Confirmation Hearing? ......................................................................... 11
       Q.           What is the effect of the Plan on the Debtors’ ongoing businesses? ............................................... 12
       R.           Who do I contact if I have additional questions with respect to this Disclosure Statement
                    or the Plan? ..................................................................................................................................... 12
       S.           Could subsequent events potentially affect recoveries under the plan? .......................................... 12
       T.           Do the Debtors recommend voting in favor of the Plan? ................................................................ 13

IV.    THE DEBTORS’ PLAN ............................................................................................................................. 13
       A.           The Plan .......................................................................................................................................... 13

V.     THE DEBTORS’ CORPORATE HISTORY, STRUCTURE, AND BUSINESS OVERVIEW ........... 18
       A.           Z Gallerie’s Corporate History........................................................................................................ 18
       B.           The Debtors’ Business Operations .................................................................................................. 19
       C.           The Debtors’ Cost Structure............................................................................................................ 20
       (i)          Supply Chain ................................................................................................................................... 20
       (ii)         Employee Compensation and Benefits ........................................................................................... 20
       (iii)        Real Estate Obligations ................................................................................................................... 20
       D.           The Debtors’ Prepetition Capital Structure ..................................................................................... 20

VI.    EVENTS LEADING TO THE CHAPTER 11 FILINGS......................................................................... 21
       A.           Challenging Operating Environment and Operational Right-Sizing ............................................... 21
       B.           Supply Chain and Borrowing Base Challenges .............................................................................. 22
       C.           Exploration of Strategic Alternatives .............................................................................................. 22
       D.           Operational Right-Sizing Initiatives................................................................................................ 22
                 Case 19-10488-LSS                             Doc 105                Filed 03/22/19                   Page 6 of 106



VII.    MATERIAL DEVELOPMENTS AND ANTICIPATED EVENTS OF THE CHAPTER 11
        CASES .......................................................................................................................................................... 23
        A.           First Day Relief ............................................................................................................................... 23
        B.           Other Procedural and Administrative Motions ............................................................................... 23
        C.           Final Approval of Debtor-in-Possession Financing ........................................................................ 24
        D.           Schedules and Statements ............................................................................................................... 24
        E.           Appointment of Official Committee ............................................................................................... 24
        F.           Litigation Matters ............................................................................................................................ 25
        G.           Rejection and Assumption of Executory Contracts and Unexpired Leases .................................... 25
        H.           Independent Investigation ............................................................................................................... 25
        I.           Marketing Process ........................................................................................................................... 25

VIII.   RISK FACTORS ......................................................................................................................................... 27
        A.           Bankruptcy Law Considerations ..................................................................................................... 27
        B.           Risks Related to the Debtors’ and the Reorganized Debtors’ Businesses ....................................... 31

IX.     SOLICITATION AND VOTING PROCEDURES .................................................................................. 33
        A.           Holders of Claims Entitled to Vote on the Plan .............................................................................. 34
        B.           Voting Record Date ........................................................................................................................ 34
        C.           Voting on the Plan........................................................................................................................... 34
        D.           Ballots Not Counted ........................................................................................................................ 35

X.      CONFIRMATION OF THE PLAN........................................................................................................... 35
        A.           Requirements for Confirmation of the Plan .................................................................................... 35
        B.           Best Interests of Creditors/Liquidation Analysis ............................................................................ 35
        C.           Feasibility ........................................................................................................................................ 36
        D.           Acceptance by Impaired Classes ..................................................................................................... 36
        E.           Confirmation without Acceptance by All Impaired Classes ........................................................... 37

XI.     CERTAIN UNITED STATES FEDERAL INCOME TAX CONSEQUENCES OF THE
        PLAN .......................................................................................... ERROR! BOOKMARK NOT DEFINED.
        A.           Introduction ...................................................................................... Error! Bookmark not defined.
        B.           Certain U.S. Federal Income Tax Consequences of the Plan to the Debtors and Holders of
                     Allowed Class 10 Interests. .............................................................. Error! Bookmark not defined.
        C.           Certain U.S. Federal Income Tax Consequences of the Plan to Holders of Allowed Class
                     4 Term Loan New Tranche A Claims, Allowed Class 8 Critical Trade Claims and
                     Allowed Class 7 General Unsecured Claims. .................................. Error! Bookmark not defined.
        D.           Certain U.S. Federal Income Tax Consequences of the Plan to Holders of Allowed Class
                     5 Term Loan Tranche B Claims. ...................................................... Error! Bookmark not defined.
        E.           Character of Gain or Loss. ............................................................... Error! Bookmark not defined.
        F.           Accrued Interest. .............................................................................. Error! Bookmark not defined.
        G.           Market Discount. .............................................................................. Error! Bookmark not defined.
        H.           Ownership and Disposition of the Reorganized Debtors Interests. ................................................. 44
        I.           Information Reporting and Backup Withholding ............................. Error! Bookmark not defined.

XII.    RECOMMENDATION .............................................................................................................................. 48




                                                                                  i
            Case 19-10488-LSS      Doc 105          Filed 03/22/19   Page 7 of 106



                                        EXHIBITS

EXHIBIT A    Chapter 11 Plan

EXHIBIT B    Liquidation Analysis [TO COME]

EXHIBIT C    Financial Projections [TO COME]




                                               ii
                  Case 19-10488-LSS                Doc 105         Filed 03/22/19           Page 8 of 106



I.        INTRODUCTION

         Z Gallerie, LLC and Z Gallerie Holding Company, LLC, as debtors and debtors in possession
(collectively, the “Debtors”), submit this disclosure statement (this “Disclosure Statement”), pursuant to
section 1125 of the Bankruptcy Code, to holders of Claims against and Interests in the Debtors in
connection with the solicitation of votes for acceptance of the Joint Plan of Reorganization of Z Gallerie,
LLC and Z Gallerie Holding Company, LLC Pursuant to Chapter 11 of the Bankruptcy Code, dated
March 22, 2019 (as may be amended, supplemented, or modified from time to time, the “Plan”). 1 A copy
of the Plan is attached hereto as Exhibit A and incorporated herein by reference. The Plan constitutes a
separate chapter 11 plan for each of the other Debtors. The rules of interpretation set forth in Article I.B
of the Plan govern the interpretation of this Disclosure Statement.

     THE DEBTORS SUPPORT THE PLAN, AND THE DEBTORS BELIEVE THAT THE
COMPROMISES CONTEMPLATED UNDER THE PLAN ARE FAIR AND EQUITABLE,
MAXIMIZE THE VALUE OF THE DEBTORS’ ESTATES, AND PROVIDE THE BEST
RECOVERY TO STAKEHOLDERS. AT THIS TIME, THE DEBTORS BELIEVE THE PLAN
REPRESENTS THE BEST AVAILABLE OPTION FOR COMPLETING THE CHAPTER 11
CASES. THE DEBTORS RECOMMEND THAT YOU VOTE TO ACCEPT THE PLAN.

II.       PRELIMINARY STATEMENT

         Z Gallerie was the dream of three siblings —Joe, Carole, and Mike Zeiden—who started a small
single-location poster and accessory store in 1979, using their parent’s garage as a framing workshop at
night. From those humble beginnings, Z Gallerie has grown into a leading specialty retailer focused on
fashion and art-conscious home décor with 76 stores across the United States. The Zeiden’s love for art
ultimately became a driving force behind Z Gallerie’s overall design aesthetic. Today, Z Gallerie’s bright,
upscale stores attract a loyal customer base that appreciates the company’s curated, unique style and
customizable experience focused on fashion- and art-inspired home décor and home furnishings.
Customers can also browse inventory, develop their own style profile, and shop in-store and online.

         Following a transaction in 2014 in which the Zeidens sold majority control of the company to
Brentwood (as discussed in greater detail below), Z Gallerie’s performance declined. The downward
trajectory of Z Gallerie’s performance was largely driven by several key factors: (i) a store footprint
expansion did not meet performance targets; (ii) the addition of the Atlanta distribution center disrupted
operations and increased costs; and (iii) the failure to timely invest enough capital in Z Gallerie’s e-
commerce platform ultimately limited its growth. These missteps were exacerbated by macroeconomic
trends in the brick and mortar retail industry and lower housing starts. As a result, net revenue and
EBITDA declined significantly during fiscal years 2017 and 2018. By the Petition Date, the Debtors
lacked liquidity to continue operations.

         Because Z Gallerie’s declining performance was predominantly the result of operational missteps,
management believes that it can execute a plan to turn the company around and, in fact, has already seen
positive returns associated with its turnaround efforts, as discussed below. Accordingly, the Debtors
commenced the Chapter 11 Cases to right-size their capital structure and further implement both financial
and operational restructuring initiatives that management believes will best position Z Gallerie for future
success.

        The Debtors have taken—and will continue to take—several significant steps to turn-around the
business, including: (i) retaining A&G Realty Partners, LLC (“A&G”) in October 2018 to engage in rent

1     Capitalized terms used but not otherwise defined in this Disclosure Statement have the meaning given to them in the Plan.
              Case 19-10488-LSS           Doc 105        Filed 03/22/19     Page 9 of 106



reduction negotiations with landlords, resulting in an estimated savings of $3 million in annual lease
expenses; (ii) enhancing the eCommerce platform and website to expand the company’s omni-channel
strategy; (iii) revamping operations in the Atlanta distribution center over the last 6 months to streamline
processing and reduce expenses, contributing to the substantial improvement in operational performance;
(iv) launching more targeted social media marketing campaigns; and (v) implementing in-store employee
training and marketing programs to better communicate the brand’s strong value proposition to
customers. In addition, at the beginning of the Chapter 11 Cases, the Debtors obtained Court approval to
wind down and close 17 unprofitable retail store locations during the first two months of the Chapter 11
Cases [Docket No. 74]. These stores collectively lost $7.2 million in 2018.

         Due in large part to these initiatives undertaken to optimize the business and position the
company for future success, Z Gallerie has seen marked improvements in the months prior to the Petition
Date. From the sales perspective, February same store comparable sales are up 5% year-over-year, 2018
holiday ecommerce traffic was up 13% over 2017, and the average transaction amount is up significantly
in the last two months. From an operations perspective, saleable inventory is up 11%, lead time is down
20%, and orders not shipped due to processing issues are down 40% (all as compared to recent historic
averages). Taken together, the outlook is bright and Z Gallerie is not “just another retailer” facing market
headwinds.

         As contemplated by the Plan, the Debtors believe that a going-concern reorganization or
going-concern sale of Z Gallerie is in the best interest of all creditors and will maximize the value of the
estates for all creditors. Before the commencement of their chapter 11 cases, the Debtors initiated the sale
process by commencing a marketing process for the Z Gallerie business. On the first day of the
Chapter 11 Cases, the Debtors also filed a motion seeking Bankruptcy Court approval of procedures and a
process (the “Bidding Procedures”) for the Debtors to market and sell their assets under the Plan
[Docket No. 22], which motion is scheduled to be heard by the Bankruptcy Court on April 10, 2019. As
part of this process, the Debtors have reached out to approximately 180 potentially interested parties thus
far. The Bidding Procedures establish that non-binding indications of interest are due on April 19, 2019
and the deadline for interested parties to submit Qualified Bids is May 16, 2019 by 5:00 p.m. (prevailing
Eastern Time). The Auction to determine the Winning Bidder, if required, will be held on May 20, 2019.

         Whether the Debtors sell their assets through the Bidding Procedures and Sale process or
reorganize as a going-concern through a debt for equity conversion, the Debtors restructuring and
conclusion of the Chapter 11 Cases will be implemented through the Plan. Specifically, the Plan
contemplates each of these alternatives: (a) if there is a third-part Winning Bidder as part of the Sale
Process, the third party Winning Bidder will purchase the Assets through the Plan and the Sale
Transaction Proceeds will be distributed as recovery to the Prepetition Secured Lenders and (b) if there is
no third-party Winning Bidder, the Prepetition Secured Lenders will take control of Z Gallerie through a a
debt for equity exchange.

        Specifically, under the terms of the Plan, holders of Claims and Interests will receive the
following treatment in full and final satisfaction, compromise, settlement, release, and discharge of, and
in exchange for, such holders’ Claims and Interests:

        •   Secured Tax Claims, Other Secured Claims, and Other Priority Claims will be paid in
            full, in cash on the Effective Date or otherwise provided treatment as to render such
            Claims unimpaired.

        •   Allowed Secured Revolving Loan Claims will receive (a) if an Entity other than the
            Secured Credit Agreement Lenders is the Winning Bidder, its Pro Rata share of
            payment from the Secured Credit Agreement Distributable Cash up to payment in
            full or (b) if the Secured Credit Agreement Lenders are the Winning Bidder, its Pro

                                                     2
                  Case 19-10488-LSS                Doc 105           Filed 03/22/19        Page 10 of 106



                Rata share of [●] percent of the Reorganized Debtors Interests outstanding on the
                Effective Date.

           •    Holders of Secured Term Loan Claims will receive (a) if an Entity other than the
                Secured Credit Agreement Lenders is the Winning Bidder, its Pro Rata share of
                payment from the Secured Credit Agreement Distributable Cash up to payment in
                full or (b) if the Secured Credit Agreement Lenders are the Winning Bidder, its Pro
                Rata share of [●] percent of the Reorganized Debtors Interests outstanding on the
                Effective Date.

           •    Holders of Critical Trade Claims will receive their Pro Rata share of [the General
                Unsecured Claims Recovery Pool].

           •    Holders of General Unsecured Claims will receive their [Pro Rata share of the
                Critical Trade Claims Recovery Pool, plus any excess distributable cash proceeds
                depending on the outcome of the Auction].

        The Debtors believe that the Plan maximizes stakeholder recoveries in the Chapter 11 Cases as
any alternative to a going-concern sale or reorganization would materially reduce recoveries to claim
holders. Accordingly, the Debtors urge all holders of Claims entitled to vote to accept the Plan by
returning their Ballots so that Stretto, 2 the Debtors’ solicitation agent (the “Solicitation Agent”), actually
receives such Ballots by [June 10], 2019, at 5:00 p.m. prevailing Eastern Time (the “Voting Deadline”).
Assuming the Plan receives the requisite acceptances, the Debtors will seek the Bankruptcy Court’s
approval of the Plan at the Confirmation Hearing.

III.       QUESTIONS AND ANSWERS REGARDING THIS DISCLOSURE STATEMENT AND
           THE PLAN

           A.       What is chapter 11?

        Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. In addition
to permitting debtor rehabilitation, chapter 11 promotes equality of treatment for similarly-situated
creditors and similarly-situated equity interest holders, subject to the priority of distributions prescribed
by the Bankruptcy Code.

        The commencement of a chapter 11 case creates an estate that comprises all of the legal and
equitable interests of the debtor as of the date the chapter 11 case is commenced. The Bankruptcy Code
provides that the debtor may continue to operate its business and remain in possession of its property as a
“debtor in possession.”

         Consummating a chapter 11 plan is the principal objective of a chapter 11 case. A bankruptcy
court’s confirmation of a plan binds the debtor, any person acquiring property under the plan, any creditor
or equity interest holder of the debtor, and any other entity as may be ordered by the bankruptcy court.
Subject to certain limited exceptions, the order issued by a bankruptcy court confirming a plan provides
for the treatment of the debtor’s liabilities in accordance with the terms of the confirmed plan.




2      The motion to retain Stretto as Administrative Agent and Solicitation Agent [Docket No. 91] is scheduled to be heard by the
       Bankruptcy Court on April 10, 2019.



                                                                 3
              Case 19-10488-LSS                Doc 105       Filed 03/22/19    Page 11 of 106



         B.    Why are the Debtors sending me this Disclosure Statement?

        The Debtors are seeking to obtain Bankruptcy Court approval of the Plan. Before soliciting
acceptances of the Plan, section 1125 of the Bankruptcy Code requires the Debtors to prepare a disclosure
statement containing adequate information of a kind, and in sufficient detail, to enable a hypothetical
reasonable investor to make an informed judgment regarding acceptance of the Plan and to share such
disclosure statement with all holders of claims or interests whose votes on the Plan are being solicited.
This Disclosure Statement is being submitted in accordance with these requirements.

         C.    Am I entitled to vote on the Plan?

        Your ability to vote on, and your distribution (if any) under, the Plan depends on what type of
Claim or Interest you hold. Each category of Holders of Claims or Interests, as set forth in Article III of
the Plan pursuant to section 1122(a) of the Bankruptcy Code, is referred to as a “Class.” Each Class’s
respective voting status is set forth below:

    Class     Claim/Interest                                 Status     Voting Rights

    1         Secured Tax Claims                         Unimpaired     Not Entitled to Vote (Deemed to Accept)

    2         Other Secured Claims                       Unimpaired     Not Entitled to Vote (Deemed to Accept)

    3         Other Priority Claims                      Unimpaired     Not Entitled to Vote (Deemed to Accept)

    4         Secured Revolving Loan Claims               Impaired      Entitled to Vote

    5         Secured Term Loan Claims                    Impaired      Entitled to Vote

    6         Critical Trade Claims                       Impaired      Entitled to Vote

    7         General Unsecured Claims                    Impaired      Entitled to Vote

    8         Intercompany Claims                        Unimpaired     Not Entitled to Vote (Deemed to Accept or
                                                                        Reject)

    9         Intercompany Interests                     Unimpaired     Not Entitled to Vote (Deemed to Accept or
                                                                        Reject)

    10        Section 510(b) Claims                       Impaired      Not Entitled to Vote (Deemed to Reject)

    11        Interests in the Z Gallerie Holding         Impaired      Not Entitled to Vote (Deemed to Reject)
              Company, LLC



         D.    What will I receive from the Debtors if the Plan is consummated?

         The following chart provides a summary of the anticipated recovery to Holders of Claims or
Interests under the Plan. Any estimates of Claims or Interests in this Disclosure Statement may vary from
the final amounts allowed by the Bankruptcy Court. Your ability to receive distributions under the Plan
depends on the ability of the Debtors to obtain Confirmation and meet the conditions necessary to
consummate the Plan.




                                                         4
             Case 19-10488-LSS            Doc 105          Filed 03/22/19        Page 12 of 106



        Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan,
except to the extent that such Holder agrees to less favorable treatment, the treatment described below in
full and final satisfaction, compromise, settlement, release, and discharge of, and in exchange for, such
Holder’s Allowed Claim or Allowed Interest. Unless otherwise indicated, the holder of an Allowed
Claim or Allowed Interest, as applicable, shall receive such treatment on the later of the Effective Date
and the date such Holder’s Claim or Interest becomes an Allowed Claim or Allowed Interest or as soon as
reasonably practicable thereafter.

      THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE
ESTIMATES ONLY AND THEREFORE ARE SUBJECT TO CHANGE. FOR A COMPLETE
DESCRIPTION OF THE DEBTORS’ CLASSIFICATION AND TREATMENT OF CLAIMS
AND INTERESTS, REFERENCE SHOULD BE MADE TO THE ENTIRE PLAN.

                               SUMMARY OF EXPECTED RECOVERIES
Class   Claim/Equity      Treatment of Claim/Equity Interest                     Projected Amount   Projected
        Interest                                                                 of Claims          Recovery
  1     Secured Tax       Except to the extent that a Holder of an Allowed              $[●] –        100%
        Claims            Secured Tax Claim agrees to less favorable                     $[●]
                          treatment, on the Effective Date, in full and final
                          satisfaction, compromise, settlement, release, and
                          discharge of and in exchange for such Allowed
                          Secured Tax Claim, each Holder of an Allowed
                          Secured Tax Claim shall receive, at the option of
                          the applicable Reorganized Debtor:
                          (i) payment in full in Cash of such Holder’s
                               Allowed Secured Tax Claim; or

                          (ii) equal     semi-annual      Cash       payments
                               commencing as of the Effective Date or as
                               soon as reasonably practicable thereafter and
                               continuing for five years, in an aggregate
                               amount equal to such Allowed Secured Tax
                               Claim, together with interest at the applicable
                               non-default rate under non-bankruptcy law,
                               subject to the option of the applicable
                               Reorganized Debtor to prepay the entire
                               amount of such Allowed Secured Tax Claim
                               during such time period.

  2     Other Secured     Except to the extent that a Holder of an Allowed          $[●] – $[●]       100%
        Claims            Other Secured Claim agrees to less favorable
                          treatment, on the Effective Date, in full and final
                          satisfaction, compromise, settlement, release, and
                          discharge of and in exchange for such Allowed
                          Other Secured Claim, each Holder of an Allowed
                          Other Secured Claim shall receive, at the option
                          of the applicable Reorganized Debtor:
                          (i) payment in full in Cash of such Holder’s
                               Allowed Other Secured Claim;

                          (ii) the   collateral   securing   such   Holder’s



                                                       5
             Case 19-10488-LSS           Doc 105          Filed 03/22/19       Page 13 of 106




                              SUMMARY OF EXPECTED RECOVERIES
Class   Claim/Equity     Treatment of Claim/Equity Interest                    Projected Amount   Projected
        Interest                                                               of Claims          Recovery
                             Allowed Other Secured Claim;

                         (iii) Reinstatement of such Holder’s Allowed
                               Other Secured Claim; or

                         (iv) such other treatment rendering such Holder’s
                              Allowed Other Secured Claim Unimpaired.

  3     Other Priority   Except to the extent that a Holder of an Allowed           $[●] –          100%
        Claims           Other Priority Claim agrees to less favorable               $[●]
                         treatment, on the Effective Date, in full and final
                         satisfaction, compromise, settlement, release, and
                         discharge of and in exchange for such Allowed
                         Other Priority Claim, each Holder of an Allowed
                         Other Priority Claim shall receive payment in full
                         in Cash on account of such Holder’s Allowed
                         Other Priority Claim or such other treatment
                         rendering such Holder’s Allowed Other Priority
                         Claim Unimpaired
  4     Secured          To the extent any Allowed Secured Revolving                 $[●]            [●]
        Revolving Loan   Loan Claims are outstanding on the Effective
        Claims           Date, except to the extent that a Holder of an
                         Allowed Secured Revolving Loan Claim agrees
                         to less favorable treatment, on the Effective Date,
                         in full and final satisfaction, compromise,
                         settlement, release, and discharge of and in
                         exchange for such Allowed Secured Revolving
                         Loan Claim, each Holder of an outstanding
                         Allowed Secured Revolving Loan Claim shall
                         receive either:
                         (i) if an Entity other than the Secured Credit
                              Agreement Lenders is the Winning Bidder,
                              its Pro Rata share of payment from the
                              Secured Credit Agreement Distributable
                              Cash up to the full amount of the Allowed
                              Secured Revolving Loan Claim or such other
                              treatment rendering such Holder’s Allowed
                              Secured Revolving Loan Claim Unimpaired;
                              or

                         (ii) if the Secured Credit Agreement Lenders are
                              the Winning Bidder, its Pro Rata share of [●]
                              percent of the Reorganized Debtors Interests
                              outstanding on the Effective Date.




                                                      6
             Case 19-10488-LSS           Doc 105         Filed 03/22/19        Page 14 of 106




                              SUMMARY OF EXPECTED RECOVERIES
Class   Claim/Equity     Treatment of Claim/Equity Interest                    Projected Amount   Projected
        Interest                                                               of Claims          Recovery
  5     Secured Term     To the extent any Allowed Secured Term Loan                  $[●]           [●]
        Loan Claims      Claims are outstanding on the Effective Date,
                         except to the extent that a Holder of an Allowed
                         Secured Revolving Loan Claim agrees to less
                         favorable treatment, on the Effective Date, in full
                         and final satisfaction, compromise, settlement,
                         release, and discharge of and in exchange for
                         such Allowed Secured Term Loan Claim, each
                         Holder of an outstanding Allowed Secured Term
                         Loan Claim shall receive either:
                         (i) if an Entity other than the Secured Credit
                             Agreement Lenders is the Winning Bidder,
                             after payment in full to Holders of Allowed
                             Secured Revolving Loan Claims in Class 4,
                             its Pro Rata share of payment from the
                             Secured Credit Agreement Distributable
                             Cash up to the full amount of the Allowed
                             Secured Term Loan Claim or such other
                             treatment rendering such Holder’s Allowed
                             Secured Term Loan Claim Unimpaired; or

                         (ii) if the Secured Credit Agreement Lenders are
                              the Winning Bidder, its Pro Rata share of [●]
                              percent of the Reorganized Debtors Interests
                              outstanding on the Effective Date.

  6     Critical Trade   Except to the extent that a Holder of an Allowed            $[●]            [●]
        Claims           Critical Trade Claim agrees to less favorable
                         treatment, on the Effective Date, in full and final
                         satisfaction, compromise, settlement, release, and
                         discharge of and in exchange for such Allowed
                         Critical Trade Claim, each Holder of an Allowed
                         Critical Trade Claim shall receive, after payment
                         in full to Holders of Allowed Secured Revolving
                         Loan Claims in Class 4 and Holders of Allowed
                         Secured Term Loan Claims in Class 5, its Pro
                         Rata share (not to exceed the amount of such
                         Holder’s Allowed Critical Trade Claim) of [TO
                         COME].




                                                     7
             Case 19-10488-LSS               Doc 105         Filed 03/22/19        Page 15 of 106




                                 SUMMARY OF EXPECTED RECOVERIES
Class   Claim/Equity         Treatment of Claim/Equity Interest                    Projected Amount   Projected
        Interest                                                                   of Claims          Recovery
  7     General              Except to the extent that a Holder of an Allowed             $[●] –         [●]
        Unsecured            General Unsecured Claim agrees to less favorable              $[●]
        Claims               treatment, on the Effective Date, in full and final
                             satisfaction, compromise, settlement, release, and
                             discharge of and in exchange for such Allowed
                             General Unsecured Claim, each Holder of an
                             Allowed General Unsecured Claim shall receive,
                             after payment in full to Holders of Allowed
                             Secured Revolving Loan Claims in Class 4 and
                             Holders of Allowed Secured Term Loan Claims
                             in Class 5, its Pro Rata share (not to exceed the
                             amount of such Holder’s Allowed General
                             Unsecured Claim) of:
                             (i) [TO COME.]

  8     Intercompany         Holders of Intercompany Claims shall not receive             $0             0%
        Claims               any distribution on account of such Intercompany
                             Claims. On or after the Effective Date, the
                             Reorganized Debtors may reconcile such
                             Intercompany Claims as may be advisable in
                             order to avoid the incurrence of any past, present,
                             or future tax or similar liabilities by such
                             Reorganized Debtors.
  9     Intercompany         Intercompany Interests shall be, at the option of           N/A          0%/100%
        Interests            the Debtors either:
                             (ii) Reinstated in accordance with Article III.G
                                  of the Plan; or

                             (iii) Discharged,    canceled,    released,   and
                                   extinguished as of the Effective Date, and
                                   will be of no further force or effect, and
                                   Holders of Intercompany Interests will not
                                   receive any distribution on account of such
                                   Intercompany Interests.

 10     Section 510(b)       Allowed Section 510(b) Claims, if any, shall be             N/A             0%
        Claims               discharged, canceled, released, and extinguished
                             as of the Effective Date, and will be of no further
                             force or effect, and Holders of Allowed Section
                             510(b) Claims will not receive any distribution
                             on account of such Allowed Section 510(b)
                             Claims.
 11     Interests in the Z   Interests in Z Gallerie Holding Company, LLC                N/A             0%
        Gallerie Holding     shall be discharged, canceled, released, and
        Company, LLC         extinguished as of the Effective Date, and will be
                             of no further force or effect, and Holders of
                             Interests in Z Gallerie Holding Company, LLC
                             will not receive any distribution on account of
                             such Interests.


                                                         8
             Case 19-10488-LSS           Doc 105         Filed 03/22/19    Page 16 of 106



        E.     What happens to my recovery if the Plan is not confirmed or does not go effective?

        In the event that the Plan is not confirmed or does not go effective, there is no assurance that the
Debtors will be able to reorganize their businesses. It is possible that any alternative may provide holders
of Claims or Interests with less than they would have received pursuant to the Plan. For a more detailed
description of the consequences of an extended chapter 11 case, or of a liquidation scenario, see
Article X.B of this Disclosure Statement, entitled “Best Interests of Creditors/Liquidation Analysis,” and
the Liquidation Analysis attached hereto as Exhibit B.

        F.     If the Plan provides that I get a distribution, do I get it upon Confirmation or when
               the Plan goes effective, and what is meant by “Confirmation,” “Effective Date,” and
               “Consummation?”

         “Confirmation” of the Plan refers to approval of the Plan by the Bankruptcy Court. Confirmation
of the Plan does not guarantee that you will receive the distribution indicated under the Plan. After
Confirmation of the Plan by the Bankruptcy Court, there are conditions that must be satisfied or waived
so that the Plan can “go effective.” Distributions to holders of Allowed Claims can only be made on the
date the Plan becomes effective—the “Effective Date”—or as soon as reasonably practicable thereafter,
as specified in the Plan. See Article X of this Disclosure Statement, entitled “Confirmation of the Plan,”
for a discussion of the conditions precedent to consummation of the Plan. “Consummation” refers to
“substantial consummation” of the Plan, as defined in section 1101(2) of the Bankruptcy Code, and
means (a) the transfer of all or substantially all of the property proposed by the Plan to be transferred;
(b) assumption by the Debtors or by the successors to the Debtors under the Plan of the business or of the
management of all or substantially all of the property dealt with by the Plan; and (c) commencement of
distributions under the Plan. Note that Holders of certain types of Claims, such as General Unsecured
Claims and Critical Trade Claims, may not receive any distributions until the Debtors or Reorganized
Debtors have reconciled all such Claims, which could take several months or longer following the
Effective Date.

        G.     What are the sources of Cash and other consideration required to fund the Plan?

        The Plan will be funded by the following sources of consideration, as applicable: (a) Cash on
hand; (b) the Sale Proceeds; (c) the proceeds from the Exit Credit Agreement Facility; and (d) the
issuance of the Reorganized Debtors Interests.

        H.     Are there risks to owning the Reorganized Debtors Interests upon emergence from
               chapter 11?

        Yes. See Article VIII of this Disclosure Statement, entitled “Risk Factors.”

        I.     Is there potential litigation related to Confirmation of the Plan?

         Parties in interest may object to Confirmation of the Plan, which objections potentially could give
rise to litigation. See Article VIII.B.5 of this Disclosure Statement, entitled “The Reorganized Debtors
May Be Adversely Affected by Potential Litigation, Including Litigation Arising Out of the Chapter 11
Cases.”

       If it becomes necessary to confirm the Plan over the rejection of certain Classes, the Debtors may
seek confirmation of the Plan notwithstanding the dissent of such rejecting Classes. The Bankruptcy
Court may confirm the Plan pursuant to the “cramdown” provisions of the Bankruptcy Code, which allow
the Bankruptcy Court to confirm a plan that has been rejected by an impaired Class if it determines that


                                                     9
             Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 17 of 106



the Plan satisfies section 1129(b) of the Bankruptcy Code. See Article VIII.A.4 of this Disclosure
Statement, entitled “The Debtors May Not Be Able to Secure Confirmation of the Plan.”

        J.     Will the final amount of Allowed Unsecured Claims and Allowed Critical Trade
               Claims affect the recovery of holders of Allowed Unsecured Claims under the Plan?

         The Debtors’ estimate of aggregate Allowed General Unsecured Claims is approximately $[●] –
$[●] and aggregate Critical Trade Claims is approximately $[●]. Each holder of an Allowed General
Unsecured Claim will receive, after payment in full to Holders of Allowed Secured Revolving Loan
Claims in Class 4 and Holders of Allowed Secured Term Loan Claims in Class 5, its Pro Rata share (not
to exceed the amount of such Holder’s Allowed General Unsecured Claim) of the General Unsecured
Claims Recovery Pool. Each Holder of an Allowed Critical Trade Claim shall receive, after payment in
full to Holders of Allowed Secured Revolving Loan Claims in Class 4 and Holders of Allowed Secured
Term Loan Claims in Class 5, its Pro Rata share (not to exceed the amount of such Holder’s Allowed
Critical Trade Claim) of the Critical Trade Claims Recovery Pool.

         Although the Debtors’ estimate of Allowed General Unsecured Claims is the result of the
Debtors’ and their advisors’ careful analysis of available information, the projected amount of General
Unsecured Claims set forth herein is subject to material change (either higher or lower) and reflects the
Debtors’ current view on potential rejection damages. Any change in the number, identity, or timing of
actual rejected Executory Contracts and Unexpired Leases could have a material impact on the amount of
General Unsecured Claims. To the extent that the actual amount of rejection damages Claims changes,
the value of recoveries to holders of General Unsecured Claims could change as well, and such changes
could be material.

        Further, as of the Petition Date, the Debtors were parties to certain litigation matters that arose in
the ordinary course of operating their businesses and could become parties to additional litigation in the
future as a result of conduct that occurred prior to the Petition Date. Although the Debtors have disputed,
are disputing, or will dispute in the future the amounts asserted by such litigation counterparties, to the
extent these parties are ultimately entitled to a higher amount than is reflected in the amounts estimated
by the Debtors herein, the value of recoveries to holders of General Unsecured Claims could change as
well, and such changes could be material.

        Finally, the Debtors or any official committees appointed in the Chapter 11 Cases may object to
certain proofs of claim, and any such objections ultimately could cause the total amount of Allowed
General Unsecured Claims to change. These changes could affect recoveries to holders of General
Unsecured Claims, and such changes could be material.

        K.     Will there be releases and exculpation granted to parties in interest as part of the
               Plan?

         Yes, the Plan proposes to release the Released Parties and to exculpate the Exculpated Parties.
The Debtors’ releases, third-party releases, and exculpation provisions included in the Plan are an integral
part of the Debtors’ overall restructuring efforts and were an essential element of the negotiations among
the Debtors, Secured Credit Agreement Lenders, the DIP Lender, in obtaining their support for the Plan.

        The Released Parties and the Exculpated Parties have made substantial and valuable contributions
to the Debtors’ restructuring through efforts to negotiate and implement the Plan, which will maximize
and preserve the going-concern value of the Debtors for the benefit of all stakeholders. Accordingly, each
of the Released Parties and the Exculpated Parties warrants the benefit of the release and exculpation
provisions.


                                                     10
             Case 19-10488-LSS           Doc 105       Filed 03/22/19      Page 18 of 106



         Importantly, (a) all holders of Claims or Interests that vote to accept or are deemed to accept the
Plan, (b) all holders of Claims or Interests that abstain from voting on the Plan and who do not
affirmatively opt out of the releases provided by the Plan by checking the box on the applicable ballot
indicating that they opt not to grant the releases provided in the Plan, and (c) all holders of Claims or
Interests that vote to reject the Plan or are deemed to reject the Plan and who do not affirmatively opt out
of the releases provided by the Plan by checking the box on the applicable ballot indicating that they opt
not to grant the releases provided in the Plan, will be deemed to have expressly, unconditionally,
generally, individually, and collectively released and discharged all Claims and Causes of Action against
the Debtors and the Released Parties. The releases are an integral element of the Plan.

        Based on the foregoing, the Debtors believe that the releases and exculpations in the Plan are
necessary and appropriate and meet the requisite legal standard promulgated by the United States Court of
Appeals for the Third Circuit. Moreover, the Debtors will present evidence at the Confirmation Hearing
to demonstrate the basis for and propriety of the release and exculpation provisions. The release,
exculpation, and injunction provisions that are contained in the Plan are copied in Article IV.A.8 of this
Disclosure Statement, entitled “Releases.”

        L.     What is the deadline to vote on the Plan?

        The Voting Deadline is June 4, 2019, at 4:00 p.m. (prevailing Eastern Time).

        M.     How do I vote for or against the Plan?

         Detailed instructions regarding how to vote on the Plan are contained on the ballots distributed to
holders of Claims or Interests that are entitled to vote on the Plan. For your vote to be counted, your
ballot must be properly completed, executed, and delivered as directed, so that your ballot including your
vote is actually received by the Debtors’ Solicitation Agent on or before the Voting Deadline, which
is [June 10], 2019, at 5:00 p.m. prevailing Eastern Time. See Article IX of this Disclosure Statement,
entitled “Solicitation and Voting Procedures.”

        N.     Why is the Bankruptcy Court holding a Confirmation Hearing?

       Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a hearing on
confirmation of the Plan and recognizes that any party in interest may object to Confirmation of the Plan.

        O.     When is the Confirmation Hearing set to occur?

         The Bankruptcy Court has scheduled the Confirmation Hearing for June 11, 2019 at 10:00 a.m.
(prevailing Eastern Time). The Confirmation Hearing may be adjourned from time to time without
further notice.

        Objections to Confirmation must be filed and served on the Debtors, and certain other parties, by
no later than June 4, 2019, at 4:00 p.m. (prevailing Eastern Time) in accordance with the notice of the
Confirmation Hearing that accompanies this Disclosure Statement and the Disclosure Statement Order.

        P.     What is the purpose of the Confirmation Hearing?

         The confirmation of a plan of reorganization by a bankruptcy court binds the debtor, any issuer of
securities under a plan of reorganization, any person acquiring property under a plan of reorganization,
any creditor or equity interest holder of a debtor, and any other person or entity as may be ordered by the
bankruptcy court in accordance with the applicable provisions of the Bankruptcy Code. Subject to certain


                                                    11
             Case 19-10488-LSS            Doc 105     Filed 03/22/19      Page 19 of 106



limited exceptions, the order issued by the bankruptcy court confirming a plan of reorganization
discharges a debtor from any debt that arose before the confirmation of such plan of reorganization and
provides for the treatment of such debt in accordance with the terms of the confirmed plan of
reorganization.

        Q.     What is the effect of the Plan on the Debtors’ ongoing businesses?

         The Debtors are reorganizing under chapter 11 of the Bankruptcy Code.                  Following
Confirmation, the Plan will be consummated on the Effective Date, which is a date that is the first
Business Day after the Confirmation Date on which (1) no stay of the Confirmation Order is in effect,
(2) all conditions to Consummation have been satisfied or waived (see Article IX of the Plan), and (3) the
Debtors declare the Plan effective. On or after the Effective Date, and unless otherwise provided in the
Plan, the Reorganized Debtors may operate their businesses and, except as otherwise provided by the
Plan, may use, acquire, or dispose of property and compromise or settle any Claims, Interests, or Causes
of Action without supervision or approval by the Bankruptcy Court and free of any restrictions of the
Bankruptcy Code or Bankruptcy Rules. Additionally, upon the Effective Date, all actions contemplated
by the Plan will be deemed authorized and approved.

        R.     Who do I contact if I have additional questions with respect to this Disclosure
               Statement or the Plan?

       If you have any questions regarding this Disclosure Statement or the Plan, please contact the
Debtors’ Solicitation Agent, Stretto, via one of the following methods:

                By regular mail, hand delivery, or overnight mail at:
                Stretto
                Re: Z Gallerie, LLC, et al.
                8269 E. 23rd Avenue, Suite 275
                Denver, CO 80238

                By electronic mail at:
                TeamZGallerie@stretto.com

                By telephone (toll free) at:
                (855) 276-9008

         Copies of the Plan, this Disclosure Statement, and any other publicly filed documents in the
Chapter 11 Cases are available upon written request to the Solicitation Agent at the address above or by
downloading the exhibits and documents from the website of the Solicitation Agent at
https://cases.stretto.com/zgallerie (free of charge) or the Bankruptcy Court’s website at
http://www.deb.uscourts.gov/bankruptcy (for a fee).

        S.     Could subsequent events potentially affect recoveries under the Plan?

        Potentially, yes. As described in greater detail below, the Debtors are conducting a marketing
and Auction process, seeking a potential purchaser for all or some of the Debtors’ assets. The Debtors
anticipate that the Auction, if any, related to this marketing process will take place on [May 20], 2019.
As is already contemplated by the Plan, the outcome of this sale process will determine the type and
amount of recoveries for various Classes of Claims. Specifically, as set forth below, depending on the
outcome, Secured Lenders may receive Cash (in the event of a sale to a third-party Winning Bidder) or
Reorganized Debtor Interests (if there is no third-party Winning Bidder). In addition, the amount of
recovery will vary depending on the Sale Transaction Proceeds.

                                                    12
              Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 20 of 106



        Recoveries under the Plan are only guaranteed after the Plan is confirmed and the Effective Date
is reached. Any number of subsequent events may interfere with Plan recovery.

        T.      Do the Debtors recommend voting in favor of the Plan?

         Yes. The Debtors believe that the Plan provides for a larger distribution to the Debtors’ creditors
and equity holders than would otherwise result from any other available alternative. The Debtors believe
that the Plan is in the best interest of all holders of Claims or Interests, and that any other alternatives (to
the extent they exist) fail to realize or recognize the value inherent under the Plan.

IV.     THE DEBTORS’ PLAN

        A.      The Plan

        As discussed in Article III herein, the Plan contemplates a going-concern sale or reorganization of
the Debtors’ business and provides for the Exit Facility to provide post Effective Date liquidity, in the
event that such financing is required. . The Plan contemplates the following key terms, among others
described herein and therein:

                     1. General Settlement of Claims and Interests

        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in
consideration for the classification, distributions, releases, and other benefits provided under the Plan, on
the Effective Date, the provisions of the Plan will constitute a good-faith compromise and settlement of
all Claims, Interests, Causes of Action, and controversies released, settled, compromised, discharged, or
otherwise resolved pursuant to the Plan. The Plan will be deemed a motion to approve the good-faith
compromise and settlement of all such Claims, Interests, Causes of Action, and controversies pursuant to
Bankruptcy Rule 9019, and the entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval of such compromise and settlement under section 1123 of the Bankruptcy Code and Bankruptcy
Rule 9019, as well as a finding by the Bankruptcy Court that such settlement and compromise is fair,
equitable, reasonable, and in the best interests of the Debtors and their Estates. Subject to Article VI of
the Plan, all distributions made to holders of Allowed Claims and Allowed Interests (as applicable) in any
Class are intended to be and will be final.

                     2. Restructuring Transactions

         On the Effective Date, the applicable Debtors or the Reorganized Debtors will enter into
transactions and take all actions as may be necessary or appropriate to effect a corporate restructuring of
their respective businesses or a corporate restructuring of the overall corporate structure of the Debtors on
the terms set forth in the Plan, including, as applicable, entry into the Exit Facility, consummation of the
Sale Transaction, and/or the issuance of all securities, notes, instruments, certificates, and other
documents required to be issued pursuant to the Plan, one or more intercompany mergers, consolidations,
amalgamations, arrangements, continuances, restructurings, conversions, dispositions, dissolutions,
transfers, liquidations, spinoffs, intercompany sales, purchases, or other corporate transactions. The
actions to implement the Restructuring Transactions may include: (1) the execution and delivery of
appropriate agreements or other documents of merger, consolidation, amalgamation, arrangement,
continuance, restructuring, conversion, disposition, dissolution, transfer, liquidation, spinoff, sale, or
purchase containing terms that are consistent with the terms of the Plan and that satisfy the applicable
requirements of applicable law and any other terms to which the applicable Entities may agree; (2) the
execution and delivery of appropriate instruments of transfer, assignment, assumption, or delegation of
any asset, property, right, liability, debt, or obligation on terms consistent with the terms of the Plan and
having other terms for which the applicable Entities agree; (3) the filing of appropriate certificates or

                                                      13
             Case 19-10488-LSS           Doc 105       Filed 03/22/19      Page 21 of 106



articles of incorporation, reincorporation, formation, merger, consolidation, conversion, amalgamation,
arrangement, continuance, or dissolution pursuant to applicable state or provincial law; and (4) all other
actions that the applicable Entities determine to be necessary or appropriate, including making filings or
recordings that may be required by applicable law in connection with the Plan.

                    3. Exit Facility

         On the Effective Date, if required, the Reorganized Debtors shall execute and deliver the Exit
Credit Agreement Documents to any applicable administrative agent for the Exit Credit Agreement
Facility. The Reorganized Debtors shall use the Cash proceeds provided under the Exit Credit Agreement
Facility to fund ongoing operations and distributions under the Plan, and satisfy certain other Cash
obligations under the Plan.

         The Exit Credit Agreement Facility will consist of either a term loan facility, a revolving loan
facility, an asset-based revolving facility, or some combination thereof. On the Effective Date, the
Participating Exit Facility Lenders shall fund the Exit Facility. The terms for the Exit Credit Agreement
Facility will be determined in accordance with the Reorganized Debtors’ contemplated post-Effective
Date business plan following and depending on the results of the Auction (with may contemplate the
continued ownership or operation of all or only some of the Debtors’ assets), and otherwise in form and
substance acceptable to the Participating Exit Facility Lenders in their discretion, and any documentation
necessary to implement the Exit Credit Agreement Facility will be included in the Plan Supplement.

                    4. Issuance of Reorganized Debtors Interests

         All existing Interests in the Debtors shall be automatically cancelled on the Effective Date and
Reorganized Debtors will issue the Reorganized Debtors Interests to Entities entitled to receive the
Reorganized Debtors Interests pursuant to the Plan, as applicable. The issuance of the Reorganized
Debtors Interests, is authorized without the need for any further corporate action and without any further
action by the holders of Claims or Interests or the Debtors or the Reorganized Debtors, as applicable. The
New Organizational Documents, as applicable, will authorize the issuance and distribution on the
Effective Date of the Reorganized Debtors Interests to the Disbursing Agent for the benefit of Entities
entitled to receive the Reorganized Debtors Interests pursuant to the Plan. All of the Reorganized Debtors
Interests issued under the Plan will be duly authorized, validly issued, fully paid, and non-assessable.
Each distribution and issuance of the Reorganized Debtors Interests under the Plan shall be governed by
the terms and conditions set forth in the Plan applicable to such distribution or issuance and by the terms
and conditions of the instruments evidencing or relating to such distribution or issuance, which terms and
conditions will bind each Entity receiving such distribution or issuance.

                    5. Sale Transaction

         Continuing after the Petition Date, the Debtors will continue conducting a marketing and Auction
process of some or all of the Debtors’ assets in accordance with the Bidding Procedures to determine the
Winning Bidder. The Bidding Procedures will set forth the timeline and terms of the bidding process.
The Debtors will seek to elicit the highest or otherwise best Sale Transaction offer pursuant to the process
set forth in the Bidding Procedures. The Sale Transaction will be consummated pursuant to the Plan in
accordance with terms to be set forth in the Confirmation Order and Plan Supplement, as applicable, and
the Prepetition Secured Lenders will receive the Secured Credit Agreement Distributable Cash as set forth
in Article III of the Plan.

If no Entity submits a Qualified Bid, the Holders of Secured Revolving Loan Claims and Secured Term
Loan Claims will receive the Reorganized Debtor Interests on the Plan Effective Date.


                                                    14
             Case 19-10488-LSS           Doc 105      Filed 03/22/19      Page 22 of 106



                    6. Recoveries to Certain Holders of Claims and Interests

       The recoveries to holders of Claims and Interests is described in Article III.D of this Disclosure
Statement, entitled “What will I receive from the Debtors if the Plan is consummated?”

                    7. Releases THESE NEED TO BE DIRECTLY COPIED FROM THE PLAN
                       IF THEY HAVEN’T ALREADY

         The Plan contains certain releases, as described in Article III.K of this Disclosure Statement,
entitled “Will there be releases and exculpation granted to parties in interest as part of the Plan?” The
release, exculpation, and injunction provisions that are contained in the Plan are copied in pertinent part
below.
                        (a)     Release of Liens.

        Except as otherwise provided in the Exit Credit Agreement Documents, the Plan, the Plan
Supplement, or any contract, instrument, release, or other agreement or document created
pursuant to the Plan, on the Effective Date and concurrently with the applicable distributions made
pursuant to the Plan and, in the case of a Secured Claim, satisfaction in full of the portion of the
Secured Claim that is Allowed as of the Effective Date, except for Other Secured Claims that the
Debtors elect to reinstate in accordance with Article III.B.1 of the Plan, all mortgages, deeds of
trust, Liens, pledges, or other security interests against any property of the Estates shall be fully
released, settled, compromised, and discharged, and all of the right, title, and interest of any Holder
of such mortgages, deeds of trust, Liens, pledges, or other security interests shall revert
automatically to the applicable Debtor and its successors and assigns. Any Holder of such Secured
Claim (and the applicable agents for such Holder) shall be authorized and directed to release any
collateral or other property of any Debtor (including any cash collateral and possessory collateral)
held by such Holder (and the applicable agents for such Holder), and to take such actions as may be
reasonably requested by the Reorganized Debtors to evidence the release of such Lien, including
the execution, delivery, and filing or recording of such releases. The presentation or filing of the
Confirmation Order to or with any federal, state, provincial, or local agency or department shall
constitute good and sufficient evidence of, but shall not be required to effect, the termination of
such Liens.

                        (b)     Releases by the Debtors.

         As of the Effective Date, for good and valuable consideration, the adequacy of which is
hereby confirmed, each Released Party is deemed released and discharged by each and all of the
Debtors, the Reorganized Debtors, and their Estates, in each case on behalf of themselves and their
respective successors, assigns, and representatives, and any and all other entities who may purport
to assert any Cause of Action, directly or derivatively, by, through, for, or because of the foregoing
entities, from any and all Claims, obligations, rights, suits, damages, Causes of Action, remedies,
and liabilities whatsoever, including any derivative claims, asserted or assertable on behalf of any
of the Debtors, the Reorganized Debtors, or their Estates, as applicable, whether known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that
the Debtors, the Reorganized Debtors, or their Estates or affiliates would have been legally entitled
to assert in their own right (whether individually or collectively) or on behalf of the Holder of any
Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any manner
arising from, in whole or in part, the Debtors, the purchase, sale, or rescission of the purchase or
sale of any security of the Debtors or the Reorganized Debtors, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the business


                                                    15
            Case 19-10488-LSS          Doc 105      Filed 03/22/19      Page 23 of 106



or contractual arrangements between any Debtor and any Released Party, the Debtors’ in- or out-
of-court restructuring efforts, intercompany transactions, the Restructuring Transactions, the Sale
Transaction, entry into the Exit Credit Agreement Facility, the Chapter 11 Cases, the formulation,
preparation, dissemination, negotiation, filing, or consummation of the Disclosure Statement, the
DIP Facility, the Sale Transaction, the Exit Credit Agreement Facility, the Plan (including, for the
avoidance of doubt, the Plan Supplement), or any Restructuring Transaction, contract, instrument,
release, or other agreement or document created or entered into in connection with the Disclosure
Statement, the DIP Facility, or the Plan, the filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
including the issuance or distribution of securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement, or upon any other act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective Date;
provided that any right to enforce the Plan and Confirmation Order is not so released.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases described in this Article VIII.C by the Debtors,
which includes by reference each of the related provisions and definitions contained in this Plan,
and further, shall constitute the Bankruptcy Court’s finding that each release described in this
Article VIII.C is: (1) in exchange for the good and valuable consideration provided by the Released
Parties, (2) a good-faith settlement and compromise of such Claims; (3) in the best interests of the
Debtors and all Holders of Claims and Interests; (4) fair, equitable, and reasonable; (5) given and
made after due notice and opportunity for hearing; and (6) a bar to any of the Debtors or
Reorganized Debtors or their respective Estates asserting any claim, Cause of Action, or liability
related thereto, of any kind whatsoever, against any of the Released Parties or their property.

                       (c)     Releases by Holders of Claims and Interests.

        As of the Effective Date, in exchange for good and valuable consideration, including the
obligations of the Debtors under the Plan and the contributions of the Released Parties to facilitate
and implement the Plan, to the fullest extent permissible under applicable law, as such law may be
extended or integrated after the Effective Date, each of the Releasing Parties shall be deemed to
have conclusively, absolutely, unconditionally, irrevocably, and forever, released and discharged
each Debtor, Reorganized Debtor, and Released Party from any and all any and all Claims,
interests, obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever,
whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity,
or otherwise, including any derivative claims, asserted or assertable on behalf of any of the Debtors,
the Reorganized Debtors, or their Estates, that such Entity would have been legally entitled to
assert (whether individually or collectively), based on or relating to, or in any manner arising from,
in whole or in part, the Debtors, the purchase, sale, or rescission of the purchase or sale of any
security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions or
events giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Released Party, the Debtors’ in- or out-of-court
restructuring efforts, intercompany transactions, the Restructuring Transactions, the Sale
Transaction, entry into the Exit Credit Agreement Facility, the Chapter 11 Cases, the formulation,
preparation, dissemination, negotiation, filing, or consummation of the Disclosure Statement, the
DIP Facility, the Sale Transaction, the Exit Credit Agreement Facility, the Plan (including, for the
avoidance of doubt, the Plan Supplement), or any Restructuring Transaction, contract, instrument,
release, or other agreement or document created or entered into in connection with the Disclosure
Statement, the DIP Facility, or the Plan, the filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
including the issuance or distribution of securities pursuant to the Plan, or the distribution of


                                                  16
            Case 19-10488-LSS          Doc 105      Filed 03/22/19      Page 24 of 106



property under the Plan or any other related agreement, or upon any other related act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective Date;
provided that any right to enforce the Plan and Confirmation Order is not so released.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases described in this Article VIII.D, which includes
by reference each of the related provisions and definitions contained in this Plan, and further, shall
constitute the Bankruptcy Court’s finding that each release described in this Article VIII.D is:
(1) in exchange for the good and valuable consideration provided by the Released Parties, (2) a
good-faith settlement and compromise of such Claims; (3) in the best interests of the Debtors and
all Holders of Claims and Interests; (4) fair, equitable, and reasonable; (5) given and made after
due notice and opportunity for hearing; and (6) a bar to any of the Debtors or Reorganized Debtors
or their respective Estates asserting any claim, Cause of Action, or liability related thereto, of any
kind whatsoever, against any of the Released Parties or their property.

                       (d)     Exculpation

        Notwithstanding anything herein to the contrary, the Exculpated Parties shall neither have
nor incur, and each Exculpated Party is released and exculpated from, any liability to any Holder
of a Cause of Action, Claim, or Interest for any act or omission in connection with, relating to, or
arising out of, the Chapter 11 Cases, consummation of the Sale Transaction, the formulation,
preparation, dissemination, negotiation, filing, or consummation of the Disclosure Statement, the
Plan, or any Restructuring Transaction, contract, instrument, release or other agreement or
document created or entered into in connection with the Disclosure Statement or the Plan, the filing
of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance of securities pursuant to the
Plan or the distribution of property under the Plan or any other related agreement (whether or not
such issuance or distribution occurs following the Effective Date), negotiations regarding or
concerning any of the foregoing, or the administration of the Plan or property to be distributed
hereunder, except for actions determined by Final Order to have constituted actual fraud or gross
negligence, but in all respects such Entities shall be entitled to reasonably rely upon the advice of
counsel with respect to their duties and responsibilities pursuant to the Plan. The Exculpated
Parties have, and upon completion of the Plan shall be deemed to have, participated in good faith
and in compliance with the applicable laws with regard to the solicitation of votes and distribution
of consideration pursuant to the Plan and, therefore, are not, and on account of such distributions
shall not be, liable at any time for the violation of any applicable law, rule, or regulation governing
the solicitation of acceptances or rejections of the Plan or such distributions made pursuant to the
Plan.
                       (e)     Injunction

        Except as otherwise expressly provided in the Plan or for obligations issued or required to
be paid pursuant to the Plan or the Confirmation Order, all Entities who have held, hold, or may
hold Claims or Interests that have been released, discharged, or are subject to exculpation are
permanently enjoined, from and after the Effective Date, from taking any of the following actions
against, as applicable, the Debtors, the Reorganized Debtors, the Exculpated Parties, or the
Released Parties: (1) commencing or continuing in any manner any action or other proceeding of
any kind on account of or in connection with or with respect to any such Claims or Interests; (2)
enforcing, attaching, collecting, or recovering by any manner or means any judgment, award,
decree, or order against such Entities on account of or in connection with or with respect to any
such Claims or Interests; (3) creating, perfecting, or enforcing any encumbrance of any kind
against such Entities or the property or the estates of such Entities on account of or in connection

                                                  17
             Case 19-10488-LSS           Doc 105       Filed 03/22/19      Page 25 of 106



with or with respect to any such Claims or Interests; (4) asserting any right of setoff, subrogation,
or recoupment of any kind against any obligation due from such Entities or against the property of
such Entities on account of or in connection with or with respect to any such Claims or Interests
unless such Holder has Filed a motion requesting the right to perform such setoff on or before the
Effective Date, and notwithstanding an indication of a Claim or Interest or otherwise that such
Holder asserts, has, or intends to preserve any right of setoff pursuant to applicable law or
otherwise; and (5) commencing or continuing in any manner any action or other proceeding of any
kind on account of or in connection with or with respect to any such Claims or Interests released or
settled pursuant to the Plan.

        Upon entry of the Confirmation Order, all Holders of Claims and Interests and their
respective current and former employees, agents, officers, directors, principals, and direct and
indirect affiliates shall be enjoined from taking any actions to interfere with the implementation or
Consummation of the Plan. Each Holder of an Allowed Claim or Allowed Interest, as applicable,
by accepting, or being eligible to accept, distributions under or Reinstatement of such Claim or
Interest, as applicable, pursuant to the Plan, shall be deemed to have consented to the injunction
provisions set forth in this Article VIII.F of the Plan.

        For more detail, see Article VIII of the Plan, entitled “Settlement, Release, Injunction, and
Related Provisions,” which is incorporated herein by reference.

V.      THE DEBTORS’            CORPORATE           HISTORY,       STRUCTURE,          AND     BUSINESS
        OVERVIEW

        A.     Z Gallerie’s Corporate History

        For nearly 40 years, the Debtors have focused on making home décor fashion-focused, art-
infused, and accessible for its local customer base. Z Gallerie delivers “fashion for the home,” translating
the latest fashion into home furnishings with an eye towards combining current trends and their
complementary classics. After years of success and growth, the Debtors found themselves caught in a
mixture of operational missteps and the rapid decline of brick-and-mortar retail in favor of online retail.
Despite those headwinds, the Debtors maintain a loyal customer base. The Debtors believe that this, in
conjunction with recently implemented initiatives aimed at operational improvement and social media and
web-based customer engagement will enable them to achieve higher sales productivity by transitioning to
more efficient operations while developing a robust online sales presence.

        After its founding in 1979 as a single poster shop, Z Gallerie grew to 76 stores and expanded its
offerings to include home furnishings and home décor. Currently, Z Gallerie operates stores across the
United States in conjunction with an online eCommerce platform, generating over $200 million in
combined sales in 2018.




                                                    18
             Case 19-10488-LSS           Doc 105      Filed 03/22/19        Page 26 of 106



        The chart below depicts the Debtors’ current corporate structure.




       As of the date of this Disclosure Statement, the Debtors’ senior management includes: Mark
Weinsten, Interim President and Chief Executive Officer, Rob Otto, Chief Financial Officer, Kerem
Ozkay, Vice President of Marketing and eCommerce, Shelley Gardner, Vice President of Merchandising,
Shin Kim, Vice President of Planning, and Mary Mckay Grbich, Vice President of Stores.

        As of the date of this Disclosure Statement, the members of the board of managers of Z Gallerie
are: Roger Goddu, Steve Moore, Lynn Kilbourne, Matthew Kahn, and Alan Miller.

        B.     The Debtors’ Business Operations

        The Debtors generally specialize curated, unique style and customizable experience focused on
fashion- and art-inspired home décor and home furnishings. As of the Petition Date, Z Gallerie operated
in 28 states, and its products were sold in 76 stores, comprised of 74 retail stores and two outlet stores,
located in lifestyle centers, shopping malls, and street level shops. Subsequent to the Petition Date, the
Debtors initiated store closure sales and, as of the date hereof, are in the process of closing 17 stores.

        In addition to its physical footprint, Z Gallerie maintains a significant online presence.
Customers can seek out the latest home décor trends, explore customizable options for a vast array of
different furniture and décor styles, and take a Style Personality Quiz to better guide their shopping
journey on the Z Gallerie website. Customers may also purchase merchandise via the Debtors’
eCommerce platform. Following recent updates, Z Gallerie maintains a user-friendly and well-curated
eCommerce online platform that ensures a seamless customer experience. In 2018, eCommerce
accounted for over 20% of all sales. The Debtors also operate two distribution centers, one in California
and on in Georgia, to timely deliver goods to stores and direct to customers.


                                                    19
             Case 19-10488-LSS            Doc 105      Filed 03/22/19       Page 27 of 106




        C.     The Debtors’ Cost Structure

                (i)        Supply Chain

        The Debtors maintain an integrated supply chain aimed at ensuring the uninterrupted flow of
fresh merchandise to their brick-and-mortar locations and consumers. Generally, the Debtors contract
with various domestic and international vendors across eight countries to design, source, and produce the
merchandise. When product is ready to be delivered at international ports, the Debtors use UPS Supply
Chain Solutions to handle all facets of transport to the Debtors’ warehouses in Los Angeles and Atlanta.
Domestic vendors contract with third-party delivery companies to transport the merchandise to the
Debtors’ distribution centers. Once goods are to be delivered to a store or fulfill a customer order, the
Debtors hire third-party common carriers to complete delivery from the distribution centers.

                (ii)       Employee Compensation and Benefits

         As of the Petition Date, the Debtors employed slightly over 1,000 employees across their retail
and corporate operations. The Debtors anticipate that their monthly gross Employee Compensation,
including wages, salaries, and related compensation, is approximately $46.8 million in 2019. The
Debtors offer their Employees the ability to participate in a number of insurance and benefits programs
that are standard and competitive in the industry.

                (iii)      Real Estate Obligations

        22.     The Debtors lease all of their store locations, office space, and distribution centers. The
Debtors estimate that the aggregate occupancy costs for the Debtors’ go-forward operations after
implementing closings in these cases and negotiating lease modifications will be approximately $29
million in fiscal year 2019, excluding tenant amortization. The Debtors anticipate 59 go-forward
locations following the first round of store closures. The remaining real estate footprint will likely be
comprised of 55 stores, two outlets, and two distribution center.

        D.     The Debtors’ Prepetition Capital Structure

         As of the Petition Date, the Debtors’ capital structure consists of outstanding funded-debt
obligations in the aggregate principal amount of approximately $138 million. The Debtors’ prepetition
capital structure is summarized as follows:

 Funded Debt                        Maturity                                   Principal Amount
 Senior Secured Revolving
                                    October 2020                               $19,368,708.30
 Loans
 Senior Secured Term Loans          October 2021                               $91,427,540.43
 Senior Unsecured Notes             March 2020                                 $10,639,588.40
 Senior Unsecured
                                    January 2022                               $17,220,783.57
 Refinancing Notes
                                                                  Total:       $138,656,620.70

                        1. Collateral of Debt Obligations

        The Senior Secured Credit Agreement obligations are secured by substantially all assets of
Z Gallerie, LLC and Z Gallerie Holding Company, LLC (collectively, the “Credit Parties”), including,
without limitation, a first priority lien on the Credit Parties’ accounts (including receivables), inventory,

                                                     20
             Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 28 of 106



deposit and securities accounts (subject to certain exceptions), cash and cash equivalents, owned real
property with a fair market value equal to or greater than $3,000,000, intellectual property, and all equity
interests of the Debtors and their subsidiaries (collectively, the “Collateral”).

         Additionally, the Credit Parties have entered into deposit account control agreements in favor of
KeyBank National Association (the “Agent”) with respect to their bank accounts. Thus, substantially all
of the Credit Parties’ cash is subject to a perfected security interest in favor of the Agent. As of the
Petition Date, the term loan facility is fully drawn and there is no availability under the revolving facility.

       The Senior Unsecured Refinancing Notes comprise a different series of notes from the Senior
Unsecured Notes but have identical terms (other than the maturity date of such Senior Unsecured
Refinancing Note) and the same treatment and are pari passu with the Senior Unsecured Notes.

        Under the terms of the DIP Facility, as set forth in the Interim DIP Order and the DIP Credit
Agreement, obligations of the Debtors under the Prepetition Secured Revolver Facility have been partially
refinanced and converted into DIP Claims. The Debtors do not anticipate that any amounts will remain
outstanding under the Prepetition Secured Revolver Facility following the Confirmation Hearing.

VI.     EVENTS LEADING TO THE CHAPTER 11 FILINGS

        A.      Operational and Growth Challenges

        A confluence of operational and strategic factors contributed to the Debtors’ need to commence
the Chapter 11 Cases. These factors are mostly self-imposed and include, among other things: (i) a store
footprint expansion that did not meet expectations, (ii) the addition of the Atlanta distribution center that
disrupted operations and increased costs, and (iii) the Debtor’s failure to timely invest enough capital in
their e-commerce platform. The macroeconomic trends impacting the retail industry generally were
contributing factors, but not the main factors, behind the Debtors performance shortfalls. The Debtors did
not timely respond to meet these challenges, and suffered diminished performance as a result. Over time,
these factors have tightened the Debtors’ liquidity position and complicated their relationship with their
landlords and vendors. As of the Petition Date, the Debtors had insufficient liquidity to meet their
operating obligations.

         Nonetheless, the Debtors started making changes to improve operational performance prior to the
Petition date. As discussed above, the Debtors conducted employee training to teach their employees to
better position the brand for customers and fixed challenges at their Atlanta distribution center, among
other initiatives. Same store comparable sales were up in February and the average ticket price is trending
upward. In addition, the company has rectified challenges it faced in the Atlanta distribution center and
operational benchmarks are trending in the right direction.

          Over the last year, the Debtors have also endeavored to improve their online presence. Web
traffic is up as the company has built out a stronger internal ecommerce team and focused on social media
and innovative promotional and product programs. The Debtors also invested to enhance eCommerce
capabilities and are implementing a truer omnichannel strategy to leverage the ecommerce platform and
store footprint, such as giving customers the opportunity to buy on line and pick up in store. These
initiatives took the form of (i) website optimization, including heatmap analysis (informing how
customers utilize their platform), expected to lift revenue $3.8 million in fiscal year 2019; (ii) mobile
reconfiguration, providing new functionality increasing mobile conversion 10% year over year; (iii)
increased effectiveness of email capture of point of sale, up 101% year over year; and (iv) brought content
design and production in-house to better leverage creative initiatives across print and digital. Year over
year growth in the online channel has seen a significant increase, and now accounts for approximately
25% of overall revenue.

                                                      21
               Case 19-10488-LSS                Doc 105         Filed 03/22/19          Page 29 of 106




        B.       Supply Chain and Borrowing Base Challenges

        As the Debtors’ liquidity has tightened, supply chain vendors have begun to place pressure on the
supply chain cost structure. Some of the Debtors’ inventory was stuck at port in California, with vendors
unwilling to release the product absent payment in full. This in turn worsened the Debtors’ ability to
generate revenue from sales, creating a negative feedback loop decreasing liquidity.

        The DIP Facility provided the Debtors with the liquidity they needed to revive their supply chain
and maintain the flow of inventory to their distribution centers. Since the Petition Date, the Debtors have
made payments of approximately $[●] million for finished goods that are sold in stores. Additionally, the
Debtors have made payments of nearly $[●] million associated with the fulfillment of future purchase
order commitments.

        C.       Corporate History

       In April 2009, Z Gallerie filed for bankruptcy in the Central District of California. Z Gallerie was
able to successfully reorganize its business around its strongest performing stores and eliminate
underperforming locations.

         In October 2014, Brentwood purchased a 70% stake in Z Gallerie through Brentwood Associates
Private Equity V LP (the “2014 Sale”). 3 The Zeidens retained a 30% equity interest in the company. As
part of the transaction, Brentwood maintains two seats on the Board of Managers (the “Board”) and the
Zeidens retain one seat on the Board. Prior to the chapter 11 filing, Mike Zeiden resigned from the
Board. The Debtors have also appointed two disinterested directors.

        D.       Exploration of Strategic Alternatives

         As the Debtors recognized that they would soon run out of adequate cash to fund operations, they
engaged their Prepetition Lenders regarding the terms of loans that would provide incremental liquidity
without a chapter 11 filing. The Debtors had no unencumbered assets, so any liquidity would have
needed to be unsecured (absent consent of the senior lenders). Despite the Debtors’ best efforts, no source
of liquidity emerged that would lend outside of the chapter 11 context.

        The Debtors retained Lazard to facilitate, among other things, a sale process for their assets. In
early March 2019, Lazard distributed a “teaser” to potential strategic and financial buyers. Lazard has
received interest from some parties, several of which have entered into confidentiality agreements with
the Debtors and are analyzing a transaction. As set out in the Bidding Procedures Motion filed
contemporaneously herewith, Lazard is running a marketing process that will, the Debtors hope, result in
a competitive auction for the purchase of the Debtors’ assets.

        E.        Store Footprint Right-Sizing Initiatives

        Recognizing the need to right-size the Debtors’ store base while simultaneously creating much-
needed liquidity, the Debtors’ management team and advisors conducted an extensive store-by-store
performance analysis of all existing stores, evaluating, among other factors, historical and recent store
profitability, historical and recent sales trends, occupancy costs, the geographic market in which each

3   While the Debtors have no reason to believe that they maintain any viable claims against either Brentwood or the Zeidans on
    account of the 2014 Sale or any activity since the 2014 Sale, the Debtors’ Delaware co-counsel, Klehr Harrison Harvey
    Branzburg LLP, is conducting an investigation into any potential claims or causes of action at the direction of the
    independent directors.



                                                             22
              Case 19-10488-LSS          Doc 105      Filed 03/22/19      Page 30 of 106



store is located, the type of storefront in which each store is located, and specific operational
circumstances related to each store’s performance (the “Performance Evaluation”).

        Additionally, in late 2018 the Debtors, with the assistance of A&G Realty Partners, LLC began
lease modification negotiations with many of the Debtors’ landlords for rent concessions to reduce annual
rent expenses (the “Lease Negotiations”), with the goal of improving the Debtors’ overall financial
performance. The Debtors filed a motion seeking to retain A&G in the Chapter 11 Cases at
Docket No. 89, which motion is scheduled to be heard by the Bankruptcy Court on April 10, 2019.

         As a result of the Performance Evaluations and Lease Negotiations, the Debtors sought authority
to close 17 stores at the onset of the chapter 11 cases (the “Store Closures”). The Debtors have concluded
that the cost of maintaining the Closing Stores outweighs any revenues that the Closing Stores currently
generate or are likely to generate in the future. Additionally, the Debtors considered whether or not the
leases could be economically monetized in the chapter 11 process. After considering the potential value
of the leases, the costs of holding an auction and delaying rejection, and potential cost of litigation
regarding assignment, the Debtors determined, in their business judgement, that the potential value of the
leases does not justify the costs of pursuing a sale. The Debtors continue to evaluate the leases and
reserve their right to remove any of the leases from the lease rejection schedule prior to a final hearing.
The Debtors, in their business judgement, believed that in any restructuring outcome, closing these 17
stores would maximize value for the stakeholders.

VII.    MATERIAL DEVELOPMENTS AND ANTICIPATED EVENTS OF THE CHAPTER 11
        CASES

        A.     First Day Relief

         On the Petition Date, along with their voluntary petitions for relief under chapter 11 of the
Bankruptcy Code (the “Petitions”), the Debtors filed several motions (the “First Day Motions”) designed
to facilitate the administration of the Chapter 11 Cases and minimize disruption to the Debtors’
operations, by, among other things, easing the strain on the Debtors’ relationships with employees,
vendors, and customers following the commencement of the Chapter 11 Cases. A brief description of
each of the First Day Motions and the evidence in support thereof is set forth in the Declaration of Mark
Weinsten, Interim President and Chief Executive Officer of Z Gallerie, LLC, in Support of Debtors’
Chapter 11 Petitions and First Day Motions [Docket No. 25], filed on March 11, 2019.

       The First Day Motions, the First Day Declaration, and all orders for relief granted in the
Chapter 11 Cases, can be viewed free of charge at https://cases.stretto.com/zgallerie/firstdaypleadings.

        B.     Other Procedural and Administrative Motions

        The Debtors also filed several other motions subsequent to the Petition Date to further facilitate
the smooth and efficient administration of the Chapter 11 Cases and reduce the administrative burdens
associated therewith, including:

        •    Retention Applications of Debtor Professionals. On March 20, 2019, the Debtors
             filed a number of applications seeking to retain certain professionals postpetition
             pursuant to sections 327,328, and/or 363 of the Bankruptcy Code, including:

                o   Kirkland & Ellis, LLP as legal counsel [Docket No. 93],

                o   Klehr Harrison Harvey Branzburg LLP [Docket No. 88],



                                                    23
              Case 19-10488-LSS          Doc 105      Filed 03/22/19       Page 31 of 106



                 o   Lazard Middle Market LLC as financial advisor [Docket No. 92],

                 o   Berkeley Research Group, LLC as restructuring advisor [Docket No. 90], and

                 o   A&G Realty Partners, LLC as real estate consultant [Docket No. 98]
                     (collectively, the “Retention Applications”).

        •    The Retention Applications are set for hearing on April 10, 2019 at 10:00 A.M.
             (prevailing Eastern Time). The foregoing professionals are, in part, responsible for
             the administration of the Chapter 11 Cases. The postpetition compensation of all of
             the Debtors’ professionals retained pursuant to sections 327 and 328 of the
             Bankruptcy Code is subject to the approval of the Bankruptcy Court.

        •    Ordinary Course Professionals Motion. On [●], 2019, the Debtors filed the Motion
             of Z Gallerie, LLC, et al., for Entry of an Order Authorizing the Retention and
             Compensation of Certain Professionals Utilized in the Ordinary Course of Business
             [Docket No. [●]] (the “OCP Motion”). The OCP Motion seeks to establish
             procedures for the retention and compensation of certain professionals utilized by the
             Debtors in the ordinary course operation of their businesses. On [●], 2019, the
             Bankruptcy Court entered an order granting the OCP Motion [Docket No. [●]].

        C.      Interim Approval of Debtor-in-Possession Financing

         On March 15, 2019, the Bankruptcy Court entered an interim order approving the Debtors’
proposed debtor-in-possession financing (the “DIP Financing”) on an interim basis
(the “Interim DIP Order”) [Docket No. 75]. Pursuant to the Interim DIP Order, Z Gallerie received
authorization to obtain postpetition financing of up to $28,000,000, approximately $8,000,000 of which
provides incremental liquidity. Of the DIP Financing, $5,750,000 is available pursuant to the Interim DIP
Order and $3,000,000 will become available following final approval of the DIP Financing.

        Pursuant to the Interim DIP Order, $5,750,000 of the aggregate principal amount of Prepetition
Revolving Loans was immediately rolled-up and converted into the DIP Obligations upon entry of the
Interim DIP Order. From and after entry of this Interim DIP Order, the Debtors draw down of such
monies or disbursement of such monies results in additional amounts of the Prepetition Revolving Loans
converting to up into DIP Obligations on a dollar-for-dollar basis. Following entry of the Final DIP
Order, the Prepetition Revolving Loan Facility will be entirely converted into DIP Obligations

        D.      Schedules and Statements

        The Debtors anticipate filing their Schedules of Assets and Liabilities and Statement of Financial
Affairs by [April 5, 2019].

        E.      Appointment of Official Committee

         On March 20, 2019, the U.S. Trustee filed the Notice of Appointment of Official Committee of
Unsecured Creditors [Docket No. 87], notifying parties in interest that the U.S. Trustee had appointed a
statutory committee of unsecured creditors (the “Committee”) in the Chapter 11 Cases.




                                                    24
             Case 19-10488-LSS            Doc 105      Filed 03/22/19       Page 32 of 106



        F.     Litigation Matters

         In the ordinary course of business, the Debtors are parties to certain lawsuits, legal proceedings,
collection proceedings, and claims arising out of their business operations. The Debtors cannot predict
with certainty the outcome of these lawsuits, legal proceedings, and claims.

        With certain exceptions, the filing of the Chapter 11 Cases operates as a stay with respect to
the commencement or continuation of litigation against the Debtors that was or could have been
commenced before the commencement of the Chapter 11 Cases. In addition, the Debtors’ liability with
respect to litigation stayed by the commencement of the Chapter 11 Cases generally is subject to
discharge, settlement, and release upon confirmation of a plan under chapter 11, with certain exceptions.
Therefore, certain litigation Claims against the Debtors may be subject to discharge in connection with
the Chapter 11 Cases.

        G.     Rejection and Assumption of Executory Contracts and Unexpired Leases

         Prior to the Petition Date and in the ordinary course of business, the Debtors entered into over one
thousand Executory Contracts and Unexpired Leases. The Debtors, with the assistance of their advisors,
have reviewed and will continue to review the Executory Contracts and Unexpired Leases to identify
contracts and leases to either assume or reject pursuant to sections 365 or 1123 of the Bankruptcy Code.
The Debtors intend to include information in the Plan Supplement regarding the assumption or rejection
of the remainder of their Executory Contracts and Unexpired Leases to be carried out as of the Effective
Date, but may also elect to assume or reject various of the Debtors’ Executory Contracts and Unexpired
Leases before such time. The Debtors expect to file a motion seeking approval of procedures for the
assumption or rejection of Executory Contracts and Unexpired Leases to be heard on April 10, 2019.

       Although their analysis is ongoing, the Debtors currently estimate that the aggregate amount of
Claims on account of rejection of Executory Contracts and Unexpired Leases may be significant.

        H.     Independent Investigation

        Alan Miller and Matthew Kahn serve as two of the Debtors’ independent managers to, among
other things, review and determine the appropriateness of certain pre-Petition Date transactions of the
Debtors and of the releases included in the Plan. Klehr Harrison Harvey Branzburg LLP serves as
Delaware co-counsel to the Debtors and is assisting the independent managers with the ongoing review
and assessment of these issues. Upon completion of this review and assessment, the Debtors will modify
this Disclosure Statement as appropriate.

        I.     Marketing Process

        As described above, the Debtors are conducting a marketing and Auction process for some or all
of their assets or the equity interests in Reorganized Debtors. The Debtors, working with Lazard,
contacted approximately 180 potentially interested parties, including both financial and strategic
counterparties. More than 30 such interested parties executed, or are in the process of executing, non-
disclosure agreements for purposes of accessing a confidential information memorandum and virtual data
room in connection with the marketing and Auction process. Each of these parties were also provided
“teaser” materials.

         Under the Bidding Procedures approved by the Bankruptcy Court, the deadline for interested
parties to submit non-binding indications of interest is April 19, 2019. The deadline for interested parties
to submit Qualified Bids to participate in the Auction is May 16, 2019. Pursuant to the Bidding



                                                     25
            Case 19-10488-LSS         Doc 105       Filed 03/22/19      Page 33 of 106



Procedures, Qualified Bids must satisfy the general Bid Requirements (as defined in the Bidding
Procedures) set forth in the Bidding Procedures and provide for the following:

       a.     Purpose. Each Acceptable Bidder must state that the Bid includes an offer by the
              Acceptable Bidder to purchase some or all of the Assets, and which Assets with
              reasonable specificity.

       b.     Purchase Price: Each Bid must clearly set forth the terms of any proposed Transaction,
              including and identifying separately any cash and non-cash components of the proposed
              Transaction consideration, including, for example, certain liabilities to be assumed by the
              Acceptable Bidder as part of the Plan (the “Purchase Price”).

       c.     Deposit: Each Bid must be accompanied by a cash deposit in the amount equal to 10% of
              the aggregate value of the cash and non-cash consideration of the Bid to be held in an
              escrow account to be identified and established by the Debtors (the “Deposit”).

       d.     Marked Agreement: Each Bid must include, at a minimum, draft asset purchase
              agreement (the form of which will be provided to any Acceptable Bidder prior to the Bid
              Deadline (the “Asset Purchase Agreement”) together with a redline version of the
              revised Asset Purchase Agreement to the form, including the exhibits and schedules
              related thereto and any related Transaction documents or other material documents
              integral to such Bid, pursuant to which the Acceptable Bidder proposes to effectuate the
              Transaction (collectively, the “Transaction Documents”).

       e.     Committed Financing: To the extent that a Bid is not accompanied by evidence of the
              Acceptable Bidder’s capacity to consummate the Transaction set forth in its Bid with
              cash on hand, each Bid must include committed financing documented to the Debtors’
              satisfaction, after consultation with the Consultation Parties and the Committee, that
              demonstrates that the Acceptable Bidder has received sufficient debt and/or equity
              funding commitments to satisfy the Acceptable Bidder’s Purchase Price and other
              obligations under its Bid. Such funding commitments or other financing must be
              unconditional and must not be subject to any internal approvals, syndication
              requirements, diligence, or credit committee approvals, and shall have covenants and
              conditions acceptable to the Debtors. For the avoidance of doubt, funding commitments
              for any Acceptable Bidder’s Purchase Price may be provided by of the DIP Lender.

       f.     Contingencies; No Financing or Diligence Outs: A Bid shall not be conditioned on the
              obtaining or the sufficiency of financing or any internal approval, or on the outcome or
              review of due diligence, but may be subject to the accuracy at the closing of specified
              representations and warranties or the satisfaction at the closing of specified conditions.

       g.     Identity: Each Bid must fully disclose the identity of each entity that will be bidding or
              otherwise participating in connection with such Bid (including each equity holder or
              other financial backer of the Acceptable Bidder if such Acceptable Bidder is an entity
              formed for the purpose of consummating the proposed Transaction contemplated by such
              Bid), and the complete terms of any such participation. Under no circumstances shall any
              undisclosed principals, equity holders, or financial backers be associated with any Bid.
              Each Bid must also include contact information for the specific person(s) and counsel
              whom the Debtors’ Advisors should contact regarding such Bid.




                                                 26
             Case 19-10488-LSS            Doc 105      Filed 03/22/19       Page 34 of 106



        h.      Authorization: Each Bid must contain evidence that the Acceptable Bidder has obtained
                authorization or approval from its board of directors (or a comparable governing body
                acceptable to the Debtors) with respect to the submission of its Bid and the
                consummation of the Transactions contemplated in such Bid.

        i.      As-Is, Where-Is: Each Bid must include a written acknowledgement and representation
                that the Acceptable Bidder: (1) has had an opportunity to conduct any and all due
                diligence regarding the Assets prior to making its offer; (2) has relied solely upon its own
                independent review, investigation, and/or inspection of any documents and/or the Assets
                in making its Bid; and (3) did not rely upon any written or oral statements,
                representations, promises, warranties, or guaranties whatsoever, whether express, implied
                by operation of law, or otherwise, regarding the Assets or the completeness of any
                information provided in connection therewith or the Auction, except as expressly stated
                in the Bidder’s Transaction Documents.

        Upon entry of the Bidding Procedures Order and up until 2 days prior to the Auction, the Debtors
shall be authorized, but not obligated, in an exercise of their business judgment, to (a) select one or more
Acceptable Bidder to act as a stalking horse bidder in connection with the Auction and (b) in connection
with any staking horse agreement with a Stalking Horse Bidder, (x) provide a breakup fee (the “Breakup
Fee”), (y) agree to reimburse the reasonable and documented out-of-pocket fees and expenses and/or
(z) agree to pay a “work fee” or other similar cash fee (the “Work Fee”). The aggregate amount that may
be paid to any or all stalking horse bidders on account of (x) - (z) shall not exceed three percent of the
proposed Purchase Price.

VIII.   RISK FACTORS

        Holders of Claims should read and consider carefully the risk factors set forth below before
voting to accept or reject the Plan. Although there are many risk factors discussed below, these factors
should not be regarded as constituting the only risks present in connection with the Debtors’ businesses or
the Plan and its implementation.

        A.     Bankruptcy Law Considerations

         The occurrence or non-occurrence of any or all of the following contingencies, and any others,
could affect distributions available to holders of Allowed Claims under the Plan but will not necessarily
affect the validity of the vote of the Impaired Classes to accept or reject the Plan or necessarily require a
re-solicitation of the votes of holders of Claims in such Impaired Classes.

                    1. Parties in Interest May Object to the Plan’s Classification of Claims and
                       Interests

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity interest
in a particular class only if such claim or equity interest is substantially similar to the other claims or
equity interests in such class. The Debtors believe that the classification of the Claims and Interests under
the Plan complies with the requirements set forth in the Bankruptcy Code because the Debtors created
Classes of Claims and Interests each encompassing Claims or Interests, as applicable, that are
substantially similar to the other Claims or Interests, as applicable, in each such Class. Nevertheless,
there can be no assurance that the Bankruptcy Court will reach the same conclusion.




                                                     27
             Case 19-10488-LSS            Doc 105      Filed 03/22/19       Page 35 of 106



                    2. The Conditions Precedent to the Effective Date of the Plan May Not Occur

         As more fully set forth in Article IX of the Plan, the Effective Date of the Plan is subject to a
number of conditions precedent. If such conditions precedent are waived or not met, the Effective Date
will not take place.

                    3. The Debtors May Fail to Satisfy Vote Requirements

         If votes are received in number and amount sufficient to enable the Bankruptcy Court to confirm
the Plan, the Debtors intend to seek, as promptly as practicable thereafter, Confirmation of the Plan. In
the event that sufficient votes are not received, the Debtors may seek to confirm an alternative chapter 11
plan or transaction. There can be no assurance that the terms of any such alternative chapter 11 plan or
other transaction would be similar or as favorable to the holders of Interests and Allowed Claims as those
proposed in the Plan and the Debtors do not believe that any such transaction exists or is likely to exist
that would be more beneficial to the Estates than the Plan.

                    4. The Debtors May Not Be Able to Secure Confirmation of the Plan

         Section 1129 of the Bankruptcy Code sets forth the requirements for confirmation of a chapter 11
plan, and requires, among other things, a finding by the Bankruptcy Court that: (a) such plan “does not
unfairly discriminate” and is “fair and equitable” with respect to any non-accepting classes;
(b) confirmation of such plan is not likely to be followed by a liquidation or a need for further financial
reorganization unless such liquidation or reorganization is contemplated by the plan; and (c) the value of
distributions to non-accepting holders of claims or equity interests within a particular class under such
plan will not be less than the value of distributions such holders would receive if the debtors were
liquidated under chapter 7 of the Bankruptcy Code.

        There can be no assurance that the requisite acceptances to confirm the Plan will be received.
Even if the requisite acceptances are received, there can be no assurance that the Bankruptcy Court will
confirm the Plan. A non-accepting holder of an Allowed Claim might challenge either the adequacy of
this Disclosure Statement or whether the balloting procedures and voting results satisfy the requirements
of the Bankruptcy Code or Bankruptcy Rules. Even if the Bankruptcy Court determines that this
Disclosure Statement, the balloting procedures, and voting results are appropriate, the Bankruptcy Court
could still decline to confirm the Plan if it finds that any of the statutory requirements for Confirmation
are not met. If a chapter 11 plan of reorganization is not confirmed by the Bankruptcy Court, it is unclear
whether the Debtors will be able to reorganize their business and what, if anything, holders of Interests
and Allowed Claims against them would ultimately receive.

        The Debtors reserve the right to modify the terms and conditions of the Plan as necessary for
Confirmation. Any such modifications could result in less favorable treatment of any non-accepting class
of Claims or Interests, as well as any class junior to such non-accepting class, than the treatment currently
provided in the Plan. Such a less favorable treatment could include a distribution of property with a lesser
value than currently provided in the Plan or no distribution whatsoever under the Plan.

                    5. Nonconsensual Confirmation

        In the event that any impaired class of claims or interests does not accept a chapter 11 plan, a
bankruptcy court may nevertheless confirm a plan at the proponents’ request if at least one impaired class
(as defined under section 1124 of the Bankruptcy Code) has accepted the plan (with such acceptance
being determined without including the vote of any “insider” in such class), and, as to each impaired class
that has not accepted the plan, the bankruptcy court determines that the plan “does not discriminate
unfairly” and is “fair and equitable” with respect to the dissenting impaired class(es). The Debtors


                                                     28
             Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 36 of 106



believe that the Plan satisfies these requirements, and the Debtors may request such nonconsensual
Confirmation in accordance with subsection 1129(b) of the Bankruptcy Code. Nevertheless, there can be
no assurance that the Bankruptcy Court will reach this conclusion. In addition, the pursuit of
nonconsensual Confirmation or Consummation of the Plan may result in, among other things, increased
expenses relating to professional compensation.

                     6. Continued Risk Upon Confirmation

         Even if the Plan is consummated, the Debtors will continue to face a number of risks, including
certain risks that are beyond their control, such as further industry deterioration or other changes in
economic conditions, and increasing expenses. Some of these concerns and effects typically become
more acute when a case under the Bankruptcy Code continues for a protracted period without indication
of how or when the case may be completed. As a result of these risks and others, there is no guarantee
that a chapter 11 plan of reorganization reflecting the Plan will achieve the Debtors’ stated goals.

        In addition, at the outset of the Chapter 11 Cases, the Bankruptcy Code provides the Debtors with
the exclusive right to propose the Plan and prohibits creditors and others from proposing a plan. The
Debtors will have retained the exclusive right to propose the Plan upon filing their Petitions. If the
Bankruptcy Court terminates that right, however, or the exclusivity period expires, there could be a
material adverse effect on the Debtors’ ability to achieve confirmation of the Plan in order to achieve the
Debtors’ stated goals.

        Furthermore, even if the Debtors’ debts are reduced and/or discharged through the Plan, the
Debtors may need to raise additional funds through public or private debt or equity financing or other
various means to fund the Debtors’ businesses after the completion of the proceedings related to the
Chapter 11 Cases. Adequate funds may not be available when needed or may not be available on
favorable terms.

                     7. The Chapter 11 Cases May Be Converted to Cases under Chapter 7 of the
                        Bankruptcy Code

         If the Bankruptcy Court finds that it would be in the best interest of creditors and/or the debtor in
a chapter 11 case, the Bankruptcy Court may convert a chapter 11 bankruptcy case to a case under
chapter 7 of the Bankruptcy Code. In such event, a chapter 7 trustee would be appointed or elected to
liquidate the debtor’s assets for distribution in accordance with the priorities established by the
Bankruptcy Code. The Debtors believe that liquidation under chapter 7 would result in significantly
smaller distributions being made to creditors than those provided for in a chapter 11 plan because of
(a) the likelihood that the assets would have to be sold or otherwise disposed of in a disorderly fashion
over a short period of time, when commodities prices are at historically low levels, rather than
reorganizing or selling the business as a going concern at a later time in a controlled manner,
(b) additional administrative expenses involved in the appointment of a chapter 7 trustee, and
(c) additional expenses and Claims, some of which would be entitled to priority, that would be generated
during the liquidation, including Claims resulting from the rejection of Unexpired Leases and other
Executory Contracts in connection with cessation of operations.

                     8. The Debtors May Object to the Amount or Classification of a Claim

         Except as otherwise provided in the Plan, the Debtors reserve the right to object to the amount or
classification of any Claim under the Plan. The estimates set forth in this Disclosure Statement cannot be
relied upon by any holder of a Claim where such Claim is subject to an objection. Any holder of a Claim
that is subject to an objection thus may not receive its expected share of the estimated distributions
described in this Disclosure Statement.

                                                     29
             Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 37 of 106



                     9. Risk of Non-Occurrence of the Effective Date

        Although the Debtors believe that the Effective Date may occur quickly after the Confirmation
Date, there can be no assurance as to such timing or as to whether the Effective Date will, in fact, occur.

                     10. Contingencies Could Affect Votes of Impaired Classes to Accept or Reject
                         the Plan

         The distributions available to holders of Allowed Claims under the Plan can be affected by a
variety of contingencies, including, without limitation, whether the Bankruptcy Court orders certain
Allowed Claims to be subordinated to other Allowed Claims. The occurrence of any and all such
contingencies, which could affect distributions available to holders of Allowed Claims under the Plan,
will not affect the validity of the vote taken by the Impaired Classes to accept or reject the Plan or require
any sort of revote by the Impaired Classes.

         The estimated Claims and creditor recoveries set forth in this Disclosure Statement are based on
various assumptions, and the actual Allowed amounts of Claims may significantly differ from the
estimates. Should one or more of the underlying assumptions ultimately prove to be incorrect, the actual
Allowed amounts of Claims may vary from the estimated Claims contained in this Disclosure Statement.
Moreover, the Debtors cannot determine with any certainty at this time, the number or amount of Claims
that will ultimately be Allowed. Such differences may materially and adversely affect, among other
things, the percentage recoveries to holders of Allowed Claims under the Plan.

                     11. Releases, Injunctions, and Exculpations Provisions May Not Be Approved

        Article VIII of the Plan provides for certain releases, injunctions, and exculpations, including a
release of liens and third-party releases that may otherwise be asserted against the Debtors, Reorganized
Debtors, or Released Parties, as applicable. The releases, injunctions, and exculpations provided in the
Plan are subject to objection by parties in interest and may not be approved. If the releases are not
approved, certain Released Parties may withdraw their support for the Plan.

                     12. The Total Amount of Allowed General Unsecured Claims May Be Higher
                         Than Anticipated By the Debtors

        With respect to holders of Allowed General Unsecured Claims and Critical Trade Claims, the
claims filed against the Debtors’ estates may be materially higher than the Debtors have estimated.

                     13. The Reorganized Debtors May Not Be Able to Achieve their Projected
                         Financial Results

         The Reorganized Debtors may not be able to achieve their projected financial results. The
Financial Projections set forth in this Disclosure Statement represent the Debtors’ management team’s
best estimate of the Debtors’ future financial performance, which is necessarily based on certain
assumptions regarding the anticipated future performance of the Reorganized Debtors’ operations, as well
as the United States and world economies in general, and the industry segments in which the Debtors
operate in particular. While the Debtors believe that the Financial Projections contained in this
Disclosure Statement are reasonable, there can be no assurance that they will be realized. Moreover, the
financial condition and results of operations of the Reorganized Debtors from and after the Effective Date
may not be comparable to the financial condition or results of operations reflected in the Debtors’
historical financial statements.




                                                     30
              Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 38 of 106



                     14. Certain Tax Implications of the Plan

         Holders of Allowed Claims should carefully review Article XI of this Disclosure Statement,
entitled “Certain United States Federal Income Tax Consequences of the Plan,” to determine how the tax
implications of the Plan and the Chapter 11 Cases may adversely affect the Reorganized Debtors and
holders of Claims and Interests.


        B.      Risks Related to the Debtors’ and the Reorganized Debtors’ Businesses

                     1. The Debtors May Not Receive a Qualified Bid or Secure Exit Financing.

         The Debtors’ ability to receive a Qualified Bid or Secure Exit Financing may affect the Debtors’
compliance with terms of the DIP Facility. Should the Debtors fail to receive a Qualified Bid or secure
exit financing, such an occurrence would be deemed a default under the terms of the DIP Facility.

                     2. The Reorganized Debtors May Not Be Able to Generate Sufficient Cash to
                        Service All of their Indebtedness

        The Reorganized Debtors’ ability to make scheduled payments on, or refinance their debt
obligations, depends on the Reorganized Debtors’ financial condition and operating performance, which
are subject to prevailing economic, industry, and competitive conditions and to certain financial, business,
and other factors beyond the Reorganized Debtors’ control. The Reorganized Debtors may be unable to
maintain a level of cash flow from operating activities sufficient to permit the Reorganized Debtors to pay
the principal, premium, if any, and interest on their indebtedness, including, without limitation, potential
borrowings under the Exit Credit Agreement Facility upon emergence.

                     3. The Debtors Will Be Subject to the Risks and Uncertainties Associated with
                        the Chapter 11 Cases

         For the duration of the Chapter 11 Cases, the Debtors’ ability to operate, develop, and execute a
business plan, and continue as a going concern, will be subject to the risks and uncertainties associated
with bankruptcy. These risks include the following: (a) ability to develop, confirm, and consummate the
Restructuring Transactions specified in the Plan; (b) ability to obtain Bankruptcy Court approval with
respect to motions filed in the Chapter 11 Cases from time to time; (c) ability to maintain relationships
with suppliers, vendors, service providers, customers, employees, and other third parties; (d) ability to
maintain contracts that are critical to the Debtors’ operations; (e) ability of third parties to seek and obtain
Bankruptcy Court approval to terminate contracts and other agreements with the Debtors; (f) ability of
third parties to seek and obtain Bankruptcy Court approval to terminate or shorten the exclusivity period
for the Debtors to propose and confirm a chapter 11 plan, to appoint a chapter 11 trustee, or to convert the
Chapter 11 Cases to chapter 7 proceedings; and (g) the actions and decisions of the Debtors’ creditors and
other third parties who have interests in the Chapter 11 Cases that may be inconsistent with the Debtors’
plans.

         These risks and uncertainties could affect the Debtors’ businesses and operations in various ways.
For example, negative events associated with the Chapter 11 Cases could adversely affect the Debtors’
relationships with suppliers, service providers, customers, employees, and other third parties, which in
turn could adversely affect the Debtors’ operations and financial condition. Also, the Debtors will need
the prior approval of the Bankruptcy Court for transactions outside the ordinary course of business, which
may limit the Debtors’ ability to respond timely to certain events or take advantage of certain
opportunities. Because of the risks and uncertainties associated with the Chapter 11 Cases, the Debtors


                                                      31
             Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 39 of 106



cannot accurately predict or quantify the ultimate impact of events that occur during the Chapter 11 Cases
that may be inconsistent with the Debtors’ plans.

        Additionally, a substantial portion of the value of the Debtors’ businesses is its intellectual
property. The chapter 11 cases may have a negative effect on the value of the Debtors’ intellectual
property, including if the intellectual property were to be deemed invalid or non-transferrable by an order
of the Bankruptcy Court.

                     4. Operating in Bankruptcy for a Long Period of Time May Harm the
                        Debtors’ Businesses

         A long period of operations under Bankruptcy Court protection could have a material adverse
effect on the Debtors’ businesses, financial condition, results of operations, and liquidity. So long as the
proceedings related to the Chapter 11 Cases continue, senior management will be required to spend a
significant amount of time and effort dealing with the reorganization instead of focusing exclusively on
business operations. A prolonged period of operating under Bankruptcy Court protection also may make
it more difficult to retain management and other key personnel necessary to the success of the Debtors’
businesses. In addition, the longer the proceedings related to the Chapter 11 Cases continue, the more
likely it is that customers and suppliers will lose confidence in the Debtors’ ability to reorganize their
businesses successfully and will seek to establish alternative commercial relationships.

         So long as the proceedings related to the Chapter 11 Cases continue, the Debtors will be required
to incur substantial costs for professional fees and other expenses associated with the administration of
the Chapter 11 Cases. The chapter 11 proceedings also require debtor-in-possession financing to fund the
Debtors’ operations. If the Debtors are unable to fully draw on the availability under the DIP Facility, the
chances of successfully reorganizing the Debtors’ businesses may be seriously jeopardized, the likelihood
that the Debtors will instead be required to liquidate or sell their assets may be increased, and, as a result,
creditor recoveries may be significantly impaired.

          Furthermore, the Debtors cannot predict the ultimate amount of all settlement terms for the
liabilities that will be subject to a plan of reorganization. Even after a plan of reorganization is approved
and implemented, the Reorganized Debtors’ operating results may be adversely affected by the possible
reluctance of prospective lenders and other counterparties to do business with a company that recently
emerged from bankruptcy protection.

                     5. Financial Results May Be Volatile and May Not Reflect Historical Trends

         During the Chapter 11 Cases, the Debtors expect that their financial results will continue to be
volatile as asset impairments, asset dispositions, restructuring activities and expenses, contract
terminations and rejections, and/or claims assessments significantly impact the Debtors’ consolidated
financial statements. As a result, the Debtors’ historical financial performance likely will not be
indicative of their financial performance after the Petition Date.

         In addition, if the Debtors emerge from chapter 11, the amounts reported in subsequent
consolidated financial statements may materially change relative to historical consolidated financial
statements, including as a result of revisions to the Debtors’ operating plans pursuant to a plan of
reorganization. The Debtors also may be required to adopt “fresh start” accounting in accordance with
Accounting Standards Codification 852 (“Reorganizations”) in which case their assets and liabilities will
be recorded at fair value as of the fresh start reporting date, which may differ materially from the recorded
values of assets and liabilities on the Debtors’ consolidated balance sheets. The Debtors’ financial results
after the application of fresh start accounting also may be different from historical trends. The Financial



                                                      32
             Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 40 of 106



Projections contained in Exhibit C hereto do not currently reflect the impact of fresh start accounting,
which may have a material impact on the Financial Projections.

                     6. The Reorganized Debtors May Be Adversely Affected by Potential
                        Litigation, Including Litigation Arising Out of the Chapter 11 Cases

         In the future, the Reorganized Debtors may become parties to litigation. In general, litigation can
be expensive and time consuming to bring or defend against. Such litigation could result in settlements or
damages that could significantly affect the Reorganized Debtors’ financial results. It is also possible that
certain parties will commence litigation with respect to the treatment of their Claims under the Plan. It is
not possible to predict the potential litigation that the Reorganized Debtors may become party to, nor the
final resolution of such litigation. The impact of any such litigation on the Reorganized Debtors’
businesses and financial stability, however, could be material.

                     7. The Loss of Key Personnel Could Adversely Affect the Debtors’ Operations

         The Debtors’ operations are dependent on a relatively small group of key management personnel
and a skilled employee base. The Debtors’ recent liquidity issues and the Chapter 11 Cases have created
distractions and uncertainty for key management personnel and employees. As a result, the Debtors have
experienced and may continue to experience increased levels of employee attrition. The Debtors may be
unable to find acceptable replacements with comparable skills and experience and the loss of such key
management personnel could adversely affect the Debtors’ ability to operate their businesses. In addition,
a loss of key personnel or material erosion of employee morale could have a material adverse effect on
the Debtors’ ability to meet customer and counterparty expectations, thereby adversely affecting the
Debtors’ businesses and the results of operations.

                     8. Certain Claims May Not Be Discharged and Could Have a Material Adverse
                        Effect on the Debtors’ Financial Condition and Results of Operations

         The Bankruptcy Code provides that the confirmation of a plan of reorganization discharges a
debtor from substantially all debts arising prior to confirmation. With few exceptions, all Claims that
arise prior to the Debtors’ filing of their Petitions or before confirmation of the plan of reorganization
(a) would be subject to compromise and/or treatment under the plan of reorganization and/or (b) would be
discharged in accordance with the terms of the plan of reorganization. Any Claims not ultimately
discharged through a plan of reorganization could be asserted against the reorganized entity and may have
an adverse effect on the Reorganized Debtors’ financial condition and results of operations.

IX.     SOLICITATION AND VOTING PROCEDURES

         This Disclosure Statement, which is accompanied by a Ballot or Ballots to be used for voting on
the Plan, is being distributed to the holders of Claims or Interests in those Classes that are entitled to vote
to accept or reject the Plan. The procedures and instructions for voting and related deadlines are set forth
in the exhibits annexed to the Disclosure Statement Order.

       The Disclosure Statement Order is incorporated herein by reference and should be read in
conjunction with this Disclosure Statement in formulating a decision to vote to accept or reject the
Plan.




                                                      33
             Case 19-10488-LSS           Doc 105       Filed 03/22/19      Page 41 of 106



     THE DISCUSSION OF THE SOLICITATION AND VOTING PROCESS SET FORTH IN
             THIS DISCLOSURE STATEMENT IS ONLY A SUMMARY.
  PLEASE REFER TO THE DISCLOSURE STATEMENT ORDER ATTACHED HERETO FOR A
  MORE COMPREHENSIVE DESCRIPTION OF THE SOLICITATION AND VOTING PROCESS.

       A.      Holders of Claims Entitled to Vote on the Plan

         Under the provisions of the Bankruptcy Code, not all holders of claims against or interests in a
debtor are entitled to vote on a chapter 11 plan. The table in Article III.C of this Disclosure Statement,
entitled “Am I entitled to vote on the Plan?” provides a summary of the status and voting rights of each
Class (and, therefore, of each holder within such Class absent an objection to the holder’s Claim or
Interest) under the Plan.

        As shown in the table, the Debtors are soliciting votes to accept or reject the Plan only from
holders of Claims or Interests in Classes 4, 5, 6, and 7 (collectively, the “Voting Classes”). The holders
of Claims or Interests in the Voting Classes are Impaired under the Plan and may, in certain
circumstances, receive a distribution under the Plan. Accordingly, holders of Claims or Interests in the
Voting Classes have the right to vote to accept or reject the Plan.

         The Debtors are not soliciting votes from holders of Claims or Interests in Classes 1, 2, 3, 8, 9,
and 10. Additionally, the Disclosure Statement Order provides that certain holders of Claims or Interests
in the Voting Classes, such as those holders whose Claims or Interests have been disallowed or are
subject to a pending objection, are not entitled to vote to accept or reject the Plan.

       B.      Voting Record Date

         The Voting Record Date is May 1, 2019. The Voting Record Date is the date on which it will
be determined which holders of Claims or Interests in the Voting Classes are entitled to vote to accept or
reject the Plan and whether Claims or Interests have been properly assigned or transferred under
Bankruptcy Rule 3001(e) such that an assignee or transferee, as applicable, can vote to accept or reject the
Plan as the holder of a Claim or Interest.

       C.      Voting on the Plan

         The Voting Deadline is June 4, 2019, at 4:00 p.m. (prevailing Eastern Time). To be counted
as votes to accept or reject the Plan, all ballots must be properly executed, completed, and delivered as
directed, so that your ballot or the master ballot containing your vote is actually received by the
Solicitation Agent on or before the Voting Deadline.

        To vote, complete, sign, and date your ballot and return it (with an original signature) promptly in
the enclosed reply envelope or to one of the below addresses.

                               If sent by hand delivery, or overnight mail

                                                 Stretto
                                       Re: Z Gallerie, LLC, et al.
                                     8269 E. 23rd Avenue, Suite 275
                                           Denver, CO 80238




                                                    34
             Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 42 of 106



                                                     OR

     SUBMIT VIA AN ELECTRONIC BALLOT THROUGH THE SOLICITATION AGENT’S
               ONLINE ELECTRONIC BALLOT SUBMISSION PORTAL AT
                     HTTPS://CASES.STRETTO.COM/ZGALLERIE

                          PLEASE SELECT JUST ONE OPTION TO VOTE.

      IF YOU HAVE ANY QUESTIONS ABOUT THE SOLICITATION OR VOTING
PROCESS, PLEASE CONTACT THE SOLICITATION AGENT TOLL FREE AT (855) 276-9008
OR VIA ELECTRONIC MAIL TO TEAMZGALLERIE@STRETTO.COM.

       D.       Ballots Not Counted

        No ballot will be counted toward Confirmation if, among other things: (1) it is illegible or
contains insufficient information to permit the identification of the holder of the Claim or Interest; (2) it
was transmitted by means other than as specifically set forth in the ballots; (3) it was cast by an entity that
is not entitled to vote on the Plan; (4) it was cast for a Claim listed in the Debtors’ schedules as
contingent, unliquidated, or disputed for which the applicable Bar Date has passed and no proof of claim
was timely filed; (5) it was cast for a Claim that is subject to an objection pending as of the Voting
Record Date (unless temporarily allowed in accordance with the Disclosure Statement Order); (6) it was
sent to the Debtors, the Debtors’ agents/representatives (other than the Solicitation Agent), or the
Debtors’ financial or legal advisors instead of the Solicitation Agent; (7) it is unsigned; or (8) it is not
clearly marked to either accept or reject the Plan or it is marked both to accept and reject the Plan. Please
refer to the Disclosure Statement Order for additional requirements with respect to voting to accept
or reject the Plan.

     ANY BALLOT RECEIVED AFTER THE VOTING DEADLINE OR THAT IS
OTHERWISE NOT IN COMPLIANCE WITH THE DISCLOSURE STATEMENT ORDER
WILL NOT BE COUNTED.

X.      CONFIRMATION OF THE PLAN

        A.      Requirements for Confirmation of the Plan

         Among the requirements for Confirmation of the Plan pursuant to section 1129 of the Bankruptcy
Code are: (1) the Plan is accepted by all Impaired Classes of Claims or Interests, or if rejected by an
Impaired Class, the Plan “does not discriminate unfairly” and is “fair and equitable” as to the rejecting
Impaired Class; (2) the Plan is feasible; and (3) the Plan is in the “best interests” of holders of Claims or
Interests.

         At the Confirmation Hearing, the Bankruptcy Court will determine whether the Plan satisfies all
of the requirements of section 1129 of the Bankruptcy Code. The Debtors believe that: (1) the Plan
satisfies, or will satisfy, all of the necessary statutory requirements of chapter 11 for plan confirmation;
(2) the Debtors have complied, or will have complied, with all of the necessary requirements of
chapter 11 for plan confirmation; and (3) the Plan has been proposed in good faith.

        B.      Best Interests of Creditors/Liquidation Analysis

       Often called the “best interests” test, section 1129(a)(7) of the Bankruptcy Code requires that a
bankruptcy court find, as a condition to confirmation, that a chapter 11 plan provides, with respect to each


                                                      35
             Case 19-10488-LSS            Doc 105      Filed 03/22/19       Page 43 of 106



impaired class, that each holder of a claim or an equity interest in such impaired class either (1) has
accepted the plan or (2) will receive or retain under the plan property of a value that is not less than the
amount that the non-accepting holder would receive or retain if the debtors liquidated under chapter 7.

         Attached hereto as Exhibit B and incorporated herein by reference is a liquidation analysis
(the “Liquidation Analysis”) prepared by the Debtors with the assistance of the Debtors’ advisors. As
reflected in the Liquidation Analysis, the Debtors believe that liquidation of the Debtors’ businesses
under chapter 7 of the Bankruptcy Code would result in substantial diminution in the value to be realized
by holders of Claims or Interests as compared to distributions contemplated under the Plan.
Consequently, the Debtors and their management believe that Confirmation of the Plan will provide a
substantially greater return to holders of Claims or Interests than would a liquidation under chapter 7 of
the Bankruptcy Code.

         If the Plan is not confirmed, and the Debtors fail to propose and confirm an alternative plan of
reorganization, the Debtors’ businesses may be liquidated pursuant to the provisions of a chapter 11
liquidating plan. In liquidations under chapter 11, the Debtors’ assets could be sold in an orderly fashion
over a more extended period of time than in a liquidation under chapter 7. Thus, a chapter 11 liquidation
may result in larger recoveries than a chapter 7 liquidation, but the delay in distributions could result in
lower present values received and higher administrative costs. Any distribution to holders of Claims or
Interests (to the extent holders of Interests would receive distributions at all) under a chapter 11
liquidation plan would most likely be substantially delayed. Most importantly, the Debtors believe that
any distributions to creditors in a chapter 11 liquidation scenario would fail to capture the significant
going concern value of their businesses, which is reflected in the Reorganized Debtors Interests to be
distributed under the Plan. Accordingly, the Debtors believe that a chapter 11 liquidation would not result
in distributions as favorable as those under the Plan.

        C.     Feasibility

        Section 1129(a)(11) of the Bankruptcy Code requires that confirmation of a plan of
reorganization is not likely to be followed by the liquidation, or the need for further financial
reorganization of the debtor, or any successor to the debtor (unless such liquidation or reorganization is
proposed in such plan of reorganization).

         To determine whether the Plan meets this feasibility requirement, the Debtors, with the assistance
of their advisors, have analyzed their ability to meet their respective obligations under the Plan. As part
of this analysis, the Debtors have prepared their projected consolidated balance sheet, income statement,
and statement of cash flows (the “Financial Projections”). Creditors and other interested parties should
review Article VIII of this Disclosure Statement, entitled “Risk Factors,” for a discussion of certain
factors that may affect the future financial performance of the Reorganized Debtors.

       The Financial Projections are attached hereto as Exhibit C and incorporated herein by reference.
Based upon the Financial Projections, the Debtors believe that they will be a viable operation following
the Chapter 11 Cases and that the Plan will meet the feasibility requirements of the Bankruptcy Code.

        D.     Acceptance by Impaired Classes

         The Bankruptcy Code requires, as a condition to confirmation, except as described in the
following section, that each class of claims or equity interests impaired under a plan, accept the plan. A
class that is not “impaired” under a plan is deemed to have accepted the plan and, therefore, solicitation of
acceptances with respect to such a class is not required.



                                                     36
             Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 44 of 106



         Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by a class of impaired
claims as acceptance by holders of at least two-thirds in dollar amount and more than one-half in a
number of allowed claims in that class, counting only those claims that have actually voted to accept or to
reject the plan. Thus, a class of Claims will have voted to accept the Plan only if two-thirds in amount
and a majority in number of the Allowed Claims in such class that vote on the Plan actually cast their
ballots in favor of acceptance.

         Section 1126(d) of the Bankruptcy Code defines acceptance of a plan by a class of impaired
equity interests as acceptance by holders of at least two-thirds in amount of allowed interests in that class,
counting only those interests that have actually voted to accept or to reject the plan. Thus, a Class of
Interests will have voted to accept the Plan only if two-thirds in amount of the Allowed Interests in such
class that vote on the Plan actually cast their ballots in favor of acceptance.

        Pursuant to Article III.E of the Plan, if a Class contains Claims or Interests is eligible to vote and
no holders of Claims or Interests eligible to vote in such Class vote to accept or reject the Plan, the
holders of such Claims or Interests in such Class shall be deemed to have accepted the Plan.

        E.     Confirmation without Acceptance by All Impaired Classes

        Section 1129(b) of the Bankruptcy Code allows a bankruptcy court to confirm a plan even if all
impaired classes have not accepted it; provided, that the plan has been accepted by at least one impaired
class. Pursuant to section 1129(b) of the Bankruptcy Code, notwithstanding an impaired class’s rejection
or deemed rejection of the plan, the plan will be confirmed, at the plan proponent’s request, in a
procedure commonly known as a “cramdown” so long as the plan does not “discriminate unfairly” and is
“fair and equitable” with respect to each class of claims or equity interests that is impaired under, and has
not accepted, the plan.

         If any Impaired Class rejects the Plan, the Debtors reserve the right to seek to confirm the Plan
utilizing the “cramdown” provision of section 1129(b) of the Bankruptcy Code. To the extent that any
Impaired Class rejects the Plan or is deemed to have rejected the Plan, the Debtors may request
Confirmation of the Plan, as it may be modified from time to time, under section 1129(b) of the
Bankruptcy Code. The Debtors reserve the right to alter, amend, modify, revoke, or withdraw the Plan or
any Plan Supplement document, including the right to amend or modify the Plan or any Plan Supplement
document to satisfy the requirements of section 1129(b) of the Bankruptcy Code.

                     1. No Unfair Discrimination

        The “unfair discrimination” test applies to classes of claims or interests that are of equal priority
and are receiving different treatment under a plan. The test does not require that the treatment be the
same or equivalent, but that treatment be “fair.” In general, bankruptcy courts consider whether a plan
discriminates unfairly in its treatment of classes of claims or interests of equal rank (e.g., classes of the
same legal character). Bankruptcy courts will take into account a number of factors in determining
whether a plan discriminates unfairly. A plan could treat two classes of unsecured creditors differently
without unfairly discriminating against either class.

                     2. Fair and Equitable Test

       The “fair and equitable” test applies to classes of different priority and status (e.g., secured versus
unsecured) and includes the general requirement that no class of claims receive more than 100 percent of
the amount of the allowed claims in the class. As to the dissenting class, the test sets different standards
depending upon the type of claims or equity interests in the class.


                                                     37
             Case 19-10488-LSS            Doc 105      Filed 03/22/19       Page 45 of 106



        The Debtors submit that if the Debtors “cramdown” the Plan pursuant to section 1129(b) of the
Bankruptcy Code, the Plan is structured so that it does not “discriminate unfairly” and satisfies the “fair
and equitable” requirement. With respect to the unfair discrimination requirement, all Classes under the
Plan are provided treatment that is substantially equivalent to the treatment that is provided to other
Classes that have equal rank. With respect to the fair and equitable requirement, no Class under the Plan
will receive more than 100 percent of the amount of Allowed Claims or Interests in that Class. The
Debtors believe that the Plan and the treatment of all Classes of Claims or Interests under the Plan satisfy
the foregoing requirements for nonconsensual Confirmation of the Plan.

XI.     MATERIAL UNITED STATES FEDERAL INCOME TAX CONSEQUENCES

        The following discussion summarizes certain United States (“U.S.”) federal income tax
consequences of the implementation of the Plan to the Debtors and beneficial owners of Claims (each, a
“Holder”). This summary is based on the Internal Revenue Code of 1986, as amended (the “Tax Code”),
the U.S. Treasury Regulations promulgated thereunder (the “Treasury Regulations”), judicial decisions
and published administrative rules, and pronouncements of the Internal Revenue Service (the “IRS”), all
as in effect on the date hereof (collectively, “Applicable Tax Law”). Changes in Applicable Tax Law
may have retroactive effect and could significantly affect the U.S. federal income tax consequences
described below. The Debtors have not requested, and will not request, any ruling or determination from
the IRS or any other taxing authority with respect to the tax consequences discussed herein, and the
discussion below is not binding upon the IRS or the courts. No assurance can be given that the IRS
would not assert, or that a court would not sustain, a different position than any position discussed herein.

         Except as specifically set forth below, this summary does not apply to Holders that are not U.S.
Persons (as such term is defined in the Tax Code) and does not address foreign, state, or local tax
consequences of the Plan, nor does it purport to address all aspects of U.S. federal income taxation that
may be relevant to a Holder in light of its individual circumstances or to a Holder that may be subject to
special tax rules (such as Persons who are related to the Debtors within the meaning of the Tax Code,
broker-dealers, banks, mutual funds, insurance companies, financial institutions, small business
investment companies, regulated investment companies, tax exempt organizations, governmental
authorities or agencies, pass-through entities, beneficial owners of pass-through entities, subchapter S
corporations, employees or persons who received their Claims pursuant to the exercise of an employee
stock option or otherwise as compensation, persons who hold Claims as part of a straddle, hedge,
conversion transaction, or other integrated investment, persons using a mark-to-market method of
accounting, and holders of Claims who are themselves in bankruptcy), unless otherwise specifically stated
herein. Furthermore, this summary assumes that a Holder holds only Claims in a single Class and holds a
Claim only as a “capital asset” (within the meaning of section 1221 of the Tax Code). This summary also
assumes that the various debt and other arrangements to which any of the Debtors are a party will be
respected for U.S. federal income tax purposes in accordance with their form, and that the Claims
constitute interests in the Debtors “solely as a creditor” for purposes of section 897 of the Tax Code. This
summary does not discuss differences in tax consequences to a Holder that acts or receives consideration
in a capacity other than as a Holder of a Claim of the same Class, and the tax consequences for such
Holders may differ materially from that described below.

        The U.S. federal income tax consequences of the implementation of the Plan will depend on,
among other things, whether the Secured Credit Agreement Lenders are the Winning Bidder and, if so
whether the Secured Credit Agreement Lenders’ Claims are held by more than one entity for U.S. federal
income tax purposes. If a party other than the Secured Credit Agreement Lenders is the Winning Bidder
then the Debtors expect to treat the Sale Transaction as a taxable sale of assets (a “Taxable Sale”).
Similarly, if the Secured Credit Agreement Lenders’ Claims are held by a single entity for U.S. federal
income tax purposes (while not free from doubt, including a pre-existing partnership) such that when that


                                                     38
             Case 19-10488-LSS            Doc 105      Filed 03/22/19       Page 46 of 106



entity acquires 100% of the Reorganized Debtors Interests, Reorganized Debtors becomes a disregarded
entity for U.S. federal income tax purposes, then the Debtors also expect to treat such Sale Transaction as
a Taxable Sale. However, if the Secured Credit Agreement Lenders’ Claims are held by more than one
entity for U.S. federal income tax purposes and such Secured Credit Agreement Lenders are the Winning
Bidders, and, at least one of such Secured Credit Agreement Lenders is also a holder of Interests in the
existing Z Gallerie Holdings, LLC (“Parent”) then the Debtors expect to treat the Sale Transaction as a
continuation of the Parent partnership, with such Secured Credit Agreement Lenders treated as receiving
the Reorganized Debtors Interests in exchange for their respective Claims under section 721 of the Tax
Code (a “Partnership Continuation”).

         For purposes of this discussion, a “U.S. Holder” is a holder of a Claim that is: (1) an individual
citizen or resident of the United States for U.S. federal income tax purposes; (2) a corporation (or other
entity treated as a corporation for U.S. federal income tax purposes) created or organized under the laws
of the United States, any state thereof or the District of Columbia; (3) an estate the income of which is
subject to U.S. federal income taxation regardless of the source of such income; or (4) a trust (A) if a
court within the United States is able to exercise primary jurisdiction over the trust’s administration and
one or more United States persons have authority to control all substantial decisions of the trust or
(B) that has a valid election in effect under applicable Treasury Regulations to be treated as a United
States person. For purposes of this discussion, a “non-U.S. Holder” is any Holder of a Claim that is not a
U.S. holder other than any partnership (or other entity treated as a partnership or other pass-through entity
for U.S. federal income tax purposes).

         If a partnership (or other entity treated as a partnership or other pass-through entity for U.S.
federal income tax purposes) is a Holder, the tax treatment of a partner (or other beneficial owner)
generally will depend upon the status of the partner (or other beneficial owner) and the activities of the
entity. Partners (or other beneficial owners) of partnerships (or other pass-through entities) that are
Holders should consult their respective tax advisors regarding the U.S. federal income tax consequences
of the Plan.
      ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN U.S. FEDERAL INCOME TAX
CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A SUBSTITUTE FOR
CAREFUL TAX PLANNING AND ADVICE BASED UPON THE INDIVIDUAL CIRCUMSTANCES
PERTAINING TO A HOLDER OF A CLAIM OR INTEREST. ALL HOLDERS OF CLAIMS OR
INTERESTS ARE URGED TO CONSULT THEIR OWN TAX ADVISORS FOR THE FEDERAL, STATE,
LOCAL, AND NON-U.S. TAX CONSEQUENCES OF THE PLAN.

        A.     Certain U.S. Federal Income Tax Consequences of the Plan to the Debtors and
               Holders of Parent Interests

        Immediately prior to the Consummation of the Plan the Debtors will each be treated as
disregarded entities for U.S. federal income tax purposes. For U.S. federal income tax purposes, the
respective assets of each of the Debtors will be treated as if they were owned by Parent, which is the sole
owner of Interests in Z Gallerie Holding Company, LLC, (“Holdings”) that is regarded for U.S. federal
income tax purposes. Moreover, because Parent is treated as a partnership for U.S. federal income tax
purposes, the U.S. federal income tax consequences of consummating the Plan will generally not be borne
by the Debtors, but will be borne by the partners of Parent (the “Holders of the Parent Interests”).

               1.        COD Income.

        In general, absent an exception, a taxpayer will realize and recognize cancellation of indebtedness
income (“COD Income”) upon satisfaction of its outstanding indebtedness for total consideration less
than the amount of such indebtedness. The amount of COD Income, in general, is the excess of (1) the


                                                     39
             Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 47 of 106



adjusted issue price of the indebtedness satisfied, over (2) the fair market value of any consideration given
in satisfaction of such indebtedness at the time of the exchange.

         Under section 108 of the Tax Code, a taxpayer is not required to include COD Income in gross
income (a) if the taxpayer is under the jurisdiction of a court in a case under chapter 11 of the Bankruptcy
Code and the discharge of debt occurs pursuant to that case (the “Bankruptcy Exception”), or (b), to the
extent that the taxpayer is insolvent immediately before the discharge (the “Insolvency Exception”).
Instead, as a consequence of such exclusion, a taxpayer-debtor must reduce its tax attributes by the
amount of COD Income that it excluded from gross income. In general, tax attributes will be reduced in
the following order: (a) net operating losses (“NOLs”); (b) most tax credits; (c) capital loss carryovers;
(d) tax basis in assets (but not below the amount of liabilities to which the debtor remains subject); (e)
passive activity loss and credit carryovers; and (f) foreign tax credits. Alternatively, the taxpayer can
elect first to reduce the basis of its depreciable assets pursuant to section 108(b)(5) of the Tax Code.

         Under section 108(d)(6) of the Tax Code, when an entity, such as Parent, that is taxed as a
partnership realizes COD Income, its partners are treated as receiving their allocable share of such COD
Income and the Bankruptcy Exception and the Insolvency Exception (and related attribute reduction) are
applied at the partner level rather than at the entity level. Accordingly, the Holders of Parent Interests
will be treated as receiving their allocable share, if any, of the COD Income realized by Parent.

        The Debtors, and accordingly, the Holders of the Parent Interests, expect to realize significant
COD Income as a result of the consummation of the Plan. The exact amount of any COD Income that
will be realized by the Debtors and the Holders of the Parent Interests will not be determinable until the
consummation of the Plan.

                2.       Recognition of COD Income and Gain on Sale Transaction.

        Pursuant to the Sale Transaction, the Debtors will transfer all or substantially all of their assets to
the Winning Bidder, whereby the Cash received in such a Sale Transaction will be used to fund the
applicable creditor recoveries pursuant to the Plan.           Subject to the Partnership Continuation
considerations referenced above (and discussed further below), such transfer generally should be treated
as a Taxable Sale or exchange of the assets of the Debtors for U.S. federal income tax purposes.

         Accordingly, the Debtors may recognize gain upon the transfer of certain assets to the Winning
Bidder. As described above, because Parent is the only parent of the Debtors that is regarded for U.S.
federal income tax purposes, such gain or loss will be allocated to the Holders of the Parent Interests. The
amount of gain or loss allocable to any particular Holder of any Parent Interest depends, in part, on when
and at what price such Holder paid for its Parent Interest and the extent to which it has previously been
allocated amortization or depreciation deductions with respect to the transferred assets. The Holders of
the Parent Interests are urged to consult their tax advisors regarding the allocation of gain and loss and the
deductibility of any losses recognized as a result of the transfer of assets (including any other limitations
that may be imposed by the tax law based on a holder’s individual circumstances).

        In a Taxable Sale, Parent (and in turn, the Holders of Parent Interests) should recognize gain or
loss equal to the difference between the proceeds of the sale and Parent’s adjusted basis in the property
sold. Recent IRS guidance indicates that because the Secured Credit Agreement Lenders’ Claims are
issued by Z Gallerie, LLC (which is disregarded as an entity separate from Parent for U.S. federal income
tax purposes) but are not guaranteed by Parent, such Secured Credit Agreement Lenders’ Claims will be
treated as “non-recourse” debt of Parent. As a result, the transfer of the Debtors’ assets to a third party
buyer or to a single holder of the Secured Credit Agreement Lenders’ Claims pursuant to a Taxable Sale
would be treated as though Parent sold its assets in exchange for proceeds equal not only to the fair value


                                                      40
             Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 48 of 106



of such assets or the amount of Cash received, but for the entire adjusted issue price of the discharged
Secured Credit Agreement Lenders’ Claims. As a consequence Parent will realize less COD Income and
more gain (or less loss) on the Taxable Sale than it would if the Secured Credit Agreement Lenders’
Claims were guaranteed by Parent and thus were treated as recourse debt for U.S. federal income tax
purposes.

         Any such gain or loss recognized by Parent will be allocated to the Holders of Parent Interests.
The character of such gain or loss as long-term or short-term capital gain or loss or as ordinary income or
loss will be determined by a number of factors including which assets of the Debtors are held as capital
assets and whether and to what extent any gain on their sale represents the recapture of prior depreciation
or amortization. Any such gain, and any related deductions, may be allocated among the partners in a
different manner than any COD Income recognized by Parent would be allocated. Allocations of COD
Income, gains and losses among the Holders of Parent Interests are based in part on which Holders of
Parent Interests contributed property to Parent and which Holders of Parent Interests are allocated
indebtedness that is cancelled as a result of the Sale Transaction. A Holder of Parent Interests that holds
both debt and equity interests in Parent also likely receives allocations of gain, related deductions, and
other items, in a manner different than Holders of Parent Interests that hold only equity interests in Parent.

       B.      Certain U.S. Federal Income Tax Consequences of the Plan to Holders of Allowed
               Class 4 Secured Revolving Loan Claims and Allowed Class 5 Secured Term Loan
               Claims.

        The treatment of Holders of Secured Revolving Loan Claims and Secured Term Loan Claims (for
purposes of this Section 2(B), the “Credit Bid Claims”) will vary depending upon whether (a) an Entity
other than the Secured Credit Agreement Lenders is the Winning Bidder and (b) whether the Sale
Transaction is a Partnership Continuation (as discussed above). If the Secured Credit Agreement Lenders
are the Winning Bidder and the Sale Transaction is not a Partnership Continuation, then, pursuant to the
Plan, in exchange for full and final satisfaction, compromise, settlement, release and discharge of the
Credit Bid Claims, each Holder thereof will receive its pro rata share, based on the Allowed amount of its
applicable Credit Bid Claim, of Interests in the Reorganized Debtors.

        If the Secured Credit Agreement Lenders are the Winning Bidder and the Sale Transaction is not
a Partnership Continuation, a Holder of a Credit Bid Claim should recognize gain or loss equal to (a) the
sum of (i) any Cash received, (ii) the fair market value (or issue price, in the case of debt instruments) of
any non-Cash consideration (including Reorganized Debtors’ Interests), minus (b) the Holder’s adjusted
tax basis in its applicable Credit Bid Claim. Such Holder should obtain a tax basis in the non-Cash
consideration received, and the holding period for any such property should begin on the day following
the receipt of such consideration.

        If the Secured Credit Agreement Lenders are not the Winning Bidder and the Sale Transaction is
not a Partnership Continuation, then, pursuant to the Plan, in exchange for full and final satisfaction,
compromise, settlement, release and discharge of its applicable Credit Bid Claim, each Holder thereof
will receive its pro rata share, based on the Allowed amount of its applicable Credit Bid Claim, of (a)
Cash and/or (b) the non-Cash consideration amount that would render such Holder’s Allowed Credit Bid
Claim Unimpaired. Such Holder will recognize gain or loss equal to the (a) the sum of (i) any Cash
received and (ii) the fair market value (or issue price, in the case of debt instruments) of any non-Cash
consideration (if any) minus (b) the Holder’s adjusted tax basis in its applicable Credit Bid Claim.

        In a Sale Transaction that is treated as a Partnership Continuation, Holders of Credit Bid Claims
will generally not recognize gain or loss on the receipt of Reorganized Debtors Interests. Holders of
Credit Bid Claims will have a tax basis in their applicable Reorganized Debtors Interests equal to their tax


                                                     41
             Case 19-10488-LSS            Doc 105      Filed 03/22/19       Page 49 of 106



basis in the obligation constituting the applicable exchanged Credit Bid Claim, and their tax basis in
Interests in Parent, if such Holders also held a Parent Interest.

       C.      Certain U.S. Federal Income Tax Consequences of the Plan to Holders of Allowed
               Class 6 Critical Trade Claims.

         Pursuant to the Plan, each Holder of an Allowed Class 6 Critical Trade Claim will receive its [pro
rata share of Cash], to the extent the Holders of Allowed Secured Revolving Loan Claims in Class 4 and
Holders of Allowed Secured Term Loan Claims in Class 5 are paid in full. Such Holders should
recognize gain or loss equal to (a) the sum of (i) any Cash received and (ii) the fair market value (or issue
price, in the case of debt instruments) of any non-Cash consideration (if any) minus (b) the Holder’s
adjusted tax basis in its Critical Trade Claim.

       D.      Certain U.S. Federal Income Tax Consequences of the Plan to Holders of Allowed
               Class 7 General Unsecured Claim.

         Pursuant to the Plan, each Holder of an Allowed Class 7 General Unsecured Claim will receive
its [pro rata share of Cash], to the extent the Holders of Allowed Secured Revolving Loan Claims in Class
4 and Holders of Allowed Secured Term Loan Claims in Class 5 are paid in full. Such Holders should
recognize gain or loss equal to (a) the sum of (i) any Cash received and (ii) the fair market value (or issue
price, in the case of debt instruments) of any non-Cash consideration (if any) minus (b) the Holder’s
adjusted tax basis in its General Unsecured Claim.

       E.      Character of Gain or Loss.

        Where gain or loss is recognized by a Holder of a Claim upon the exchange of its Allowed Claim,
the character of such gain or loss as long-term or short-term capital gain or loss or as ordinary income or
loss will be determined by a number of factors, including, among others, the tax status of the Holder,
whether the Allowed Claim constitutes a capital asset in the hands of the Holder and how long it has been
held, whether the Allowed Claim was acquired at a market discount (discussed below), whether and to
what extent the Holder previously had claimed a bad debt deduction, and the nature and tax treatment of
any fees, costs or expense reimbursements to which consideration is allocated. Each Holder of an
Allowed Claim is urged to consult its tax advisor to determine the character of any gain or loss recognized
with respect to the satisfaction of its Allowed Claim.

         Holders of Allowed Claims who recognize capital losses as a result of the distributions under the
Plan will be subject to limits on their use of capital losses. For corporate Holders, losses from the sale or
exchange of capital assets may only be used to offset capital gains. Corporate Holders who have more
capital losses than can be used in a tax year may be allowed to carry over unused capital losses for the
five taxable years following the capital loss year and may be allowed to carry back unused capital losses
to the three taxable years that precede the capital loss year.

       F.      Market Discount.

         Under the “market discount” provisions of sections 1276 through 1278 of the Tax Code, some or
all of any gain realized by a Holder exchanging the debt instruments constituting its Allowed Claim may
be treated as ordinary income (instead of capital gain), to the extent of the amount of “market discount”
on the debt constituting the surrendered Allowed Claim.

       In general, a debt instrument is considered to have been acquired with “market discount” if its
Holder’s adjusted tax basis in the debt instrument is less than (i) the sum of all remaining payments to be
made on the debt instrument, excluding “qualified stated interest” or, (ii) in the case of a debt instrument


                                                     42
             Case 19-10488-LSS           Doc 105       Filed 03/22/19      Page 50 of 106



issued with “original issue discount” (“OID”) its adjusted issue price, by at least a de minimis amount
(equal to 0.25 percent of the sum of all remaining payments to be made on the debt instrument, excluding
qualified stated interest, multiplied by the number of remaining whole years to maturity).

         Any gain recognized by a Holder on the exchange of debt constituting its Allowed Claim that was
acquired with market discount should be treated as ordinary income to the extent of the market discount
that accrued thereon while such debts were considered to be held by the Holder (unless the Holder elected
to include market discount in income as it accrued).

        Section 451 of the IRC (as discussed below) generally would require accrual method Holders that
prepare an “applicable financial statement” (as defined in section 451 of the IRC) to include certain items
of income such as market discount no later than the time such amounts are reflected on such a financial
statement. The application of this rule to income of a debt instrument with market discount is effective
for taxable years beginning after December 31, 2018. However, the IRS recently announced in Notice
2018-80 that it intends to issue proposed regulations confirming that taxpayers may continue to defer
income — including market discount income — for tax purposes until there is a payment or sale at a gain.
Accordingly, although market discount may have to be included in income currently as it accrues for
financial accounting purposes, taxpayers may continue to defer the income for tax purposes. Holders
should consult their tax advisors with regard to interest, OID, market discount and premium matters
concerning the Claims and non-Cash consideration received therefor.

       G.      Accrued Interest.

         To the extent that any amount received by a Holder of a surrendered Allowed Claim under the
Plan is attributable to accrued but unpaid interest and such amount has not previously been included in the
Holder’s gross income, such amount should be taxable to the Holder as ordinary interest income.
Conversely, a Holder of a surrendered Allowed Claim may be able to recognize a deductible loss (or,
possibly, a write-off against a reserve for worthless debts) to the extent that any accrued interest on the
debt instruments constituting such claim was previously included in the Holder’s gross income but was
not paid in full by the Debtors. Such loss may be ordinary; however, the tax law is unclear on this point.

         The extent to which the consideration received by a Holder of a surrendered Allowed Claim will
be attributable to accrued interest on the debts constituting the surrendered Allowed Claim is unclear.
Certain Treasury Regulations generally treat a payment under a debt instrument first as a payment of
accrued and untaxed interest and then as a payment of principal. Application of this rule to a final
payment on a debt instrument being discharged at a discount in bankruptcy is unclear. Pursuant to the
terms of the Plan, distributions in respect of Allowed Claims are allocated first to the principal amount of
such claims (as determined for U.S. federal income tax purposes) and then, to the extent the consideration
exceeds the principal amount of the claims, to any portion of such claims for accrued but unpaid interest.
However, the provisions of the Plan are not binding on the IRS nor a court with respect to the appropriate
tax treatment for Holders.

         U.S. federal income tax laws enacted in December 2017 added section 451 of the IRC. Under
this new provision, accrual method U.S. Holders that prepare an “applicable financial statement” (as
defined in section 451 of the IRC) generally would be required to include certain items of income such as
OID (but not market discount) no later than the time such amounts are reflected on such a financial
statement. The application of this rule to income of a debt instrument with OID is effective for taxable
years beginning after December 31, 2018. Holders should consult their tax advisors with regard to
interest, OID, market discount and premium matters concerning the Claims and non-Cash consideration
received therefor.



                                                    43
             Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 51 of 106



       H.       Limitation on Use of Capital Losses

         A Holder of a Claim who recognizes capital losses as a result of the transactions undertaken
pursuant to the Plan will be subject to limits on the use of such capital losses. For a non-corporate
Holder, capital losses may be used to offset any capital gains recognized (without regard to holding
periods), and also ordinary income recognized to the extent of the lesser of (a) $3,000 ($1,500 for married
individuals filing separate returns) or (b) the excess of such capital losses over such capital gains. A non-
corporate Holder may carry over unused capital losses recognized and apply them against future capital
gains recognized and a portion of their ordinary income recognized for an unlimited number of years. For
corporate Holders, capital losses recognized may only be used to offset capital gains recognized. A
corporate Holder that recognizes more capital losses than may be used in a tax year may carry back
unused capital losses to the three years preceding the capital loss year or may carry over unused capital
losses for the five years following the capital loss year.

       I.       Ownership and Disposition of the Reorganized Debtors Interests.

         Under the Treasury Regulations, a domestic entity that has two or more members and that is not
organized as a corporation under U.S. federal or state law will generally be classified as a partnership for
U.S. federal income tax purposes, unless it elects to be treated as a corporation. Subject to the discussion
of publicly traded partnerships below and the discussion of Reorganized Debtors becoming a disregarded
entity of a sole Holder of Secured Credit Agreement Lenders’ Claims above and assuming that neither of
the Reorganized Debtors elects to be treated as a corporation for tax purposes, Reorganized Debtors will
be treated as a partnership for U.S. federal income tax purposes.

        Under the “publicly traded partnership” provisions of the Tax Code, an entity that would
otherwise be treated as a partnership whose interests are considered to be publicly traded and does not
meet a qualifying income test will be taxable as a corporation. It is anticipated that the Reorganized
Debtors limited liability company agreement will prohibit the transfer of membership interests in
Reorganized Debtors if such transfer would jeopardize the status of Reorganized Debtors as a partnership
for U.S. federal income tax purposes (prior to an actual conversion for U.S. federal income tax purposes
to corporate status). Any purported transfer in violation of such provisions will be null and void and
would not be recognized by Reorganized Debtors.

        This discussion of the U.S. federal income tax consequences of the Plan assumes that
Reorganized Debtors will be treated as a partnership for U.S. federal income tax purposes. If
Reorganized Debtors is treated as a disregarded entity for U.S. federal income tax purposes, its separate
existence from its owner is ignored for U.S. federal income tax purposes.

        As a partnership, Reorganized Debtors itself will generally not be subject to U.S. federal income
tax. Instead, Reorganized Debtors will file an annual partnership information return with the IRS, which
form will report the results of Reorganized Debtors’ operations. Each member will be required to report
on its U.S. federal income tax return, and will be subject to tax in respect of, its distributive share of each
item of Reorganized Debtors’ income, gain, loss, deduction and credit for each taxable year of
Reorganized Debtors ending with or within the member’s taxable year. Each item generally will have the
same character as if the member had realized the item directly. Members will be required to report these
items regardless of the extent to which, or whether, they receive cash distributions from Reorganized
Debtors for such taxable year, and thus may incur income tax liabilities in excess of any distributions
from Reorganized Debtors.

       Reorganized Debtors’ tax basis in the portion of each of its assets deemed transferred to the
Holders of Secured Credit Agreement Lenders’ Claims should equal such portion’s fair market value on


                                                      44
             Case 19-10488-LSS           Doc 105       Filed 03/22/19      Page 52 of 106



the Effective Date as determined by the board of directors of Reorganized Debtors, and the holding period
for such portion would begin on the day after the Effective Date. Reorganized Debtors’ tax basis and
holding period in the portion of each of its assets deemed transferred directly to Reorganized Debtors by
the Debtors would be the same as the Debtors’ basis and holding period with respect to such portion.

         A member is allowed to deduct its allocable share of Reorganized Debtors’ losses (if any) only to
the extent of such member’s adjusted tax basis (discussed below) in its membership interest at the end of
the taxable year in which the losses occur. In addition, various other limitations in the Tax Code may
significantly limit a member’s ability to deduct its allocable share of deductions and losses of
Reorganized Debtors against other income.

         Reorganized Debtors will provide each member with the necessary information to report its
allocable share of the Reorganized Debtors’ tax items for U.S. federal income tax purposes; however, no
assurance can be given that Reorganized Debtors will be able to provide such information prior to the
initial due date of the members’ U.S. federal income tax return and the members may therefore be
required to apply to the IRS for an extension of time to file their tax returns.

        The board of directors of Reorganized Debtors will decide how items will be reported on
Reorganized Debtors’ U.S. federal income tax returns, and all members will be required under the Tax
Code to treat the items consistently on their own returns, unless they file a statement with the IRS
disclosing the inconsistency. In the event that the income tax returns of Reorganized Debtors are audited
by the IRS, the tax treatment of Reorganized Debtors’ income and deductions generally will be
determined at the Reorganized Debtors level in a single proceeding, rather than in individual audits of the
members. The tax matters partner and partnership representative will have considerable authority under
the Tax Code and the limited liability company agreement for Reorganized Debtors to make decisions
affecting the tax treatment and procedural rights of all members.

         A member generally will not recognize gain or loss on the receipt of a distribution of cash or
property from Reorganized Debtors (provided that the member is not treated as exchanging such
member’s share of Reorganized Debtors’ “unrealized receivables” and/or certain “inventory items” (as
those terms are defined in the Tax Code, and together “ordinary income items”) for other partnership
property). A member, however, will recognize gain on the receipt of a distribution of money and, in some
cases, marketable securities, from Reorganized Debtors (including any constructive distribution of money
resulting from a reduction of the member’s share of the indebtedness of Reorganized Debtors) to the
extent such cash distribution or the fair market value of such marketable securities distributed exceeds
such member’s adjusted tax basis in its membership interest. Such distribution would be treated as gain
from the sale or exchange of a membership interest, which is described below.

         A member will recognize gain on the complete liquidation of its membership interest only to the
extent the amount of money received exceeds its adjusted tax basis in its interest. Distributions of certain
marketable securities are treated as distributions of money for purposes of determining gain. Any gain
recognized by a member on the receipt of a distribution from Reorganized Debtors generally will be
capital gain, but may be taxable as ordinary income under certain other circumstances. No loss can be
recognized on a distribution in liquidation of a membership interest, unless the member receives no
property other than money and ordinary income items.

        A member’s adjusted tax basis in its membership interest generally will be equal to such
member’s initial tax basis (discussed above), increased by the sum of (i) any additional capital
contribution such member makes to Reorganized Debtors, (ii) the member’s allocable share of the income
of Reorganized Debtors, and (iii) increases in the member’s allocable share of the indebtedness of
Reorganized Debtors, and reduced, but not below zero, by the sum of (iv) the member’s allocable share of


                                                    45
             Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 53 of 106



the losses of Reorganized Debtors, and (v) the amount of money or the adjusted tax basis of property
distributed to such member, including constructive distributions of money resulting from reductions in
such member’s allocable share of the indebtedness of Reorganized Debtors.

         A sale of all or part of a member’s interest will result in the recognition of gain or loss in an
amount equal to the difference between the amount of the sales proceeds or distribution (including any
constructive distribution) and such member’s adjusted tax basis for the portion of the interest disposed of.
Any gain or loss recognized with respect to such a sale generally will be treated as capital gain or loss,
and will be long-term capital gain or loss if the interest has been held for more than one year, except to
the extent (i) that the proceeds of the sale are attributable to a member’s allocable share of certain
ordinary income items of Reorganized Debtors and such proceeds exceed the member’s adjusted tax basis
attributable to such ordinary income items and (ii) of previously allowed bad debt or ordinary loss
deductions (reduced by any recognized gain which the member may have received on the exchange of an
Allowed Secured Term Loan Claim for Reorganized Debtors Interests). A member’s ability to deduct
any loss recognized on the sale of its membership interest will depend on the member’s own
circumstances and may be restricted under the Tax Code.

        The U.S. federal income tax treatment of a holder of Reorganized Debtors Interests that is a
nonresident alien, non-U.S. corporation, non-U.S. partnership, non-U.S. estate or non-U.S. trust
(a “Non-U.S. Partner”) is complex and will vary depending on the circumstances and activities of such
holder and Reorganized Debtors. Each Non-U.S. Partner is urged to consult with its own tax advisor
regarding the U.S. federal, state and local and non-U.S. income, estate and other tax consequences of
holding interests in Reorganized Debtors. The following discussion assumes that a Non-U.S. Partner is
not subject to U.S. federal income taxes as a result of its presence or activities in the United States (other
than as a holder of Interests in Reorganized Debtors).

         A Non-U.S. Partner generally will be subject to U.S. federal withholding taxes at the rate of 30
percent (or such lower rate provided by an applicable tax treaty) on its share of Reorganized Debtors’
income from dividends, interest (other than interest that constitutes portfolio interest within the meaning
of the IRC), and certain other income that is not treated as “effectively connected with the conduct of a
trade or business within the United States,” as defined in section 864 of the Tax Code (“ECI”).

        The activities of Reorganized Debtors are likely to be treated as a U.S. trade or business, and to
the extent that such activities are so treated, a Non-U.S. Partner would be deemed to be engaged in that
underlying U.S. trade or business. A Non-U.S. Partner’s share of Reorganized Debtors’ ECI would be
subject to tax at normal graduated U.S. federal income tax rates and, if the Non-U.S. Partner is a
corporation for U.S. federal income tax purposes, may also be subject to U.S. branch profits tax. In
addition, some or all of the gain on a disposition of a Non-U.S. Partner’s interest in Reorganized Debtors
could be treated as ECI to the extent such gain is attributable to assets that generate ECI. A Non-U.S.
Partner generally will be required to file a U.S. federal income tax return if Reorganized Debtors is
deemed to be engaged in a U.S. trade or business (even if no income allocated to the Non-U.S. Partner is
ECI). Reorganized Debtors would be required to withhold U.S. federal income tax with respect to the
Non-U.S. Partner’s share of income that is ECI.

       Each holder of Reorganized Debtors Interests is urged to consult its tax advisor regarding the tax
consequences of owning and disposing of membership interests in Reorganized Debtors.

       J.      Information Reporting and Backup Withholding

      The Debtors will withhold all amounts required by law to be withheld from distributions or
payments. The Debtors will comply with all applicable reporting requirements of the Tax Code. In


                                                     46
             Case 19-10488-LSS          Doc 105       Filed 03/22/19      Page 54 of 106



general, information reporting requirements may apply to distributions or payments made to a holder of a
Claim under the Plan. In addition, backup withholding of taxes (currently at a 24% rate) will generally
apply to payments in respect of an Allowed Claim under the Plan unless, in the case of a U.S. Holder,
such U.S. Holder provides a properly executed IRS Form W-9 and, in the case of non-U.S. Holder, such
non-U.S. Holder provides a properly executed applicable IRS Form W-8 (or otherwise establishes such
Non-U.S. Holder’s eligibility for an exemption).

        Backup withholding is not an additional tax. Amounts withheld under the backup withholding
rules may be credited against a holder’s U.S. federal income tax liability, and a holder may obtain a
refund of any excess amounts withheld under the backup withholding rules by filing an appropriate claim
for refund with the IRS (generally, a federal income tax return).

         In addition, from an information reporting perspective, the Treasury Regulations generally
require disclosure by a taxpayer on its U.S. federal income tax return of certain types of transactions in
which the taxpayer participated, including, among other types of transactions, certain transactions that
result in the taxpayer’s claiming a loss in excess of specified thresholds. Holders are urged to consult
their tax advisors regarding these regulations and whether the transactions contemplated by the Plan
would be subject to these regulations and require disclosure on the holders’ tax returns.

THE FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE COMPLEX. THE
FOREGOING SUMMARY DOES NOT DISCUSS ALL ASPECTS OF FEDERAL INCOME
TAXATION THAT MAY BE RELEVANT TO A PARTICULAR HOLDER IN LIGHT OF SUCH
HOLDER’S CIRCUMSTANCES AND INCOME TAX SITUATION. ALL HOLDERS OF
CLAIMS AND EQUITY INTERESTS SHOULD CONSULT WITH THEIR TAX ADVISORS AS
TO THE PARTICULAR TAX CONSEQUENCES TO THEM OF THE TRANSACTIONS
CONTEMPLATED BY THE PLAN, INCLUDING THE APPLICABILITY AND EFFECT OF
ANY STATE, LOCAL OR NON-U.S. TAX LAWS, AND OF ANY CHANGE IN APPLICABLE
TAX LAWS.



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                                                   47
             Case 19-10488-LSS            Doc 105       Filed 03/22/19        Page 55 of 106



XII.    RECOMMENDATION

        In the opinion of the Debtors, the Plan is preferable to all other available alternatives and provides
for a larger distribution to the Debtors’ creditors than would otherwise result in any other scenario.
Accordingly, the Debtors recommend that holders of Claims entitled to vote on the Plan vote to accept the
Plan and support Confirmation of the Plan.



Dated: March 22, 2019                                Z Gallerie, LLC
                                                     on behalf of itself and its debtor affiliates

                                                     /s/ Mark Weinsten
                                                     Mark Weinsten
                                                     Interim President and CEO
                                                     Z Gallerie, LLC


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                                                     48
Case 19-10488-LSS   Doc 105   Filed 03/22/19   Page 56 of 106



                       EXHIBIT A

                      Chapter 11 Plan
                 Case 19-10488-LSS                    Doc 105           Filed 03/22/19              Page 57 of 106



                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

                                                                                )
In re:                                                                          )   Chapter 11
                                                                                )
Z GALLERIE, LLC, et al., 1                                                      )   Case No. 19-10488 (LSS)
                                                                                )
                                           Debtors.                             )   (Jointly Administered)
                                                                                )

            JOINT PLAN OF REORGANIZATION OF Z GALLERIE, LLC AND Z GALLERIE
         HOLDING COMPANY, LLC PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE 2

                              NOTHING CONTAINED HEREIN SHALL
                     CONSTITUTE AN OFFER, ACCEPTANCE, COMMITMENT, OR
              LEGALLY BINDING OBLIGATION OF THE DEBTORS, ANY OF THE SECURED
          CREDIT AGREEMENT LENDERS, OR ANY OTHER PARTY IN INTEREST. THE TERMS
         OF THIS PLAN ARE SUBJECT TO MATERIAL REVIEW AND REVISION IN ALL RESPECTS.

                                YOU SHOULD NOT RELY ON
            THE INFORMATION CONTAINED IN, OR THE TERMS OF, THIS PLAN FOR ANY
        PURPOSE PRIOR TO THE CONFIRMATION OF THIS PLAN BY THE BANKRUPTCY COURT.

     THIS PLAN IS SUBJECT TO APPROVAL BY THE BANKRUPTCY COURT AND OTHER
CUSTOMARY CONDITIONS. THIS PLAN IS NOT AN OFFER WITH RESPECT TO ANY SECURITIES.


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1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Z Gallerie
     Holding Company, LLC (5949) and Z Gallerie, LLC (3816). The location of the Debtors’ service address is: 1855 West 139th Street,
     Gardena, CA 90249.

2    The Debtors have filed this Plan with certain key provisions omitted. The Debtors continue to negotiate the terms of the Plan with their
     stakeholders including the DIP Lender, the Secured Credit Agreement Lenders, and the Committee. The Plan remains subject to material
     modification in all respects.




KE 59864797
                    Case 19-10488-LSS                            Doc 105                 Filed 03/22/19                 Page 58 of 106



                                                                 TABLE OF CONTENTS

ARTICLE I. DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME AND
GOVERNING LAW ..................................................................................................................................................... 1
            A.           Defined Terms .................................................................................................................................. 1
            B.           Rules of Interpretation .................................................................................................................... 10
            C.           Computation of Time ...................................................................................................................... 11
            D.           Governing Law ............................................................................................................................... 11
            E.           Reference to Monetary Figures ....................................................................................................... 11
            F.           Reference to the Debtors or the Reorganized Debtors .................................................................... 11
            G.           Non-consolidated Plan .................................................................................................................... 11

ARTICLE II. ADMINISTRATIVE CLAIMS, DIP CLAIMS AND PRIORITY TAX CLAIMS .............................. 11
            A.           Administrative Claims .................................................................................................................... 12
            B.           Professional Fee Claims .................................................................................................................. 12
            C.           DIP Claims ...................................................................................................................................... 13
            D.           Priority Tax Claims ......................................................................................................................... 14

ARTICLE III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS ..................................... 14
            A.           Classification of Claims and Interests ............................................................................................. 14
            B.           Treatment of Claims and Interests .................................................................................................. 15
            C.           Special Provision Governing Unimpaired Claims .......................................................................... 14
            D.           Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code .................. 19
            E.           Subordinated Claims ....................................................................................................................... 19
            F.           Elimination of Vacant Classes; Presumed Acceptance by Non-Voting Classes ............................. 19
            G.           Intercompany Interests. ................................................................................................................... 19
            H.           Controversy Concerning Impairment .............................................................................................. 20

ARTICLE IV. MEANS FOR IMPLEMENTATION OF THE PLAN ........................................................................ 20
            A.           General Settlement of Claims and Interests .................................................................................... 20
            B.           Restructuring Transactions.............................................................................................................. 20
            C.           Reorganized Debtors ....................................................................................................................... 20
            D.           Sources of Consideration for Plan Distributions. ............................................................................ 21
            E.           Sale Transaction .............................................................................................................................. 22
            F.           Corporate Existence ........................................................................................................................ 22
            G.           Vesting of Assets in the Reorganized Debtors ................................................................................ 22
            H.           Cancellation of Securities and Agreements .................................................................................... 22
            I.           Corporate Action ............................................................................................................................. 23
            J.           New Organizational Documents ..................................................................................................... 23
            K.           Directors, Managers, and Officers of the Reorganized Debtors...................................................... 23
            L.           Effectuating Documents; Further Transactions ............................................................................... 23
            M.           Section 1146 Exemption ................................................................................................................. 24
            N.           Director and Officer Liability Insurance; Other Insurance ............................................................. 24
            O.           Employee and Retiree Benefits. ...................................................................................................... 24
            P.           Preservation of Causes of Action .................................................................................................... 24
            Q.           Section 1145 Exemption ................................................................................................................. 25

ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES .............................. 25
            A.           Assumption and Rejection of Executory Contracts and Unexpired Leases .................................... 25
            B.           Indemnification Obligations............................................................................................................ 26
            C.           Claims Based on Rejection of Executory Contracts or Unexpired Leases ...................................... 26
            D.           Cure of Defaults for Executory Contracts and Unexpired Leases Assumed ................................... 26
            E.           Preexisting Obligations to the Debtors under Executory Contracts and Unexpired Leases. ........... 27

                                                                                    ii
                      Case 19-10488-LSS                             Doc 105                  Filed 03/22/19                 Page 59 of 106



             F.            Insurance Policies. .......................................................................................................................... 27
             G.            Modifications, Amendments, Supplements, Restatements, or Other Agreements .......................... 27
             H.            Reservation of Rights ...................................................................................................................... 27
             I.            Nonoccurrence of Effective Date .................................................................................................... 27
             J.            Contracts and Leases Entered Into After the Petition Date. ............................................................ 28

ARTICLE VI. PROVISIONS GOVERNING DISTRIBUTIONS .............................................................................. 28
             A.            Timing and Calculation of Amounts to Be Distributed................................................................... 28
             B.            Disbursing Agent ............................................................................................................................ 28
             C.            Rights and Powers of Disbursing Agent ......................................................................................... 28
             D.            Delivery of Distributions and Undeliverable or Unclaimed Distributions ...................................... 29
             E.            Compliance with Tax Requirements ............................................................................................... 29
             F.            Allocations ...................................................................................................................................... 30
             G.            No Postpetition Interest on Claims.................................................................................................. 30
             H.            Foreign Currency Exchange Rate. .................................................................................................. 30
             I.            Setoffs and Recoupment ................................................................................................................. 30
             J.            Claims Paid or Payable by Third Parties ......................................................................................... 30

ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED AND
DISPUTED CLAIMS .................................................................................................................................................. 31
             A.            Allowance of Claims ....................................................................................................................... 31
             B.            Claims Administration Responsibilities .......................................................................................... 31
             C.            Estimation of Claims ....................................................................................................................... 31
             D.            Adjustment to Claims Without Objection ....................................................................................... 32
             E.            Time to File Objections to Claims .................................................................................................. 32
             F.            Disallowance of Claims .................................................................................................................. 32
             G.            Amendments to Claims ................................................................................................................... 32
             H.            No Distributions Pending Allowance .............................................................................................. 32
             I.            Distributions After Allowance ........................................................................................................ 32

ARTICLE VIII. SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS ............................... 33
             A.            Discharge of Claims and Termination of Interests .......................................................................... 33
             B.            Release of Liens ............................................................................................................................. 33
             C.            Releases by the Debtors ................................................................................................................ 33
             D.            Releases by Holders of Claims and Interests. ............................................................................. 34
             E.            Exculpation .................................................................................................................................... 35
             F.            Injunction....................................................................................................................................... 35
             G.            Protections Against Discriminatory Treatment. .............................................................................. 36
             H.            Document Retention. ...................................................................................................................... 36
             I.            Reimbursement or Contribution. ..................................................................................................... 36
             J.            Term of Injunctions or Stays ........................................................................................................... 36

ARTICLE IX. CONDITIONS PRECEDENT TO CONFIRMATION AND CONSUMMATION OF THE
PLAN........................................................................................................................................................................... 36
             A.            Conditions Precedent to the Confirmation of the Plan .................................................................... 36
             B.            Conditions Precedent to the Effective Date .................................................................................... 37
             C.            Waiver of Conditions ...................................................................................................................... 38
             D.            Effect of Failure of Conditions ....................................................................................................... 38

ARTICLE X. MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN ........................................ 38
             A.            Modification and Amendments ....................................................................................................... 38
             B.            Effect of Confirmation on Modifications ........................................................................................ 38
             C.            Revocation or Withdrawal of Plan .................................................................................................. 38

                                                                                       iii
                 Case 19-10488-LSS                            Doc 105                 Filed 03/22/19                  Page 60 of 106



ARTICLE XI. RETENTION OF JURISDICTION ..................................................................................................... 39

ARTICLE XII. MISCELLANEOUS PROVISIONS .................................................................................................. 40
          A.         Immediate Binding Effect ............................................................................................................... 40
          B.         Additional Documents .................................................................................................................... 41
          C.         Payment of Statutory Fees. ............................................................................................................. 41
          D.         Statutory Committee and Cessation of Fee and Expense Payment ................................................. 41
          E.         Reservation of Rights ...................................................................................................................... 41
          F.         Successors and Assigns ................................................................................................................... 41
          G.         Notices ............................................................................................................................................ 41
          H.         Entire Agreement ............................................................................................................................ 43
          I.         Exhibits ........................................................................................................................................... 43
          J.         Non-Severability of Plan Provisions ............................................................................................... 43
          K.         Votes Solicited in Good Faith ......................................................................................................... 43
          L.         Closing of Chapter 11 Cases ........................................................................................................... 43
          M.         Conflicts .......................................................................................................................................... 43




                                                                                 iv
               Case 19-10488-LSS              Doc 105          Filed 03/22/19       Page 61 of 106



                                                 INTRODUCTION

         Z Gallerie, LLC and Z Gallerie Holding Company, LLC, as debtors and debtors in possession, in the
above-captioned Chapter 11 Cases propose this joint plan of reorganization pursuant to chapter 11 of the Bankruptcy
Code. The Chapter 11 Cases have been consolidated for procedural purposes only and are being jointly
administered pursuant to an order of the Bankruptcy Court. This Plan constitutes a separate chapter 11 plan for each
Debtor and, unless otherwise set forth herein, the classifications and treatment of Claims and Interests apply to each
individual Debtor.

         Holders of Claims and Interests should refer to the Disclosure Statement for a discussion of the Debtors’
history, businesses, assets, results of operations, and historical financial information, projections, and future
operations, as well as a summary and description of this Plan and certain related matters. Each Debtor is a
proponent of the Plan contained herein within the meaning of section 1129 of the Bankruptcy Code.

                                            ARTICLE I.
                             DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME AND GOVERNING LAW

A.       Defined Terms

         As used in this Plan, capitalized terms have the meanings ascribed to them below.

        1.       “Administrative Claim Bar Date” means the deadline for filing requests for payment of
Administrative Claims, which shall be 30 days after the Effective Date.

          2.        “Administrative Claim Objection Bar Date” means the deadline for filing objections to requests
for payment of Administrative Claims (other than requests for payment of Professional Fee Claims), which shall be
the later of (1) 60 days after the Effective Date and (2) 60 days after the Filing of the applicable request for payment
of the Administrative Claims; provided that the Administrative Claim Objection Bar Date may be extended by the
Bankruptcy Court after notice and a hearing.

         3.        “Administrative Claim” means a Claim for the costs and expenses of administration of the Estates
under sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and
necessary costs and expenses incurred on or after the Petition Date of preserving the Estates and operating the
businesses of the Debtors; (b) Allowed Professional Fee Claims in the Chapter 11 Cases; and (c) all fees and charges
assessed against the Estates under chapter 123 of title 28 of the United States Code, 28 U.S.C. §§ 1911-1930.

         4.       “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

          5.      “Allowed” means with respect to any Claim, except as otherwise provided in the Plan: (a) a Claim
that is evidenced by a Proof of Claim Filed by the Bar Date (or for which Claim under the Plan, the Bankruptcy
Code, or pursuant to a Final Order a Proof of Claim is not or shall not be required to be Filed); (b) a Claim that is
listed in the Schedules as not contingent, not unliquidated, and not disputed, and for which no Proof of Claim, as
applicable, has been timely Filed; or (c) a Claim Allowed pursuant to the Plan or a Final Order of the Bankruptcy
Court; provided that with respect to a Claim described in clauses (a) and (b) above, such Claim shall be considered
Allowed only if and to the extent that, with respect to such Claim, no objection to the allowance thereof has been
interposed within the applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the
Bankruptcy Court, or such an objection is so interposed and the Claim, as applicable, shall have been Allowed by a
Final Order. Except as otherwise specified in the Plan or any Final Order, and except for any Claim that is Secured
by property of a value in excess of the principal amount of such Claims, the amount of an Allowed Claim shall not
include interest on such Claim from and after the Petition Date. For purposes of determining the amount of an
Allowed Claim, there shall be deducted therefrom an amount equal to the amount of any Claim that the Debtors may
hold against the Holder thereof, to the extent such Claim may be offset, recouped, or otherwise reduced under
applicable law. Any Claim that has been or is hereafter listed in the Schedules as contingent, unliquidated, or
disputed, and for which no Proof of Claim is or has been timely Filed, is not considered Allowed and shall be


                                                           1
               Case 19-10488-LSS               Doc 105          Filed 03/22/19       Page 62 of 106



expunged without further action by the Debtors and without further notice to any party or action, approval, or order
of the Bankruptcy Court. Notwithstanding anything to the contrary herein, no Claim of any Entity subject to section
502(d) of the Bankruptcy Code shall be deemed Allowed unless and until such Entity pays in full the amount that it
owes such Debtor or Reorganized Debtor, as applicable. For the avoidance of doubt: (x) a Proof of Claim Filed
after the Bar Date shall not be Allowed for any purposes whatsoever absent entry of a Final Order allowing such
late-filed Claim; and (y) the Debtors may affirmatively determine to deem Unimpaired Claims Allowed to the same
extent such Claims would be allowed under applicable non-bankruptcy law. “Allow” and “Allowing” shall have
correlative meanings.

        6.       “Auction” means the auction, if any, for some or all of the Debtors’ assets, conducted in
accordance with the Bidding Procedures.

          7.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 100–1532, as now in
effect or hereafter amended, and the rules and regulations promulgated thereunder.

         8.       “Bankruptcy Court” means the United States Bankruptcy Court for the District of Delaware
having jurisdiction over the Chapter 11 Cases and, to the extent of the withdrawal of reference under section 157 of
the Judicial Code, the United States District Court for the District of Delaware.

        9.       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as applicable to the
Chapter 11 Cases, promulgated under section 2075 of the Judicial Code and the general, local and chambers rules of
the Bankruptcy Court.

          10.      “Bar Date” means the date established by the Bankruptcy Court by which Proofs of Claim must
be Filed with respect to such Claims, other than Administrative Claims, Claims held by Governmental Units, or
other Claims or Interests for which the Bankruptcy Court entered an order excluding the Holders of such Claims or
Interests from the requirement of Filing Proofs of Claim.

         11.     “Bidding Procedures” means the procedures governing the Auction and sale of all or substantially
all of the Debtors’ assets, as approved by the Bankruptcy Court and as may be amended from time to time in
accordance with their terms.

        12.      “Business Day” means any day, other than a Saturday, Sunday or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)(6)).

          13.       “Cash” means cash and cash equivalents, including bank deposits, checks, and other similar items
in legal tender of the United States of America.

           14.     “Causes of Action” means any actions, claims, cross claims, third-party claims, interests,
damages, controversies, remedies, causes of action, debts, judgments, demands, rights, actions, suits, obligations,
liabilities, accounts, defenses, offsets, powers, privileges, licenses, liens, indemnities, guaranties, and franchises of
any kind or character whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter
arising, contingent or non-contingent, liquidated or unliquidated, secured or unsecured, assertable directly or
derivatively, matured or unmatured, suspected or unsuspected, disputed or undisputed, whether arising before, on, or
after the Petition Date, in contract or in tort, in law or in equity, or pursuant to any other theory of law or otherwise.
Causes of Action also include: (a) any rights of setoff, counterclaim, or recoupment and any claims under contracts
or for breaches of duties imposed by law or in equity; (b) the right to object to or otherwise contest Claims or
Interests; (c) claims pursuant to section 362 or chapter 5 of the Bankruptcy Code; (d) any claims or defenses,
including fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of the Bankruptcy Code;
and (e) any state law fraudulent transfer claim.

         15.     “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending
for that Debtor under chapter 11 of the Bankruptcy Code and (b) when used with reference to all Debtors, the
procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.



                                                            2
               Case 19-10488-LSS            Doc 105         Filed 03/22/19      Page 63 of 106



         16.      “Claim” means any claim, as such term is defined in section 101(5) of the Bankruptcy Code,
against a Debtor or a Debtor’s Estate.

         17.     “Claims Register” means the official register of Claims maintained by the Notice and Claims
Agent.

         18.     “Class” means a class of Claims or Interests as set forth in Article III of the Plan in accordance
with section 1122(a) of the Bankruptcy Code.

         19.      “Committee” means the statutory committee of unsecured creditors of the Debtors, appointed in
the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code by the U.S. Trustee on March 20, 2019,
pursuant to the Notice of Appointment of Committee of Unsecured Creditors [Docket No. 87].

        20.      “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of
the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.

        21.     “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

        22.      “Confirmation Hearing” means the hearing held by the Bankruptcy Court to consider
Confirmation of the Plan pursuant to sections 1128 and 1129 of the Bankruptcy Code.

         23.      “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code.

        24.       “Confirmation Schedule” means the dates and deadlines established by the Order (I) Approving
the Adequacy of the Disclosure Statement; (II) Approving the Solicitation and Notice Procedures with Respect to
Confirmation of the Debtors’ Joint Chapter 11 Plan; (III) Approving the Forms of Ballots and Notices in
Connection Therewith; (IV) Scheduling Certain Dates with Respect Thereto; and (V) Granting Related Relief
[Docket No. [●]].

         25.     “Consummation” means the occurrence of the Effective Date.

         26.       “Critical Trade Claim” means any Claim held by an Entity that, in the Debtors’ business
judgement and in consultation with the Winning Bidder, is critical to the Debtors’ contemplated post Effective-Date
business plan, as described in Article IV.D of the Plan.

         27.     “Critical Trade Claims Recovery Pool” [TO COME].

         28.      “Debtor” means one or more of the Debtors, as debtors and debtors in possession, each in its
respective individual capacity as a debtor and debtor in possession in the Chapter 11 Cases.

         29.     “Debtors” means, collectively: (a) Z Gallerie, LLC; and (b) Z Gallerie Holding Company, LLC.

       30.       “DIP Agent” means Key Bank, in its capacity as administrative agent under the DIP Credit
Agreement, with its respective successors and assigns in such capacities.

       31.      “DIP Claims” means all Claims arising under, derived from, or based on the DIP Credit
Agreement or otherwise secured pursuant to the DIP Credit Agreement Documents.

         32.       “DIP Credit Agreement Documents” means the DIP Credit Agreement and all other agreements,
documents, and instruments related thereto, including any guaranty agreements, pledge and collateral agreements,
intercreditor agreements, and other security agreements




                                                        3
               Case 19-10488-LSS              Doc 105          Filed 03/22/19       Page 64 of 106



        33.       “DIP Credit Agreement” means that certain senior secured debtor-in-possession credit agreement,
dated as of March 11, 2019, as amended, restated, modified, supplemented, or replaced from time to time in
accordance with its terms, by and among the Debtors, the DIP Lender, and the DIP Agent.

         34.      “DIP Lender” means Key Bank, N.A.

         35.      “DIP Order” means any interim order (or orders) and the final order of the Bankruptcy Court,
each in form and substance acceptable to the Debtors and the DIP Lender authorizing, among other things, the
Debtors to enter into the DIP Credit Agreement and incur postpetition obligations thereunder.

          36.      “Disbursing Agent” means the Debtors or the Reorganized Debtors (as applicable), or the Entity
or Entities selected by the Debtors or the Reorganized Debtors to make or facilitate distributions contemplated under
the Plan.

         37.      “Disclosure Statement” means the Disclosure Statement to the Joint Plan of Reorganization of Z
Gallerie, LLC and Z Gallerie Holding Company, LLC Pursuant to Chapter 11 of the Bankruptcy Code, dated as of
March 22, 2019, as may be amended, supplemented or modified from time to time, including all exhibits and
schedules thereto and references therein that relate to the Plan, that is prepared and distributed in accordance with
the Bankruptcy Code, the Bankruptcy Rules, and any other applicable law and approved by the Bankruptcy Court
pursuant to section 1125 of the Bankruptcy Code.

        38.       “Disputed” means, with respect to any Claim or Interest, any Claim or Interest that is not yet
Allowed.

          39.      “Distribution Record Date” means the the record date for purposes of determining which Holders
of Allowed Claims or Allowed Interests are eligible to receive distributions under the Plan, which date shall be the
first day of the Confirmation Hearing, or such other date as is designated in a Final Order of the Bankruptcy Court.

         40.     “Effective Date” means the date that is the first Business Day after the Confirmation Date on
which (a) the conditions to the occurrence of the Effective Date have been satisfied or waived pursuant to Article
IX.A and Article IX.C of the Plan, (b) no stay of the Confirmation Order is in effect, and (c) the Debtors declare the
Plan effective. Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable
thereafter.

         41.      “Entity” means an entity as such term is defined in section 101(15) of the Bankruptcy Code.

        42.     “Estate” means, as to each Debtor, the estate created on the Petition Date for the Debtor in its
Chapter 11 Case pursuant to section 541 of the Bankruptcy Code and all property (as defined in section 541 of the
Bankruptcy Code) acquired by the Debtors after the Petition Date through the Effective Date.

         43.       “Excess Distributable Cash” means, only in the event that the Winning Bidder is an Entity other
than the Secured Credit Agreement Lenders, any Cash proceeds of a Sale Transaction in excess of amounts
necessary to (a) satisfy all Claims senior in priority to General Unsecured Claims, including the DIP Claims, the
Secured Revolving Loan Claims, and the Secured Term Loan Claims, in full, in Cash, as provided herein and (b)
fund the Critical Trade Claims Recovery Pool.

          44.       “Exculpated Party” means collectively, and in each case solely in its capacity as such: (a) the
Debtors; (b) any official committee appointed in the Chapter 11 Cases; and each of their respective members; (c) the
Secured Credit Agreement Lenders; (d) the Secured Credit Agreement Agent; (e) the DIP Lender; (f) the DIP Agent;
(g) the Secured Term Loan Participants; and (h) with respect to each of the foregoing entities in clauses (a) though
(g), such Entity and its current and former Affiliates, and such Entities’ and their current Affiliates’ directors,
managers, officers, equity Holders (regardless of whether such interests are held directly or indirectly), predecessors,
participants, successors, and assigns, subsidiaries, and each of their respective current and former equity Holders,
officers, directors, managers, principals, members, employees, agents, advisory board members, financial advisors,



                                                           4
              Case 19-10488-LSS              Doc 105          Filed 03/22/19       Page 65 of 106



partners, attorneys, accountants, investment bankers, consultants, representatives, and other professionals, each in
their capacity as such.

         45.     “Executory Contract” means a contract to which one or more of the Debtors is a party and that is
subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

         46.       “Exit Credit Agreement Agent” means the administrative agent under the Exit Credit Agreement,
its successors, assigns, or any replacement agent.

         47.      “Exit Credit Agreement” means that certain loan agreement memorializing the Exit Credit
Agreement Facility, which shall be entered into among one or more of the Debtors or the Reorganized Debtors (as
applicable) the Exit Credit Agreement Agent, and the Exit Credit Agreement Lenders, which shall be in form and
substance acceptable to the Debtors or Reorganized Debtors.

         48.       “Exit Credit Agreement Documents” means the Exit Credit Agreement and all other agreements,
documents, and instruments related thereto, including any guaranty agreements, pledge and collateral agreements,
intercreditor agreements, and other security agreements.

         49.      “Exit Credit Agreement Lenders” means the banks, financial institutions, and other lenders party
to the Exit Credit Agreement from time to time, including, for the avoidance of doubt, the Participating Secured
Revolving Loan Lenders and the Participating Secured Term Loan Lenders.

         50.     “Exit Credit Agreement Facility” means the Exit Secured Term Loan Facility and Exit Secured
Revolving Loan Facility to be arranged and provided by the Exit Credit Agreement Lenders on or before the
Effective Date in a minimum amount of $[●] million, on terms acceptable to the Debtors or the Reorganized
Debtors.

        51.     “Exit Secured Revolving Loan Facility” means that new capital financing issued to the
Reorganized Debtors on the Effective Date.

          52.     “Exit Secured Term Loan Facility” means that new capital financing issued to the Reorganized
Debtors on the Effective Date which may be in the form of a secured term loan, an exit credit facility, or an equity
capital investment, to be made by the Participating Secured Term Loan Lenders, in accordance with IV.D of the
Plan.

         53.       “Federal Judgment Rate” means the federal judgment interest rate in effect as of the Petition Date
calculated as set forth in section 1961 of the Judicial Code.

        54.     “File” or “Filed” means file or filed with the Bankruptcy Court or its authorized designee in the
Chapter 11 Cases, or, with respect to the filing of a Proof of Claim or Proof of Interest, the Notice and Claims
Agent.

         55.      “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or other court
of competent jurisdiction with respect to the relevant subject matter, which has not been reversed, stayed, modified
or amended, and as to which the time to appeal, petition for certiorari, or move for reargument, reconsideration, or
rehearing has expired and no appeal, petition for certiorari, or motion for reargument, reconsideration, or rehearing
has been timely taken or filed, or as to which any appeal, petition for certiorari, or motion for reargument,
reconsideration, or rehearing that has been taken or any petition for certiorari that has been or may be filed has been
resolved by the highest court to which the order or judgment could be appealed or from which certiorari could be
sought or the new trial, reargument or rehearing shall have been denied, resulted in no modification of such order or
has otherwise been dismissed with prejudice.

        56.     “General Unsecured Claim” means any Claim other than an Administrative Claim, a Professional
Fee Claim, an Other Secured Claim, a Priority Tax Claim, an Other Priority Claim, a Secured Term Loan Claim, a
Secured Revolving Loan Claim, a DIP Claim, or a Critical Trade Claim.


                                                          5
              Case 19-10488-LSS             Doc 105         Filed 03/22/19      Page 66 of 106



        57.       “General Unsecured Claims Recovery Pool” [TO COME]

        58.       “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

        59.      “Holder” means an Entity holding a Claim or an Interest in any Debtor.

          60.     “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is impaired within the meaning of section 1124 of the Bankruptcy Code.

        61.      “Initial Minimum Overbid” has the meaning given to such term in the Bidding Procedures.

        62.       “Intercompany Claim” means any Claim held by a Debtor or an Affiliate of a Debtor against
another Debtor arising before the Petition Date.

         63.      “Intercompany Interest” means an Interest in one Debtor held by another Debtor or non-Debtor
subsidiary or Affiliate.

          64.      “Interest” means any equity security in a Debtor as defined in section 101(16) of the
Bankruptcy Code, including all issued, unissued, authorized, or outstanding shares of capital stock of the Debtors
and any other rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units,
redemption rights, repurchase rights, convertible, exercisable, or exchangeable securities, or other agreements,
arrangements, or commitments of any character relating to, or whose value is related to, any such interest or other
ownership interest in any Debtor whether or not arising under or in connection with any employment agreement and
whether or not certificated, transferable, preferred, common, voting, or denominated “stock” or a similar security,
including any Claims against any Debtor subject to subordination pursuant to section 510(b) of the Bankruptcy Code
arising from or related to any of the foregoing.

        65.       “Interim Compensation Order” means the Order (I) Establishing Procedures for Interim
Compensation and Reimbursement of Expenses for Retained Professionals and (II) Granting Related Relief [Docket
No. [●]], entered by the Bankruptcy Court on [●], as the same may be modified by a Bankruptcy Court order
approving the retention of a specific Professional or otherwise.

         66.      “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as now in effect
or hereafter amended, and the rules and regulations promulgated thereunder.

        67.      “KeyBank” means KeyBank, National Association.

        68.      “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

        69.      “Management Incentive Plan” means that certain management incentive plan that may be
adopted by the New Board after the Effective date on terms to be determined by and at the discretion of the New
Board (including with respect to allocation, timing and structure of such issuance and the Management Incentive
Plan).

        70.    “New Board” means the initial board of directors, members, or managers, as applicable, of the
Reorganized Debtors, to be appointed by the Winning Bidder, in consultation with the Reorganized Debtors’
management.

        71.       “New Organizational Documents” means the documents providing for corporate governance of
the Reorganized Debtors, including charters, bylaws, operating agreements, or other organizational documents or
shareholders’ agreements, as applicable, which shall be included in the Plan Supplement and which shall be in form
and substance acceptable to the Debtors and the Winning Bidder in their discretion.

         72.       “Notice and Claims Agent” means Bankruptcy Management Solutions, Inc. d/b/a Stretto in its
capacity as notice and claims agent for the Debtors and any successor.

                                                        6
               Case 19-10488-LSS             Doc 105          Filed 03/22/19      Page 67 of 106



         73.     “Other Priority Claim” means any Claim, to the extent such Claim has not already been paid
during the Chapter 11 Cases, other than an Administrative Claim or a Priority Tax Claim, entitled to priority in right
of payment under section 507(a) of the Bankruptcy Code.

        74.      “Other Secured Claim” means any Secured Claim that is not a DIP Claim, a Secured Revolving
Loan Claim, a Secured Term Loan Claim, or a Secured Tax Claim.

         75.        “Participating Secured Term Loan Lenders” means the Secured Term Loan Lenders that elect to
participate in the funding of the Exit Secured Term Loan Facility.

          76.       “Participating Secured Revolving Loan Lenders” means the Secured Revolving Loan Lenders
that elect to participate in the funding of the Exit Secured Revolving Loan Facility.

         77.      “Person” means a person as such term as defined in section 101(41) of the Bankruptcy Code.

        78.      “Petition Date” means March 11, 2019, the date on which each of the Debtors commenced the
Chapter 11 Cases.

         79.     “Plan Supplement” means the compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan (as may be altered, amended, modified, or supplemented from time to time in
accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy Rules) to be Filed by
the Debtors no later than five days before the Voting Deadline or such later date as may be approved by the
Bankruptcy Court on notice to parties in interest, including the following, as applicable: (a) New Organizational
Documents; (b) Exit Credit Agreement Documents; (c) Schedule of Assumed Executory Contracts and Unexpired
Leases; (d) Schedule of Retained Causes of Action; (e) any Management Incentive Plan; and (f) any necessary
documentation related to the Sale Transaction, as applicable.

           80.      “Plan” means this Joint Plan of Reorganization of Z Gallerie, LLC and Z Gallerie Holding
Company, LLC Pursuant to Chapter 11 of the Bankruptcy Code, as may be altered, amended, modified, or
supplemented from time to time in accordance with Article X hereof, including the Plan Supplement (as modified,
amended or supplemented from time to time), which is incorporated herein by reference and made part of the Plan
as if set forth herein.

         81.      “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

         82.       “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular
Class bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class.

        83.     “Professional Fee Claim” means a Claim by a Professional seeking an award by the Bankruptcy
Court of compensation for services rendered or reimbursement of expenses incurred through and including the
Confirmation Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

        84.      “Professional Fee Escrow Account” means an interest-bearing account funded by the Debtors
with Cash on the Effective Date in an amount equal to the Professional Fee Escrow Amount.

         85.     “Professional Fee Escrow Amount” means the total amount of Professional fees and expenses
estimated pursuant to Article II.B.3 of the Plan.

         86.      “Professional” means an Entity retained pursuant to a Bankruptcy Court order in accordance with
sections 327 or 1103 of the Bankruptcy Code and to be compensated for services rendered and expenses incurred
pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code.

        87.      “Proof of Claim” means a written proof of Claim Filed against any of the Debtors in the
Chapter 11 Cases.

                                                          7
               Case 19-10488-LSS              Doc 105          Filed 03/22/19       Page 68 of 106



        88.       “Proof of Interest” means a written proof of Interest Filed against any of the Debtor in the
Chapter 11 cases.

         89.      “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to Claims and Interests, that
the Claim or Interest shall be rendered unimpaired in accordance with section 1124 of the Bankruptcy Code.

          90.      “Released Party” means collectively, and in each case in its capacity as such: (a) the Secured
Credit Agreement Lenders; (b) the Secured Credit Agreement Agent; (c) the DIP Lender; (d) the DIP Agent; (e) the
Exit Credit Agreement Lenders; (f) the Exit Credit Agreement Agent; (g) the Secured Term Loan Participants; (h)
the Winning Bidder; and (i) with respect to each of the Debtors, the Reorganized Debtors, and each of the foregoing
entities in clauses (a) through (h), such Entity and its current and former Affiliates, and such Entities’ and their
current Affiliates’ directors, managers, officers, equity holders (regardless of whether such interests are held directly
or indirectly), predecessors, participants, successors, and assigns, subsidiaries, affiliates, managed accounts or funds,
and each of their respective current and former equity holders, officers, directors, managers, principals,
shareholders, members, management companies, fund advisors, employees, agents, advisory board members,
financial advisors, partners, attorneys, accountants, investment bankers, consultants, representatives, and other
professionals; provided that any holder of a Claim or Interest that opts out of the releases shall not be a “Released
Party.”

         91.       “Releasing Parties” means, collectively, (a) the Secured Credit Agreement Lenders; (b) the
Secured Credit Agreement Agent; (e) the DIP Agent; (f) the DIP Lender; (g) the Exit Credit Agreement Lenders; (h)
the Exit Credit Agreement Agent; (i) the Secured Term Loan Participants; (j) the Winning Bidder; (k) all holders of
Claims or Interests that vote to accept or are deemed to accept the Plan; (l) all holders of Claims or Interests that
abstain from voting on the Plan and who do not affirmatively opt out of the releases provided by the Plan by
checking the box on the applicable ballot indicating that they opt not to grant the releases provided in the Plan; (m)
all holders of Claims or Interests that vote to reject the Plan and who do not affirmatively opt out of the releases
provided by the Plan by checking the box on the applicable ballot indicating that they opt not to grant the releases
provided in the Plan; and (n) with respect to each of the Debtors, the Reorganized Debtors, and each of the
foregoing entities in clauses (a) through (m), such Entity and its current and former Affiliates, and such Entities’ and
their current and former Affiliates’ current and former directors, managers, officers, equity holders (regardless of
whether such interests are held directly or indirectly), predecessors, successors, and assigns, subsidiaries, affiliates,
managed accounts or funds, and each of their respective current and former equity holders, officers, directors,
managers, principals, shareholders, members, management companies, fund advisors, employees, agents, advisory
board members, financial advisors, partners, attorneys, accountants, investment bankers, consultants,
representatives, and other professionals, each in their capacity as such collectively.

        92.       “Reorganized Debtors” means the Debtors, or any successor thereto, by merger, consolidation, or
otherwise, on or after the Effective Date.

         93.      “Reorganized Debtors Interests” means the equity interests in the Reorganized Debtors.

         94.      “Restructuring Transactions” means the transactions described in Article IV.B of the Plan.

         95.     “Sale Transaction Proceeds” means, in the event that the Winning Bidder is an Entity other than
the Secured Credit Agreement Lenders, any Cash proceeds of a Sale Transaction.

        96.    “Sale Transaction” means and sale of all or substantially all of the Debtor’s assets to the Winning
Bidder consummated in accordance with the Bidding Procedures and the Plan.

         97.     “Schedule of Assumed Executory Contracts and Unexpired Leases” means the schedule of
certain Executory Contracts and Unexpired Leases to be assumed by the Debtors pursuant to the Plan, as the same
may be amended, modified, or supplemented from time to time by the Debtors with the consent of the Winning
Bidder.




                                                           8
              Case 19-10488-LSS              Doc 105         Filed 03/22/19      Page 69 of 106



         98.      “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the
Debtors that are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or
supplemented from time to time by the Debtors with the consent (such consent not to be unreasonably withheld) of
the Winning Bidder.

        99.     “Schedules” means, collectively, the schedules of assets and liabilities, schedules of Executory
Contracts and Unexpired Leases and statements of financial affairs Filed by the Debtors pursuant to section 521 of
the Bankruptcy Code, as such schedules may be amended, modified, or supplemented from time to time.

         100.     “Secured” means when referring to a Claim: (a) secured by a Lien on property in which the
applicable Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law or by
reason of a Bankruptcy Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy Code, to
the extent of the value of the creditor’s interest in such Estate’s interest in such property or to the extent of the
amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code or
(b) Allowed pursuant to the Plan as a Secured Claim.

        101.    “Secured Credit Agreement” means that certain Credit Agreement dated as of October 8, 2014,
by and among Z Gallerie, LLC as borrower, Z Gallerie Holding, LLC as guarantor, the lenders party thereto, the
Secured Credit Agreement Agent, and Secured Credit Agreement Arranger as modified and amended on
September 29, 2017, June 18, 2018, October 15, 2018, and as may be further amended, modified, restated, or
supplemented from time to time.

         102.     “Secured Credit Agreement Agent” means KeyBank National Association, in its capacity as
administrative agent under the Secured Credit Agreement.

          103.     “Secured Credit Agreement Arranger” means KKR Credit Advisors (US) LLC, in its capacity as
joint lead arranger under the Secured Credit Agreement.

         104.     “Secured Credit Agreement Distributable Cash” means, only in the event that the Winning
Bidder is an Entity other than the Secured Credit Agreement Lenders, any Cash proceeds of a Sale Transaction in
excess of amounts necessary to satisfy all Claims senior in priority to Secured Revolving Loan Claims, including the
DIP Claims, in full, in Cash, as provided herein, plus Cash proceeds from the sale of the Debtors’ other assets.

       105.       “Secured Credit Agreement Documents” means the Secured Credit Agreement and all other
agreements, documents, and instruments related thereto, including any guaranty agreements, pledge and collateral
agreements, intercreditor agreements, and other security agreements.

         106.    “Secured Credit Agreement Lenders” means, collectively, the Secured Revolving Loan Lenders
and the Secured Revolving Term Loan Lenders.

         107.      “Secured Revolving Loan” means the senior secured revolving loan contemplated by (and as
defined in) the Secured Credit Agreement.

        108.    “Secured Revolving Loan Claims” means all Claims arising under, derived from, or based on the
Secured Revolving Loan.

        109.    “Secured Revolving Loan Lenders” means the lenders from time to time to the Secured
Revolving Loan.

          110.     “Secured Tax Claim” means any Secured Claim that, absent its secured status would be entitled to
priority in right of payment under section 507(a)(8) of the Bankruptcy Code (determined irrespective of time
limitations), including authority related Secured Claim for penalties.

         111.     “Secured Term Loan” means the total Term Loan Commitments made pursuant to (and as
defined in) the Secured Credit Agreement.

                                                         9
                Case 19-10488-LSS             Doc 105        Filed 03/22/19         Page 70 of 106



        112.   “Secured Term Loan Claims” means all Claims arising under, derived from, or based on the
Secured Term Loan.

         113.     “Secured Term Loan Lenders” means the lenders from time to time to the Secured Term Loan.

         114.      “Secured Term Loan Participants” means any Person holding a participation in any loan or other
obligation, arising under the Secured Term Loan.

         115.     Section 510(b) Claim” means any Claim subject to subordination under section 510(b) of the
Bankruptcy Code; provided that a Section 510(b) Claim shall not include any Claim subject to subordination under
section 510(b) of the Bankruptcy Code arising from or related to an Interest.

         116.    “Securities Act” means the Securities Act of 1933, 15 U.S.C. §§ 77a-77aa, as now in effect or
hereafter amended, and the rules and regulations promulgated thereunder.

         117.     “Security” means a security as defined in section 2(a)(1) of the Securities Act.

         118.     “U.S. Trustee” means the Office of the United States Trustee for the District of Delaware.

        119.      “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is subject to
assumption or rejection under section 365 or section 1123 of the Bankruptcy Code.

          120.    “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

         121.     “Voting Deadline” means 4:00 p.m. (prevailing Eastern Time) on June 4, 2019.

         122.    “Winning Bidder” means the Entity whose bid for some or all of the Debtors’ assets, which for
the avoidance of doubt may include the transaction contemplated under the Plan, is selected by the Debtors and
approved by the Bankruptcy Court as the highest or otherwise best bid pursuant to the Bidding Procedures. For the
avoidance of doubt, if there is no third-party purchaser of the assets, the Secured Credit Agreement Lenders shall be
deemed to be the Winning Bidder.

B.       Rules of Interpretation

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter
gender shall include the masculine, feminine, and the neuter gender; (2) any reference herein to a contract, lease,
instrument, release, indenture, or other agreement or document being in a particular form or on particular terms and
conditions means that the referenced document shall be substantially in that form or substantially on those terms and
conditions; (3) any reference herein to an existing document, schedule, or exhibit, whether or not Filed, having been
Filed or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter be amended, restated,
supplemented, or otherwise modified; (4) any reference to an Entity as a Holder of a Claim or Interest includes that
Entity’s successors and assigns; (5) unless otherwise specified, all references herein to “Articles” are references to
Articles of the Plan or hereto; (6) unless otherwise specified, all references herein to exhibits are references to
exhibits in the Plan Supplement; (7) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to
the Plan in its entirety rather than to a particular portion of the Plan; (8) subject to the provisions of any contract,
certificate of incorporation, bylaw, instrument, release, or other agreement or document entered into in connection
with the Plan, the rights and obligations arising pursuant to the Plan shall be governed by, and construed and
enforced in accordance with, applicable federal law, including the Bankruptcy Code and the Bankruptcy Rules, or, if
no rule of law or procedure is supplied by federal law (including the Bankruptcy Code and the Bankruptcy Rules) or
otherwise specifically stated, the laws of the State of New York, without giving effect to the principles of conflict of
laws; (9) captions and headings to Articles are inserted for convenience of reference only and are not intended to be
a part of or to affect the interpretation of the Plan; (10) unless otherwise specified herein, the rules of construction
set forth in section 102 of the Bankruptcy Code shall apply; (11) all references to docket numbers of documents


                                                          10
              Case 19-10488-LSS              Doc 105        Filed 03/22/19        Page 71 of 106



Filed in the Chapter 11 Cases are references to the docket numbers under the Bankruptcy Court’s CM/ECF system;
(12) all references to statutes, regulations, orders, rules of courts, and the like shall mean as amended from time to
time, and as applicable to the Chapter 11 Cases, unless otherwise stated; and (13) any effectuating provisions may
be interpreted by the Reorganized Debtors in such a manner that is consistent with the overall purpose and intent of
the Plan all without further notice to or action, order, or approval of the Bankruptcy Court or any other Entity, and
such interpretation shall be conclusive; (14) any references herein to the Effective Date shall mean the Effective
Date or as soon as reasonably practicable thereafter; (15) all references herein to consent, acceptance, or approval
shall be deemed to include the requirement that such consent, acceptance, or approval be evidenced by a writing,
which may be conveyed by counsel for the respective parties that have such consent, acceptance, or approval rights,
including by electronic mail (16) any term used in capitalized form herein that is not otherwise defined but that is
used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the
Bankruptcy Code or the Bankruptcy Rules, as the case may be.

C.       Computation of Time

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next
succeeding Business Day.

D.       Governing Law

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect
to the principles of conflict of laws, shall govern the rights, obligations, construction, and implementation of the
Plan, any agreements, documents, instruments, or contracts executed or entered into in connection with the Plan
(except as otherwise set forth in those agreements, in which case the governing law of such agreement shall control);
provided, however, that corporate or limited liability company governance matters relating to the Debtors or the
Reorganized Debtors, as applicable, not incorporated in New York shall be governed by the laws of the state of
incorporation or formulation of the applicable Debtor or the Reorganized Debtors, as applicable.

E.       Reference to Monetary Figures

         All references in the Plan to monetary figures shall refer to currency of the United States of America,
unless otherwise expressly provided.

F.       Reference to the Debtors or the Reorganized Debtors

         Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the Debtors
or the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to the extent the
context requires.

G.       Non-consolidated Plan

         Although for purposes of administrative convenience and efficiency the Plan has been filed as a joint plan
for each of the Debtors and presents together Classes of Claims against, and Interests in, the Debtors, the Plan does
not provide for the substantive consolidation of any of the Debtors.

                                       ARTICLE II.
                ADMINISTRATIVE CLAIMS, DIP CLAIMS AND PRIORITY TAX CLAIMS

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional Fee
Claims, DIP Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of
Claims and Interests set forth in Article III.



                                                         11
               Case 19-10488-LSS             Doc 105        Filed 03/22/19         Page 72 of 106



A.       Administrative Claims

         Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the Debtors or the
Reorganized Debtors, as applicable, to the extent an Allowed Administrative Claim has not already been paid in full
or otherwise satisfied during the Chapter 11 Cases, each Holder of an Allowed Administrative Claim (other than
Holders of Professional Fee Claims and Claims for fees and expenses pursuant to section 1930 of chapter 123 of the
Judicial Code) will receive in full and final satisfaction of its Allowed Administrative Claim an amount of Cash
equal to the amount of the unpaid portion of such Allowed Administrative Claim in accordance with the following:
(1) if such Administrative Claim is Allowed on or prior to the Effective Date, no later than 30 days after the
Effective Date or as soon as reasonably practicable thereafter (or, if not then due, when such Allowed
Administrative Claim is due or as soon as reasonably practicable thereafter); (2) if such Administrative Claim is not
Allowed as of the Effective Date, no later than 30 days after the date on which an order Allowing such
Administrative Claim becomes a Final Order, or as soon as reasonably practicable thereafter; (3) if such Allowed
Administrative Claim is based on liabilities incurred by the Debtors in the ordinary course of their business after the
Petition Date, in accordance with the terms and conditions of the particular transaction or course of business giving
rise to such Allowed Administrative Claim, without any further action by the Holder of such Allowed
Administrative Claim; (4) at such time and upon such terms as may be agreed upon by the Holder of such Allowed
Administrative Claim and the Debtors or the Reorganized Debtors, as applicable; or (5) at such time and upon such
terms as set forth in a Final Order of the Bankruptcy Court.

         Except for Professional Fee Claims and DIP Claims, and unless previously Filed, requests for payment of
Administrative Claims must be Filed and served on the Reorganized Debtors no later than the Administrative Claim
Bar Date pursuant to the procedures specified in the Confirmation Order and the notice of entry of the Confirmation
Order. Objections to such requests must be Filed and served on the Reorganized Debtors and the requesting party
by the Administrative Claim Objection Bar Date. After notice and a hearing in accordance with the procedures
established by the Bankruptcy Code, the Bankruptcy Rules, and prior Bankruptcy Court orders, the Allowed
amounts, if any, of Administrative Claims shall be determined by, and satisfied in accordance with an order that
becomes a Final Order of, the Bankruptcy Court.

         Holders of Administrative Claims that are required to File and serve a request for payment of such
Administrative Claims that do not file and serve such a request by the Administrative Claim Bar Date shall be
forever barred, estopped, and enjoined from asserting such Administrative Claims against the Debtors, the
Reorganized Debtors, or their property, and such Administrative Claims shall be deemed discharged as of the
Effective Date without the need for any objection from the Reorganized Debtors or any notice to or action, order, or
approval of the Bankruptcy Court or any other Entity.

B.       Professional Fee Claims

         1.   Final Fee Applications and Payment of Professional Fee Claims

         All final requests for payment of Professional Fee Claims for services rendered and reimbursement of
expenses incurred prior to the Confirmation Date must be Filed no later than 60 days after the Effective Date. The
Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after notice and a hearing
in accordance with the procedures established by the Bankruptcy Code, Bankruptcy rules, and prior Bankruptcy
Court orders. The Reorganized Debtors shall pay the amount of the Allowed Professional Fee Claims owing to the
Professionals in Cash to such Professionals, including from funds held in the Professional Fee Escrow Account
when such Professional Fee Claims are Allowed by entry of an order of the Bankruptcy Court.

         2.   Professional Fee Escrow Account

          As soon as is reasonably practicable after the Confirmation Date and no later than the Effective Date, the
Debtors shall establish and fund the Professional Fee Escrow Account with Cash equal to the Professional Fee
Escrow Amount. The Professional Fee Escrow Account shall be maintained in trust solely for the Professionals and
for no other Entities until all Professional Fee Claims Allowed by the Bankruptcy Court have been irrevocably paid
in full to the Professionals pursuant to one or more Final Orders of the Bankruptcy Court. No Liens, claims, or
interests shall encumber the Professional Fee Escrow Account or Cash held in the Professional Fee Escrow Account

                                                          12
               Case 19-10488-LSS             Doc 105        Filed 03/22/19         Page 73 of 106



in any way. Funds held in the Professional Fee Escrow Account shall not be considered property of the Estates of
the Debtors or the Reorganized Debtors.

         The amount of Professional Fee Claims owing to the Professionals shall be paid in Cash to such
Professionals by the Debtors or the Reorganized Debtors, as applicable, from the funds held in the Professional Fee
Escrow Account as soon as reasonably practicable after such Professional Fee Claims are Allowed by an order of
the Bankruptcy Court; provided that the Debtors’ and the Reorganized Debtors’ obligations to pay Allowed
Professional Fee Claims shall not be limited nor be deemed limited to funds held in the Professional Fee Escrow
Account. When all Professional Fee Claims Allowed by the Bankruptcy Court have been irrevocably paid in full to
the Professionals pursuant to one or more Final Orders of the Bankruptcy Court, any remaining funds held in the
Professional Fee Escrow Account shall promptly be paid to the Reorganized Debtors without any further notice to or
action, order, or approval of the Bankruptcy Court or any other Entity.

         3.   Professional Fee Escrow Amount

         The Professionals shall provide a reasonable and good-faith estimate of their fees and expenses incurred in
rendering services to the Debtors before and as of the Effective Date projected to be outstanding as of the Effective
Date, and shall deliver such estimate to the Debtors no later than five days before the anticipated Effective Date;
provided, however, that such estimate shall not be considered or deemed an admission or limitation with respect to
the amount of the fees and expenses that are the subject of the Professional’s final request for payment of
Professional Fee Claims and such Professionals are not bound to any extent by the estimates. If a Professional does
not provide an estimate, the Debtors may estimate the unpaid and unbilled fees and expenses of such Professional.
The total aggregate amount so estimated as of the Effective Date shall be utilized by the Debtors to determine the
amount to be funded to the Professional Fee Escrow Account, provided that the Reorganized Debtors shall use Cash
on hand to increase the amount of the Professional Fee Escrow Account to the extent fee applications are Filed after
the Effective Date in excess of the amount held in the Professional Fee Escrow Account based on such estimates.

         4.   Post-Confirmation Fees and Expenses

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses
related to implementation of the Plan and Consummation incurred by the Debtors or the Reorganized Debtors. The
Debtors and Reorganized Debtors (as applicable) shall pay, within ten business days after submission of a detailed
invoice to the Debtors or Reorganized Debtors (as applicable) such reasonable claims for compensation or
reimbursement of expenses incurred by the Retained Professionals of the Debtors and Reorganized Debtors (as
applicable). If the Debtors or Reorganized Debtors (as applicable) dispute the reasonableness of any such invoice,
the Debtors or Reorganized Debtors (as applicable) or the affected professional may submit such dispute to the
Bankruptcy Court for a determination of the reasonableness of any such invoice, and the disputed portion of such
invoice shall not be paid until the dispute is resolved. Upon the Confirmation Date, any requirement that
Professionals comply with sections 327 through 331 and 1103 of the Bankruptcy Code or the Interim Compensation
Order in seeking retention or compensation for services rendered after such date shall terminate, and the Debtors
may employ and pay any Professional in the ordinary course of business without any further notice to or action,
order, or approval of the Bankruptcy Court.

C.       DIP Claims

          As of the Effective Date, the DIP Claims shall be Allowed and deemed to be Allowed Claims in the full
amount outstanding under the DIP Credit Agreement, including principal, interest, fees, and expenses. Except to the
extent that a Holder of an Allowed DIP Claim agrees to a less favorable treatment, in full and final satisfaction,
compromise, settlement, release, and discharge of, and in exchange for, each Allowed DIP Claim, each such Holder
of an Allowed DIP Claim shall receive payment in full in Cash of such Holder’s Allowed DIP Claim or such other
treatment as agreed by such Holder in such Holder’s sole discretion. Upon the indefeasible payment or satisfaction
in full in Cash of the Allowed DIP Claims in accordance with the terms of this Plan, or other such treatment as
contemplated by this Article II.C of the Plan, on the Effective Date all Liens and security interests granted to secure


                                                          13
                    Case 19-10488-LSS                    Doc 105          Filed 03/22/19             Page 74 of 106



such obligations shall be automatically terminated and of no further force and effect without any further notice to or
action, order, or approval of the Bankruptcy Court or any other Entity.

D.           Priority Tax Claims

          Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, compromise, settlement, release, and discharge of, and in exchange for, each Allowed
Priority Tax Claim, each Holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms
set forth in section 1129(a)(9)(C) of the Bankruptcy Code.

                                              ARTICLE III.
                         CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.           Classification of Claims and Interests

          Except for the Claims addressed in Article II of the Plan, all Claims and Interests are classified in the
Classes set forth in this Article III for all purposes, including voting, Confirmation, and distributions pursuant to the
Plan and in accordance with section 1122 and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest is
classified in a particular Class only to the extent that such Claim or Interest qualifies within the description of that
Class and is classified in other Classes to the extent that any portion of such Claim or Interest qualifies within the
description of such other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of
receiving distributions under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Allowed
Interest in that Class and has not been paid, released, or otherwise satisfied prior to the Effective Date.

         The classification of Claims and Interests against each Debtor pursuant to the Plan is as set forth below.
The Plan shall apply as a separate Plan for each of the Debtors, and the classification of Claims and Interests set
forth herein shall apply separately to each of the Debtors. All of the potential Classes for the Debtors are set forth
herein. Certain of the Debtors may not have Holders of Claims or Interests in a particular Class or Classes, and such
Claims shall be treated as set forth in Article III.F hereof. For all purposes under the Plan, each Class will contain
sub-Classes for each of the Debtors, except that: [Class 11 (Interests in Z Gallerie Holding Company, LLC) shall be
vacant for Z Gallerie, LLC]. 3 Voting tabulations for recording acceptances or rejections of the Plan shall be
conducted on a Debtor-by-Debtor basis as set forth above.


Class                       Claim/Interest                            Status                              Voting Rights

    1      Secured Tax Claims                                    Unimpaired         Not Entitled to Vote (Deemed to Accept)

    2      Other Secured Claims                                  Unimpaired         Not Entitled to Vote (Deemed to Accept)

    3      Other Priority Claims                                 Unimpaired         Not Entitled to Vote (Deemed to Accept)

    4      Secured Revolving Loan Claims                         Impaired           Entitled to Vote

    5      Secured Term Loan Claims                              Impaired           Entitled to Vote

    6      Critical Trade Claims                                 Impaired            Entitled to Vote

    7      General Unsecured Claims                              Impaired            Entitled to Vote

    8      Intercompany Claims                                   Unimpaired         Not Entitled to Vote (Deemed to Accept or


3       The Debtors reserve the right to separately classify Claims to the extent necessary to comply with any requirements under the Bankruptcy
        Code or applicable law.



                                                                       14
              Case 19-10488-LSS              Doc 105       Filed 03/22/19        Page 75 of 106



                                                                    Reject)

 9     Intercompany Interests                       Unimpaired      Not Entitled to Vote (Deemed to Accept or
                                                                    Reject)

 10    Section 510(b) Claims                        Impaired        Not Entitled to Vote (Deemed to Reject)

 11    Interests in the Z Gallerie Holding          Impaired        Not Entitled to Vote (Deemed to Reject)
       Company, LLC


B.       Treatment of Claims and Interests

         Subject to Article VI hereof, each Holder of an Allowed Claim or Allowed Interest, as applicable, shall
receive under the Plan the treatment described below in full and final satisfaction, compromise, settlement, release,
and discharge of, and in exchange for, such Holder’s Allowed Claim or Allowed Interest, except to the extent
different treatment is agreed to by the Debtors and the Holder of such Allowed Claim or Allowed Interest, as
applicable. Unless otherwise indicated, the Holder of an Allowed Claim or Allowed Interest, as applicable, shall
receive such treatment on the later of the Effective Date and the date such Holder’s Claim or Interest becomes an
Allowed Claim or Allowed Interest or as soon as reasonably practicable thereafter.

         1.      Class 1 - Secured Tax Claims

                  (a)     Classification: Class 1 consists of all Secured Tax Claims.

                  (b)      Treatment: Except to the extent that a Holder of an Allowed Secured Tax Claim agrees
                           to less favorable treatment, on the Effective Date, in full and final satisfaction,
                           compromise, settlement, release, and discharge of and in exchange for such Allowed
                           Secured Tax Claim, each Holder of an Allowed Secured Tax Claim shall receive, at the
                           option of the applicable Reorganized Debtor:

                           (i)      payment in full in Cash of such Holder’s Allowed Secured Tax Claim; or

                           (ii)     equal semi-annual Cash payments commencing as of the Effective Date or as
                                    soon as reasonably practicable thereafter and continuing for five years, in an
                                    aggregate amount equal to such Allowed Secured Tax Claim, together with
                                    interest at the applicable non-default rate under non-bankruptcy law, subject to
                                    the option of the applicable Reorganized Debtor to prepay the entire amount of
                                    such Allowed Secured Tax Claim during such time period.

                  (c)      Voting: Class 1 is Unimpaired under the Plan. Holders of Secured Tax Claims are
                           conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                           Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                           Plan.

         2.      Class 2 - Other Secured Claims

                  (a)     Classification: Class 2 consists of all Other Secured Claims.

                  (b)      Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim agrees
                           to less favorable treatment, on the Effective Date, in full and final satisfaction,
                           compromise, settlement, release, and discharge of and in exchange for such Allowed
                           Other Secured Claim, each Holder of an Allowed Other Secured Claim shall receive, at
                           the option of the applicable Reorganized Debtor:



                                                         15
     Case 19-10488-LSS            Doc 105       Filed 03/22/19         Page 76 of 106



               (i)      payment in full in Cash of such Holder’s Allowed Other Secured Claim;

               (ii)     the collateral securing such Holder’s Allowed Other Secured Claim;

               (iii)    Reinstatement of such Holder’s Allowed Other Secured Claim; or

               (iv)     such other treatment rendering such Holder’s Allowed Other Secured Claim
                        Unimpaired.

       (c)     Voting: Class 2 is Unimpaired under the Plan. Holders of Other Secured Claims are
               conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
               Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
               Plan.

3.     Class 3 - Other Priority Claims

       (a)     Classification: Class 3 consists of all Other Priority Claims.

       (b)     Treatment: Except to the extent that a Holder of an Allowed Other Priority Claim agrees
               to less favorable treatment, on the Effective Date, in full and final satisfaction,
               compromise, settlement, release, and discharge of and in exchange for such Allowed
               Other Priority Claim, each Holder of an Allowed Other Priority Claim shall receive
               payment in full in Cash on account of such Holder’s Allowed Other Priority Claim or
               such other treatment rendering such Holder’s Allowed Other Priority Claim Unimpaired.

       (c)     Voting: Class 3 is Unimpaired under the Plan. Holders of Other Priority Claims are
               conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
               Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
               Plan.

4.     Class 4 – Secured Revolving Loan Claims

       (a)     Classification: Class 4 consists of all Secured Revolving Loan Claims

       (b)     Treatment: To the extent any Allowed Secured Revolving Loan Claims are outstanding
               on the Effective Date, except to the extent that a Holder of an Allowed Secured
               Revolving Loan Claim agrees to less favorable treatment, on the Effective Date, in full
               and final satisfaction, compromise, settlement, release, and discharge of and in exchange
               for such Allowed Secured Revolving Loan Claim, each Holder of an outstanding
               Allowed Secured Revolving Loan Claim shall receive either:

               (i)      if an Entity other than the Secured Credit Agreement Lenders is the Winning
                        Bidder, its Pro Rata share of payment from the Secured Credit Agreement
                        Distributable Cash up to the full amount of the Allowed Secured Revolving
                        Loan Claim or such other treatment rendering such Holder’s Allowed Secured
                        Revolving Loan Claim Unimpaired;

               (ii)     if the Secured Credit Agreement Lenders are the Winning Bidder, its Pro Rata
                        share of [●] percent of the Reorganized Debtors Interests outstanding on the
                        Effective Date.

       (c)     Voting: Class 4 is Impaired under the Plan. Holders of Secured Revolving Loan Claims
               are entitled to vote to accept or reject the Plan.

5.     Class 5 – Secured Term Loan Claims

                                              16
     Case 19-10488-LSS           Doc 105        Filed 03/22/19         Page 77 of 106



       (a)     Classification: Class 5 consists of the Secured Term Loan Claims.

       (b)     Treatment: To the extent any Allowed Secured Term Loan Claims are outstanding on the
               Effective Date, except to the extent that a Holder of an Allowed Secured Revolving Loan
               Claim agrees to less favorable treatment, on the Effective Date, in full and final
               satisfaction, compromise, settlement, release, and discharge of and in exchange for such
               Allowed Secured Term Loan Claim, each Holder of an outstanding Allowed Secured
               Term Loan Claim shall receive either:

               (i)      if an Entity other than the Secured Credit Agreement Lenders is the Winning
                        Bidder, after payment in full to Holders of Allowed Secured Revolving Loan
                        Claims in Class 4, its Pro Rata share of payment from the Secured Credit
                        Agreement Distributable Cash up to the full amount of the Allowed Secured
                        Term Loan Claim or such other treatment rendering such Holder’s Allowed
                        Secured Term Loan Claim Unimpaired;

               (ii)     if the Secured Credit Agreement Lenders are the Winning Bidder, its Pro Rata
                        share of [●] percent of the Reorganized Debtors Interests outstanding on the
                        Effective Date.

       (c)     Voting: Class 5 is Impaired under the Plan. Holders of Secured Term Loan Claims are
               entitled to vote to accept or reject the Plan.

6.     Class 6 – Critical Trade Claims

       (a)     Classification: Class 6 consists of all Critical Trade Claims.

       (b)     Treatment: Except to the extent that a Holder of an Allowed Critical Trade Claim agrees
               to less favorable treatment, on the Effective Date, in full and final satisfaction,
               compromise, settlement, release, and discharge of and in exchange for such Allowed
               Critical Trade Claim, each Holder of an Allowed Critical Trade Claim shall receive, after
               payment in full to Holders of Allowed Secured Revolving Loan Claims in Class 4 and
               Holders of Allowed Secured Term Loan Claims in Class 5, its Pro Rata share (not to
               exceed the amount of such Holder’s Allowed Critical Trade Claim) of [TO COME].

       (c)     Voting: Class 6 is Impaired under the Plan. Holders of Critical Trade Claims are entitled
               to vote to accept or reject the Plan.

7.     Class 7 – General Unsecured Claims

       (a)     Classification: Class 7 consists of all General Unsecured Claims.

       (b)     Treatment: Except to the extent that a Holder of an Allowed General Unsecured Claim
               agrees to less favorable treatment, on the Effective Date, in full and final satisfaction,
               compromise, settlement, release, and discharge of and in exchange for such Allowed
               General Unsecured Claim, each Holder of an Allowed General Unsecured Claim shall
               receive, after payment in full to Holders of Allowed Secured Revolving Loan Claims in
               Class 4 and Holders of Allowed Secured Term Loan Claims in Class 5, its Pro Rata share
               (not to exceed the amount of such Holder’s Allowed General Unsecured Claim) of:

               (i)      [TO COME]

       (c)     Voting: Class 9 is Impaired under the Plan. Holders of General Unsecured Claims are
               entitled to vote to accept or reject the Plan.



                                             17
      Case 19-10488-LSS           Doc 105        Filed 03/22/19        Page 78 of 106



8.      Class 8 - Intercompany Claims

        (a)     Classification: Class 8 consists of all Intercompany Claims.

        (b)     Treatment: Holders of Intercompany Claims shall not receive any distribution on account
                of such Intercompany Claims. On or after the Effective Date, the Reorganized Debtors
                may reconcile such Intercompany Claims as may be advisable in order to avoid the
                incurrence of any past, present, or future tax or similar liabilities by such Reorganized
                Debtors.

        (c)     Voting: Class 8 is Impaired under the Plan. Holders of Intercompany Claims are
                conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
                Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                Plan.

9.      Class 9 - Intercompany Interests

        (a)     Classification: Class 11 consists of all Intercompany Interests.

        (b)     Treatment: Intercompany Interests shall be, at the option of the Debtors either:

                (i)      Reinstated in accordance with Article III.G of the Plan; or

                (ii)     Discharged, canceled, released, and extinguished as of the Effective Date, and
                         will be of no further force or effect, and Holders of Intercompany Interests will
                         not receive any distribution on account of such Intercompany Interests.

        (c)     Voting: Class 9 is Impaired under the Plan. Holders of Intercompany Interests are
                conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
                Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject the
                Plan.

10.     Class 10 - Section 510(b) Claims

        (a)     Classification: Class 10 consists of all Section 510(b) Claims.

        (b)     Allowance: Notwithstanding anything to the contrary herein, a Section 510(b) Claim, if
                any such Claim exists, may only become Allowed by Final Order of the Bankruptcy
                Court. The Debtors are not aware of any valid Section 510(b) Claim and believe that no
                such Section 510(b) Claim exists.

        (c)     Treatment: Allowed Section 510(b) Claims, if any, shall be discharged, canceled,
                released, and extinguished as of the Effective Date, and will be of no further force or
                effect, and Holders of Allowed Section 510(b) Claims will not receive any distribution on
                account of such Allowed Section 510(b) Claims.

        (d)     Voting: Class 10 is Impaired under the Plan. Holders (if any) of Section 510(b) Claims
                are conclusively deemed to have rejected the Plan under section 1126(g) of the
                Bankruptcy Code. Therefore, such Holders (if any) are not entitled to vote to accept or
                reject the Plan.

11. Class 11 – Interests in Z Gallerie Holding Company, LLC

        (a)     Classification: Class 11 consists of all Interests in Z Gallerie Holding Company, LLC.



                                              18
               Case 19-10488-LSS              Doc 105        Filed 03/22/19         Page 79 of 106



                  (b)      Treatment: Interests in Z Gallerie Holding Company, LLC shall be discharged, canceled,
                           released, and extinguished as of the Effective Date, and will be of no further force or
                           effect, and Holders of Interests in Z Gallerie Holding Company, LLC will not receive any
                           distribution on account of such Interests.

                  (c)      Voting: Class 11 is Impaired under the Plan. Holders of Interests in Z Gallerie Holding
                           Company, LLC are conclusively deemed to have rejected the Plan under section 1126(g)
                           of the Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or
                           reject the Plan.

C.       Special Provision Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ rights in respect
of any Claims that are Unimpaired, including all rights in respect of legal and equitable defenses to or setoffs or
recoupments against any such Claims that are Unimpaired. Unless otherwise Allowed, Claims that are Unimpaired
shall remain Disputed Claims under the Plan.

D.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by at least one Impaired Class of Claims. The Debtors shall seek Confirmation of the Plan pursuant to
section 1129(b) of the Bankruptcy Code with respect to any rejecting Class of Claims or Interests. The Debtors
reserve the right to modify the Plan in accordance with Article X of the Plan to the extent, if any, that Confirmation
pursuant to section 1129(b) of the Bankruptcy Code requires modification, including by modifying the treatment
applicable to a Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to the extent
permitted by the Bankruptcy Code and the Bankruptcy Rules.

E.       Subordinated Claims

          Except as expressly provided herein, the allowance, classification, and treatment of all Allowed Claims and
Interests and the respective distributions and treatments under the Plan take into account and conform to the relative
priority and rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable subordination,
section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors
and the Reorganized Debtors reserve the right to reclassify any Allowed Claim or Interest in accordance with any
contractual, legal, or equitable subordination relating thereto.

F.       Elimination of Vacant Classes; Presumed Acceptance by Non-Voting Classes

         Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court in an amount greater than zero as of the date of the
Confirmation Hearing shall be considered vacant and deemed eliminated from the Plan for purposes of voting to
accept or reject the Plan and for purposes of determining acceptance or rejection of the Plan by such Class pursuant
to section 1129(a)(8) of the Bankruptcy Code.

         If a Class contains Claims or Interests eligible to vote and no Holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the Holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

G.       Intercompany Interests.

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by Holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes
of administrative convenience, for the ultimate benefit of the Holders of the Reorganized Debtors Interests, and in
exchange for the Debtors’ and Reorganized Debtors’ agreement under the Plan to provide management services to


                                                          19
               Case 19-10488-LSS              Doc 105        Filed 03/22/19         Page 80 of 106



certain other Debtors and Reorganized Debtors, to use certain funds and assets as set forth in the Plan to make
certain distributions and satisfy certain obligations of certain other Debtors and Reorganized Debtors to the Holders
of certain Allowed Claims.

H.       Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are
Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the
Confirmation Date.

                                            ARTICLE IV.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests

          As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to
section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification,
distributions, releases, and other benefits provided under the Plan, on the Effective Date, the provisions of the Plan
shall constitute a good-faith compromise and settlement of all Claims, Interests, Causes of Action, and controversies
released, settled, compromised, discharged, or otherwise resolved pursuant to the Plan. The Plan shall be deemed a
motion to approve the good-faith compromise and settlement of all such Claims, Interests, Causes of Action, and
controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of such compromise and settlement under section 1123 of the Bankruptcy Code and
Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement and compromise is fair,
equitable, reasonable, and in the best interests of the Debtors and their Estates. Subject to Article VI hereof, all
distributions made to Holders of Allowed Claims and Allowed Interests (as applicable) in any Class are intended to
be and shall be final.

B.       Restructuring Transactions

          On the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into any transaction
and shall take any actions as may be necessary or appropriate to effect a corporate restructuring of their respective
businesses or a corporate restructuring of the overall corporate structure of the Debtors on the terms set forth in the
Plan, including, as applicable, the Exit Credit Agreement Facility, consummation of the Sale Transaction, the
issuance of all securities, notes, instruments, certificates, and other documents required to be issued pursuant to the
Plan, one or more intercompany mergers, consolidations, amalgamations, arrangements, continuances,
restructurings, conversions, dispositions, dissolutions, transfers, liquidations, spinoffs, intercompany sales,
purchases, or other corporate transactions (collectively, the “Restructuring Transactions”). The actions to
implement the Restructuring Transactions may include: (1) the execution and delivery of appropriate agreements or
other documents of merger, consolidation, amalgamation, arrangement, continuance, restructuring, conversion,
disposition, dissolution, transfer, liquidation, spinoff, sale, or purchase containing terms that are consistent with the
terms of the Plan and that satisfy the applicable requirements of applicable law and any other terms to which the
applicable Entities may agree; (2) the execution and delivery of appropriate instruments of transfer, assignment,
assumption, or delegation of any asset, property, right, liability, debt, or obligation on terms consistent with the
terms of the Plan and having other terms for which the applicable Entities agree; (3) the filing of appropriate
certificates or articles of incorporation, reincorporation, formation, merger, consolidation, conversion,
amalgamation, arrangement, continuance, or dissolution pursuant to applicable state or provincial law; and (4) all
other actions that the applicable Entities determine to be necessary or appropriate, including making filings or
recordings that may be required by applicable law in connection with the Plan.

C.       Reorganized Debtors

         On the Effective Date, the New Board shall be established, and the Reorganized Debtors shall adopt its
New Organizational Documents. The Reorganized Debtors shall be authorized to implement the Restructuring
Transactions and adopt any other agreements, documents, and instruments and to take any other actions


                                                           20
               Case 19-10488-LSS               Doc 105        Filed 03/22/19        Page 81 of 106



contemplated under the Plan as necessary or desirable to consummate the Plan, which actions, regardless of whether
taken before, on, or after the Effective Date, shall be deemed to constitute a Restructuring Transaction.

D.       Sources of Consideration for Plan Distributions.

         The Reorganized Debtors will fund distributions under the Plan with Cash held on the Effective Date by or
for the benefit of the Debtors or Reorganized Debtors, including Cash from operations, as well as the following
sources of consideration.

         1.   Exit Credit Agreement Facility

          On the Effective Date, the Reorganized Debtors shall execute and deliver the Exit Credit Agreement
Documents to any applicable administrative agent for the Exit Credit Agreement Facility. The Reorganized Debtors
shall use the Cash proceeds provided under the Exit Credit Agreement Facility to fund ongoing operations and
distributions under the Plan, and satisfy certain other Cash obligations under the Plan.

         The Exit Credit Agreement Facility shall consist of the Exit Secured Term Loan Facility and the Exit
Secured Revolving Loan Facility. On the Effective Date, the Participating Secured Term Loan Lenders shall fund
the Exit Secured Term Loan Facility, and the Participating Secured Revolving Loan Lenders shall fund the Exit
Secured Revolving Loan Facility.

         The terms for the Exit Credit Agreement Facility will be determined in accordance with the Reorganized
Debtors’ contemplated post-Effective Date business plan following and depending on the results of the Auction
(with may contemplate the continued ownership or operation of all or only some of the Debtors’ assets), and
otherwise in form and substance acceptable to the Participating Secured Term Loan Lenders and the Participating
Secured Revolving Loan Lenders in their discretion, and any documentation necessary to implement the Exit Credit
Agreement Facility will be included in the Plan Supplement. Any Reorganized Debtors Interests issued to
Participating Secured Term Loan Lenders or Participating Revolving Loan Lender on account of the Exit Credit
Agreement Facility shall dilute any Reorganized Debtors Interest issued pursuant to Article III of the Plan equally.
The Reorganized Debtors shall use proceeds of the Exit Credit Agreement Facility, as applicable, to fund ongoing
operations and distributions under the Plan, including Critical Trade Claims, DIP Claims, Secured Term Loan
Claims, and Secured Revolving Loan Claims and satisfy certain other Cash obligations under the Plan. For the
avoidance of doubt, any distribution to Participating Secured Term Loan Lenders or Participating Secured
Revolving Loan Lenders on account of the Exit Credit Agreement Facility shall be in addition to (a) such
Participating Secured Term Loan Lenders’ recoveries set forth in Article III of the Plan on account of their Secured
Term Loan Claims; (b) such Participating Secured Revolving Loan Lenders’ recoveries set forth in Article III of the
Plan on account of their Secured Revolving Loan Claims; and (c) such DIP Lender’s recoveries set forth in Article II
of the Plan on account of their DIP Claims.

         2.   Issuance of the Reorganized Debtors Interests

         All existing Interests in the Debtors shall be automatically cancelled on the Effective Date and the
Reorganized Debtors shall issue the Reorganized Debtors Interests to Entities entitled to receive the Reorganized
Debtors Interests pursuant to the Plan. The issuance of the Reorganized Debtors Interests, is authorized without the
need for any further corporate action and without any further action by the Holders of Claims or Interests or the
Debtors or the Reorganized Debtors, as applicable. The New Organizational Documents, as applicable, shall
authorize the issuance and distribution on the Effective Date of the Reorganized Debtors Interests to the Disbursing
Agent for the benefit of Entities entitled to receive the Reorganized Debtors Interests pursuant to the Plan. All of the
Reorganized Debtors Interests issued under the Plan shall be duly authorized, validly issued, fully paid, and non-
assessable. Each distribution and issuance of the Reorganized Debtors Interests under the Plan shall be governed by
the terms and conditions set forth in the Plan applicable to such distribution or issuance and by the terms and
conditions of the instruments evidencing or relating to such distribution or issuance, which terms and conditions
shall bind each Entity receiving such distribution or issuance.




                                                          21
              Case 19-10488-LSS              Doc 105        Filed 03/22/19         Page 82 of 106



E.       Sale Transaction

          Continuing after the Petition Date, the Debtors will conduct a marketing and Auction process of some or all
of the Debtors’ assets in accordance with the Bidding Procedures to determine the Winning Bidder. The Bidding
Procedures will set forth the terms of any Initial Minimum Overbid. The Debtors will seek to elicit a higher or
better Sale Transaction offer, if any, pursuant to the process set forth in the Bidding Procedures. If no Entity
submits an Initial Minimum Overbid, the [●] will be deemed the Winning Bidder for purposes of the Plan. If the
Debtors are able to secure such a higher or better offer in accordance with the Bidding Procedures, and the Winning
Bidder is an Entity other than the [●], the Holders of Secured Revolving Loan Claims and Secured Term Loan
Claims will be paid the Secured Credit Agreement Distributable Cash as set forth in Article III of the Plan and the
Sale Transaction will be consummated pursuant to the Plan in accordance with terms to be set forth in the
Confirmation Order and Plan Supplement, as applicable. If the Debtors are unable to secure such higher or better
offer at the conclusion of the marketing and Auction process contemplated by the Bidding Procedures, the [●] will
be deemed to be the Winning Bidder and (a) the Debtors will proceed to consummate the Sale Transaction, by and
between the Debtors and the [●], as the Winning Bidder, on the terms set forth in Article III of the Plan and (b) the
Sale Transaction will be deemed to be consummated on the Effective Date.

F.       Corporate Existence

          Except as otherwise provided in the Plan, each Debtor shall continue to exist after the Effective Date as a
separate corporation, limited liability company, partnership, or other form of entity, as the case may be, with all the
powers of a corporation, limited liability company, partnership, or other form of entity, as the case may be, pursuant
to the applicable law in the jurisdiction in which each applicable Debtor is incorporated or formed and pursuant to
the respective certificate of incorporation and bylaws (or other similar formation and governance documents) in
effect prior to the Effective Date, except to the extent such certificate of incorporation and bylaws (or other similar
formation and governance documents) are amended under the Plan or otherwise, and to the extent such documents
are amended, such documents are deemed to be amended pursuant to the Plan and require no further action or
approval (other than any requisite filings required under applicable state, provincial, or federal law).

G.       Vesting of Assets in the Reorganized Debtors

         Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated in
the Plan, on the Effective Date, all property in each Estate, all Causes of Action, and any property acquired by any
of the Debtors pursuant to the Plan shall vest in each respective Reorganized Debtor, free and clear of all Liens,
Claims, charges, or other encumbrances. On and after the Effective Date, except as otherwise provided in the Plan,
each Reorganized Debtor may operate its business and may use, acquire, or dispose of property and compromise or
settle any Claims, Interests, or Causes of Action without supervision or approval by the Bankruptcy Court and free
of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

H.       Cancellation of Securities and Agreements

          On the Effective Date, except as otherwise specifically provided for in the Plan: (1) the obligations of the
Debtors under the Secured Credit Agreement Documents and any other certificate, Security, share, note, bond,
indenture, purchase right, option, warrant, or other instrument or document directly or indirectly evidencing or
creating any indebtedness or obligation of or ownership interest in the Debtors giving rise to any Claim or Interest
(except such certificates, notes, or other instruments or documents evidencing indebtedness or obligation of or
ownership interest in the Debtors that are Reinstated pursuant to the Plan) shall be cancelled solely as to the Debtors
and their affiliates, and the Reorganized Debtors shall not have any continuing obligations thereunder; and (2) the
obligations of the Debtors and their affiliates pursuant, relating, or pertaining to any agreements, indentures,
certificates of designation, bylaws, or certificate or articles of incorporation or similar documents governing the
shares, certificates, notes, bonds, indentures, purchase rights, options, warrants, or other instruments or documents
evidencing or creating any indebtedness or obligation of or ownership interest in the Debtors (except such
agreements, certificates, notes, or other instruments evidencing indebtedness or obligation of or ownership interest
in the Debtors that are specifically Reinstated pursuant to the Plan) shall be released and discharged.
Notwithstanding the foregoing, no executory contract or unexpired lease that (i) has been, or will be, assumed


                                                          22
              Case 19-10488-LSS              Doc 105        Filed 03/22/19         Page 83 of 106



pursuant to Section 365 of the Bankruptcy Code or (ii) relating to a Claim that was paid in full prior to the Effective
Date, shall be terminated or cancelled on the Effective Date.

I.       Corporate Action

          Upon the Effective Date, all actions contemplated under the Plan, regardless of whether taken before, on or
after the Effective Date, shall be deemed authorized and approved in all respects, including: (1) selection of the
directors and officers for the Reorganized Debtors; (2) the issuance of the Reorganized Debtors Interests;
(3) implementation of the Restructuring Transactions; (4) consummation of the Sale Transaction, (5) execution of
the Exit Credit Agreement and any and all other agreements, documents, securities, and instruments relating thereto;
and (6) all other actions contemplated under the Plan (whether to occur before, on, or after the Effective Date). All
matters provided for in the Plan or deemed necessary or desirable by the Debtors before, on, or after the Effective
Date involving the corporate structure of the Debtors or the Reorganized Debtors, and any corporate action required
by the Debtors or the Reorganized Debtors in connection with the Plan or corporate structure of the Debtors or
Reorganized Debtors shall be deemed to have occurred and shall be in effect on the Effective Date, without any
requirement of further action by the security holders, directors, manages, or officers of the Debtors or the
Reorganized Debtors. Before, on, or after the Effective Date, the appropriate officers of the Debtors or the
Reorganized Debtors, as applicable, shall be authorized to issue, execute, and deliver the agreements, documents,
securities, and instruments contemplated under the Plan (or necessary or desirable to effect the transactions
contemplated under the Plan) in the name of and on behalf of the Reorganized Debtors, including the Exit Credit
Agreement and any and all other agreements, documents, securities, and instruments relating to the foregoing. The
authorizations and approvals contemplated by this Article IV.I shall be effective notwithstanding any requirements
under non-bankruptcy law.

J.       New Organizational Documents

          On or immediately prior to the Effective Date, the New Organizational Documents shall be amended in a
manner acceptable to the Debtors and Winning Bidder in their discretion, as may be necessary to effectuate the
transactions contemplated by the Plan. Each of the Reorganized Debtors will file its New Organizational
Documents with the applicable Secretaries of State and/or other applicable authorities in its respective state,
province, or country of incorporation in accordance with the corporate laws of the respective state, province, or
country of incorporation. The New Organizational Documents will prohibit the issuance of non-voting equity
securities, to the extent required under section 1123(a)(6) of the Bankruptcy Code.

K.       Directors, Managers, and Officers of the Reorganized Debtors.

         As of the Effective Date, the term of the current members of the board of managers of the Debtors shall
expire, and the initial boards of directors, including the New Board, and the officers of each of the Reorganized
Debtors shall be appointed by the Winning Bidder in accordance with the respective New Organizational
Documents. Pursuant to section 1129(a)(5) of the Bankruptcy Code, the Debtors will disclose in advance of the
Confirmation Hearing the identity and affiliations of any Person proposed to serve on the initial board of directors or
be an officer of any of the Reorganized Debtors. To the extent any such director or officer of the Reorganized
Debtors is an “insider” under the Bankruptcy Code, the Debtors also will disclose the nature of any compensation to
be paid to such director or officer. Each such director and officer shall serve from and after the Effective Date
pursuant to the terms of the New Organizational Documents and other constituent documents of the Reorganized
Debtors.

L.       Effectuating Documents; Further Transactions

          On and after the Effective Date, the Reorganized Debtors, and the officers and members of the boards of
directors or managers thereof, are authorized to and may issue, execute, deliver, file, or record such contracts,
Securities, instruments, releases, and other agreements or documents and take such actions as may be necessary or
appropriate to effectuate, implement, and further evidence the terms and conditions of the Plan, the Restructuring
Transactions, and the Securities issued pursuant to the Plan in the name of and on behalf of the Reorganized
Debtors, without the need for any approvals, authorization, or consents except for those expressly required pursuant
to the Plan.

                                                          23
              Case 19-10488-LSS              Doc 105        Filed 03/22/19         Page 84 of 106



M.       Section 1146 Exemption

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (1) the issuance,
distribution, transfer, or exchange of any debt, equity security, or other interest in the Debtors or the Reorganized
Debtors; (2) the Restructuring Transactions; (3) the creation, modification, consolidation, termination, refinancing,
and/or recording of any mortgage, deed of trust, or other security interest, or the securing of additional indebtedness
by such or other means; (4) the making, assignment, or recording of any lease or sublease; (5) the grant of collateral
as security for any or all of the Exit Credit Agreement Facility, as applicable; or (6) the making, delivery, or
recording of any deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan,
including any deeds, bills of sale, assignments, or other instrument of transfer executed in connection with any
transaction arising out of, contemplated by, or in any way related to the Plan, shall not be subject to any document
recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax, mortgage
recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar
tax or governmental assessment, and upon entry of the Confirmation Order, the appropriate state or local
governmental officials or agents shall forgo the collection of any such tax or governmental assessment and accept
for filing and recordation any of the foregoing instruments or other documents without the payment of any such tax,
recordation fee, or governmental assessment. All filing or recording officers (or any other Person with authority
over any of the foregoing), wherever located and by whomever appointed, shall comply with the requirements of
section 1146(c) of the Bankruptcy Code, shall forgo the collection of any such tax or governmental assessment, and
shall accept for filing and recordation any of the foregoing instruments or other documents without the payment of
any such tax or governmental assessment.

N.       Director and Officer Liability Insurance; Other Insurance

          On or before the Effective Date, the Debtors shall purchase (to the extent not already purchased) and
maintain directors, officers, managers, and employee liability tail coverage for the six-year period following the
Effective Date on terms no less favorable than the Debtors’ existing director, officer, manager, and employee
coverage and with an aggregate limit of liability upon the Effective Date of no less than the aggregate limit of
liability under the existing director, officer, manager, and employee coverage upon placement. Reasonable directors
and officers insurance policies shall remain in place in the ordinary course during the Chapter 11 Cases and from
and after the Effective Date.

O.       Employee and Retiree Benefits.

         Unless otherwise provided herein, all employee wages, compensation, and benefit programs in place as of
the Effective Date with the Debtors shall be assumed by the Reorganized Debtors and shall remain in place as of the
Effective Date, and the Reorganized Debtors will continue to honor such agreements, arrangements, programs, and
plans. Notwithstanding the foregoing, pursuant to section 1129(a)(13) of the Bankruptcy Code, from and after the
Effective Date, all retiree benefits (as such term is defined in section 1114 of the Bankruptcy Code), if any, shall
continue to be paid in accordance with applicable law.

P.       Preservation of Causes of Action

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, the
Reorganized Debtors, as applicable, shall retain and may enforce all rights to commence and pursue, as appropriate,
any and all Causes of Action, whether arising before or after the Petition Date, including any actions specifically
enumerated in the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to commence,
prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of the Effective Date,
other than the Causes of Action released by the Debtors pursuant to the releases and exculpations contained in the
Plan, including in Article VIII.

          The Reorganized Debtors may pursue such Causes of Action, as appropriate, in accordance with the best
interests of the Reorganized Debtors. No Entity may rely on the absence of a specific reference in the Plan, the
Plan Supplement, or the Disclosure Statement to any Cause of Action against it as any indication that the
Debtors or the Reorganized Debtors, as applicable, will not pursue any and all available Causes of Action

                                                          24
               Case 19-10488-LSS               Doc 105        Filed 03/22/19         Page 85 of 106



against it. The Debtors or the Reorganized Debtors, as applicable, expressly reserve all rights to prosecute
any and all Causes of Action against any Entity, except as otherwise expressly provided in the Plan, including
Article VIII of the Plan. Unless any Causes of Action against an Entity are expressly waived, relinquished,
exculpated, released, compromised, or settled in the Plan or a Bankruptcy Court order, the Reorganized Debtors
expressly reserve all Causes of Action, for later adjudication, and, therefore, no preclusion doctrine, including the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or
otherwise), or laches, shall apply to such Causes of Action upon, after, or as a consequence of the Confirmation or
Consummation.

          The Reorganized Debtors reserve and shall retain such Causes of Action notwithstanding the rejection or
repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the Plan. In
accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may hold against
any Entity shall vest in the Reorganized Debtors, except as otherwise expressly provided in the Plan, including
Article VIII of the Plan. The applicable Reorganized Debtors, through their authorized agents or representatives,
shall retain and may exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the
exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the
foregoing without the consent or approval of any third party or further notice to or action, order, or approval of the
Bankruptcy Court.

Q.       Section 1145 Exemption

          Pursuant to section 1145 of the Bankruptcy Code and, to the extent that section 1145 of the Bankruptcy
Code is inapplicable, section 4(a)(2) of the Securities Act, the issuance of the Reorganized Debtors Interests as
contemplated by the Plan is exempt from, among other things, the registration requirements of section 5 of the
Securities Act and any other applicable United States, state, or local law requiring registration for offer or sale of a
security or registration or licensing of an issuer of, underwriter of, or broker or dealer in, a security. As long as the
exemption to registration under section 1145 of the Bankruptcy Code is applicable, the Reorganized Debtors
Interests are not “restricted securities” (as defined in rule 144(a)(3) under the Securities Act) and are freely tradable
and transferable by any initial recipient thereof that (x) is not an “affiliate” of the Reorganized Debtors (as defined in
rule 144(a)(1) under the Securities Act), (y) has not been such an “affiliate” within 90 days of such transfer, and (z)
is not an entity that is an “underwriter” as defined in section 1145(b) of the Bankruptcy Code.

                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases

         On the Effective Date, except as otherwise provided herein, each Executory Contract or Unexpired Lease,
not previously assumed, assumed and assigned, or rejected shall be deemed automatically rejected, pursuant to
sections 365 and 1123 of the Bankruptcy Code, unless such Executory Contract or Unexpired Lease: (1) is identified
on the Schedule of Assumed Executory Contracts and Unexpired Leases; (2) is the subject of a motion to assume
such Executory Contracts or Unexpired Leases that is pending on the Confirmation Date; (3) is a contract, release,
or other agreement or document entered into in connection with the Plan; or (4) is an insurance policy.

         Entry of the Confirmation Order by the Bankruptcy Court shall, subject to and upon the occurrence of the
Effective Date, constitute a Bankruptcy Order approving the assumptions or rejections of the Executory Contracts
and Unexpired Leases assumed or rejected pursuant to the Plan. Any motions to assume Executory Contracts or
Unexpired Leases pending on the Effective Date shall be subject to approval by the Bankruptcy Court on or after the
Effective Date by a Final Order. Each Executory Contract and Unexpired Lease assumed pursuant to this Article
V.A of the Plan or by any order of the Bankruptcy Court, which has not been assigned to a third party prior to the
Confirmation Date, shall revest in and be fully enforceable by the Reorganized Debtors in accordance with its terms,
except as such terms are modified by the provisions of the Plan or any order of the Bankruptcy Court authorizing
and providing for its assumption under applicable federal law. Notwithstanding anything to the contrary in the Plan,
the Debtors or the Reorganized Debtors, as applicable, reserve the right to alter, amend, modify, or supplement the
Schedule of Assumed Executory Contracts and Unexpired Leases identified in this Article V of the Plan and in the

                                                           25
              Case 19-10488-LSS              Doc 105        Filed 03/22/19         Page 86 of 106



Plan Supplement (i) to add or remove any Executory Contract or Unexpired Lease to the Schedule of Assumed
Executory Contracts and Unexpired Leases at any time prior to the Effective Date, and (ii) to remove any Executory
Contract or Unexpired Lease from the Schedule of Assumed Executory Contracts and Unexpired Leases at any time
through and including 45 days after the Effective Date. The Debtors or the Reorganized Debtors shall provide
notice of any amendments to the Schedule of Assumed Executory Contracts and Unexpired Leases to the parties to
the Executory Contracts or Unexpired Leases affected thereby.

B.       Indemnification Obligations.

         Unless otherwise determined by the Debtors, all indemnification provisions, consistent with applicable law,
currently in place (whether in the by-laws, certificates of incorporation or formation, limited liability company
agreements, other organizational documents, board resolutions, indemnification agreements, employment contracts,
or otherwise) for the current and former directors, officers, managers, employees, attorneys, accountants, investment
bankers, and other professionals of the Debtors, as applicable, shall be reinstated and remain intact, irrevocable, and
shall survive the Effective Date on terms no less favorable to such current and former directors, officers, managers,
employees, attorneys, accountants, investment bankers, and other professionals of the Debtors than the
indemnification provisions in place prior to the Effective Date.

C.       Claims Based on Rejection of Executory Contracts or Unexpired Leases

          Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Bankruptcy Court within 30 days after the later of (1) the date of
entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection, (2) the
effective date of such rejection, or (3) the Effective Date. Any Claims arising from the rejection of an Executory
Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be automatically
disallowed, forever barred from assertion, and shall not be enforceable against the Debtors or the
Reorganized Debtors, the Estates, or their property without the need for any objection by the Reorganized
Debtors or further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity, and
any Claim arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully
satisfied, released, and discharged, notwithstanding anything in the Schedules or a Proof of Claim to the
contrary. All Allowed Claims arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases
shall be classified as General Unsecured Claims.

D.       Cure of Defaults for Executory Contracts and Unexpired Leases Assumed

         Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed pursuant to the
Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default amount in
Cash on the Effective Date, subject to the limitation described below, or on such other terms as the parties to such
Executory Contracts or Unexpired Leases may otherwise agree. In the event of a dispute regarding (1) the amount
of any payments to cure such a default, (2) the ability of the Reorganized Debtors or any assignee to provide
“adequate assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code) under the
Executory Contract or Unexpired Lease to be assumed, or (3) any other matter pertaining to assumption, the cure
payments required by section 365(b)(1) of the Bankruptcy Code shall be made following the entry of a Final Order
or orders resolving the dispute and approving the assumption. At least ten days prior to the Confirmation Hearing,
the Debtors shall provide for notices of proposed assumption and proposed cure amounts to be sent to applicable
third parties and for procedures for objecting thereto and resolution of disputes by the Bankruptcy Court. Any
objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed assumption or related cure
amount must be Filed, served, and actually received by the Debtors at least three days prior to the Confirmation
Hearing. Any counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the proposed
assumption or cure amount will be deemed to have assented to such assumption or cure amount.

          Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall result in
the full release and satisfaction of any Claims or defaults, whether monetary or nonmonetary, including defaults of
provisions restricting the change in control or ownership interest composition or other bankruptcy-related defaults,
arising under any assumed Executory Contract or Unexpired Lease at any time prior to the effective date of

                                                          26
              Case 19-10488-LSS              Doc 105        Filed 03/22/19        Page 87 of 106



assumption. Any Proofs of Claim Filed with respect to an Executory Contract or Unexpired Lease that has
been assumed shall be deemed disallowed and expunged, without further notice to or action, order, or
approval of the Bankruptcy Court.

E.       Preexisting Obligations to the Debtors under Executory Contracts and Unexpired Leases.

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not
constitute a termination of preexisting obligations owed to the Debtors or the Reorganized Debtors, as applicable,
under such Executory Contracts or Unexpired Leases. In particular, notwithstanding any non-bankruptcy law to the
contrary, the Reorganized Debtors expressly reserve and do not waive any right to receive, or any continuing
obligation of a counterparty to provide, warranties or continued maintenance obligations on goods previously
purchased by the Debtors contracting from non-Debtor counterparties to rejected Executory Contracts or Unexpired
Leases.

F.       Insurance Policies.

         Each of the Debtors’ insurance policies and any agreements, documents, or instruments relating thereto, are
treated as Executory Contracts under the Plan. Unless otherwise provided in the Plan, on the Effective Date, (a) the
Debtors shall be deemed to have assumed all insurance policies and any agreements, documents, and instruments
relating to coverage of all insured Claims and (b) such insurance policies and any agreements, documents, or
instruments relating thereto shall revest in the Reorganized Debtors.

G.       Modifications, Amendments, Supplements, Restatements, or Other Agreements

          Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed shall
include all modifications, amendments, supplements, restatements, or other agreements that in any manner affect
such Executory Contract or Unexpired Lease, and Executory Contracts and Unexpired Leases related thereto, if any,
including easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal and any other
interests, unless any of the foregoing agreements has been previously rejected or repudiated or is rejected or
repudiated under the Plan.

        Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter
the prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or amount of any
Claims that may arise in connection therewith.

H.       Reservation of Rights

         Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the Schedule of
Assumed Executory Contract and Unexpired Leases, nor anything contained in the Plan, shall constitute an
admission by the Debtors that any such contract or lease is in fact an Executory Contract or Unexpired Lease or that
any of the Reorganized Debtors has any liability thereunder. If there is a dispute regarding whether a contract or
lease is or was executory or unexpired at the time of assumption or rejection, the Debtors or the Reorganized
Debtors, as applicable, shall have 30 days following entry of a Final Order resolving such dispute to alter its
treatment of such contract or lease under the Plan.

I.       Nonoccurrence of Effective Date

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with
respect to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to
section 365(d)(4) of the Bankruptcy Code.




                                                         27
              Case 19-10488-LSS              Doc 105        Filed 03/22/19         Page 88 of 106



J.       Contracts and Leases Entered Into After the Petition Date.

         Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the Reorganized
Debtors liable thereunder in the ordinary course of their business. Accordingly, such contracts and leases (including
any assumed Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the
Confirmation Order.

                                            ARTICLE VI.
                                PROVISIONS GOVERNING DISTRIBUTIONS

A.       Timing and Calculation of Amounts to Be Distributed

          Unless otherwise provided in the Plan, on the Effective Date (or if a Claim is not an Allowed Claim or
Allowed Interest on the Effective Date, on the date that such Claim or Interest becomes an Allowed Claim or
Allowed Interest, or as soon as reasonably practicable thereafter), or as soon as is reasonably practicable thereafter,
each Holder of an Allowed Claim or Allowed Interests (as applicable) shall receive the full amount of the
distributions that the Plan provides for Allowed Claims or Allowed Interests (as applicable) in the applicable Class.
In the event that any payment or act under the Plan is required to be made or performed on a date that is not a
Business Day, then the making of such payment or the performance of such act may be completed on the next
succeeding Business Day, but shall be deemed to have been completed as of the required date. If and to the extent
that there are Disputed Claims or Disputed Interests, distributions on account of any such Disputed Claims or
Disputed Interests shall be made pursuant to the provisions set forth in Article VII hereof. Except as otherwise
provided in the Plan, Holders of Claims or Interests shall not be entitled to interest, dividends, or accruals on the
distributions provided for in the Plan, regardless of whether such distributions are delivered on or at any time after
the Effective Date.

B.       Disbursing Agent

         Distributions under the Plan shall be made by the Disbursing Agent. The Disbursing Agent shall not be
required to give any bond or surety or other security for the performance of its duties unless otherwise ordered by
the Bankruptcy Court. Additionally, in the event that the Disbursing Agent is so otherwise ordered, all costs and
expenses of procuring any such bond or surety shall be borne by the Reorganized Debtors.

C.       Rights and Powers of Disbursing Agent

         1.       Powers of the Disbursing Agent

         The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements,
instruments, and other documents necessary to perform its duties under the Plan; (b) make all distributions
contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities; and (d) exercise
such other powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan,
or as deemed by the Disbursing Agent to be necessary and proper to implement the provisions hereof.

         2.       Expenses Incurred On or After the Effective Date

        Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and out-of-pocket
expenses incurred by the Disbursing Agent on or after the Effective Date (including taxes) and any reasonable
compensation and out-of-pocket expense reimbursement claims (including reasonable attorney fees and expenses)
made by the Disbursing Agent shall be paid in Cash by the Reorganized Debtors.




                                                          28
              Case 19-10488-LSS               Doc 105       Filed 03/22/19         Page 89 of 106



D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions

         1.       Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record Holders listed on the Claims
Register as of the close of business on the Distribution Record Date.

         2.       Delivery of Distributions

         Except as otherwise provided herein, the Reorganized Debtors shall make distributions to Holders of
Allowed Claims and Allowed Interests on the Effective Date at the address for each such Holder as indicated on the
Debtors’ records as of the date of any such distribution; provided, however, that the manner of such distributions
shall be determined at the discretion of the Reorganized Debtors; provided further, however, that the address for
each Holder of an Allowed Claim shall be deemed to be the address set forth in any Proof of Claim Filed by that
Holder.

         3.       Minimum Distributions

          Notwithstanding any other provision of the Plan, the Disbursing Agent will not be required to make
distributions of Cash less than $100 in value, and each such Claim to which this limitation applies shall be
discharged pursuant to Article VIII and its Holder is forever barred pursuant to Article VIII from asserting that
Claims against the Debtors or their property. No fractional shares or units of the Reorganized Debtors Interests shall
be distributed and no Cash shall be distributed in lieu of such fractional amounts. When any distribution pursuant to
the Plan on account of an Allowed Claim or Allowed Interest (as applicable) would otherwise result in the issuance
of a number of shares or units of the Reorganized Debtors Interests that is not a whole number, the actual
distribution of shares of the Reorganized Debtors Interests shall be rounded as follows: (a) fractions of one-half (½)
or greater shall be rounded to the next higher whole number and (b) fractions of less than one-half (½) shall be
rounded to the next lower whole number with no further payment therefore. The total number of authorized shares
or units of the Reorganized Debtors Interests to be distributed to Holders of Allowed Claims and Allowed Interests
(as applicable) shall be adjusted as necessary to account for the foregoing rounding.

         4.       Undeliverable Distributions and Unclaimed Property

          In the event that any distribution to any Holder is returned as undeliverable, no distribution to such Holder
shall be made unless and until the Disbursing Agent has determined the then-current address of such Holder, at
which time such distribution shall be made to such Holder without interest; provided, however, that such
distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of
one year from the Effective Date. After such date, all unclaimed property or interests in property shall revert to the
Reorganized Debtors automatically and without need for a further order by the Bankruptcy Court (notwithstanding
any applicable federal, provincial, or state escheat, abandoned, or unclaimed property laws to the contrary), and the
Claim of any Holder to such property or Interest in property shall be discharged and forever barred.

E.       Compliance with Tax Requirements

         In connection with the Plan, to the extent applicable, the Debtors or the Reorganized Debtors, as applicable,
shall comply with all tax withholding and reporting requirements imposed on them by any Governmental Unit, and
all distributions pursuant to the Plan shall be subject to such withholding and reporting requirements.
Notwithstanding any provision in the Plan to the contrary, the Disbursing Agent shall be authorized to take all
actions necessary or appropriate to comply with such withholding and reporting requirements, including liquidating
a portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable withholding
taxes, withholding distributions pending receipt of information necessary to facilitate such distributions, or
establishing any other mechanisms they believe are reasonable and appropriate. The Debtors and Reorganized
Debtors, as applicable, reserve the right to allocate all distributions made under the Plan in compliance with
applicable wage garnishments, alimony, child support, and other spousal awards, liens, and encumbrances.


                                                          29
              Case 19-10488-LSS                Doc 105      Filed 03/22/19         Page 90 of 106



F.       Allocations

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims
(as determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal
amount of the Claims, to any portion of such Claims for accrued but unpaid interest.

G.       No Postpetition Interest on Claims.

         Unless otherwise specifically provided for in the Plan or the Confirmation Order, or required by applicable
bankruptcy and non-bankruptcy law, postpetition interest shall not accrue or be paid on any prepetition Claims
against the Debtors, and no Holder of a prepetition Claim against the Debtors shall be entitled to interest accruing on
or after the Petition Date on any such prepetition Claim. For the avoidance of doubt, DIP Claims, Secured
Revolving Loan Claims, and Secured Term Loan Claims will, in each case, accrue and be paid postpetition interest
in accordance with the terms set forth in the agreements governing DIP Claims, Secured Revolving Loan Claims,
and Secured Term Loan Claims, respectively.

H.       Foreign Currency Exchange Rate.

         Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using
the exchange rate for the applicable currency as published in The Wall Street Journal, National Edition, on the
Effective Date.

I.       Setoffs and Recoupment

          Except as expressly provided in this Plan, each Reorganized Debtor may, pursuant to section 553 of the
Bankruptcy Code, set off and/or recoup against any Plan distributions to be made on account of any Allowed Claim,
any and all claims, rights, and Causes of Action that such Reorganized Debtor may hold against the Holder of such
Allowed Claim to the extent such setoff or recoupment is either (1) agreed in amount among the relevant
Reorganized Debtor(s) and Holder of Allowed Claim or (2) otherwise adjudicated by the Bankruptcy Court or
another court of competent jurisdiction; provided, however, that neither the failure to effectuate a setoff or
recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by a Reorganized Debtor
or its successor of any and all claims, rights, and Causes of Action that such Reorganized Debtor or its successor
may possess against the applicable Holder. In no event shall any Holder of Claims against, or Interests in, the
Debtors be entitled to recoup any such Claim or Interest against any claim, right, or Cause of Action of the Debtors
or the Reorganized Debtors, as applicable, unless such Holder actually has performed such recoupment and provided
notice thereof in writing to the Debtors in accordance with Article XII.G of the Plan on or before the Effective Date,
notwithstanding any indication in any Proof of Claim or otherwise that such Holder asserts, has, or intends to
preserve any right of recoupment.

J.       Claims Paid or Payable by Third Parties

         1.       Claims Paid by Third Parties

         The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall
be disallowed without a Claim objection having to be Filed and without any further notice to or action, order, or
approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment in full on account of
such Claim from a party that is not a Debtor or the Reorganized Debtors. Subject to the last sentence of this
paragraph, to the extent a Holder of a Claim receives a distribution on account of such Claim and receives payment
from a party that is not a Debtor or the Reorganized Debtors on account of such Claim, such Holder shall, within
two weeks of receipt thereof, repay or return the distribution to the applicable Debtor or the Reorganized Debtors, to
the extent the Holder’s total recovery on account of such Claim from the third party and under the Plan exceeds the
amount of such Claim as of the date of any such distribution under the Plan. The failure of such Holder to timely
repay or return such distribution shall result in the Holder owing the applicable Debtor or the Reorganized Debtors



                                                          30
              Case 19-10488-LSS              Doc 105        Filed 03/22/19         Page 91 of 106



annualized interest at the Federal Judgment Rate on such amount owed for each Business Day after the two-week
grace period specified above until the amount is repaid.

         2.       Claims Payable by Third Parties

          No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ insurance policies until the Holder of such Allowed Claim has exhausted all remedies with
respect to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or
in part a Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such
insurers’ agreement, the applicable portion of such Claim may be expunged without a Claims objection having to be
Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

         3.       Applicability of Insurance Policies

         Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall be in
accordance with the provisions of any applicable insurance policy. Nothing contained in the Plan shall constitute or
be deemed a waiver of any Cause of Action that the Debtors or any Entity may hold against any other Entity,
including insurers under any policies of insurance, nor shall anything contained herein constitute or be deemed a
waiver by such insurers of any defenses, including coverage defenses, held by such insurers.

                                            ARTICLE VII.
                               PROCEDURES FOR RESOLVING CONTINGENT,
                                 UNLIQUIDATED AND DISPUTED CLAIMS

A.       Allowance of Claims

        After the Effective Date, the Reorganized Debtors shall have and retain any and all rights and defenses
such Debtor had with respect to any Claim or Interest immediately before the Effective Date.

B.       Claims Administration Responsibilities

         Except as otherwise specifically provided in the Plan, after the Effective Date, the Reorganized Debtors
shall have the sole authority: (1) to File, withdraw, or litigate to judgment objections to Claims or Interests; (2) to
settle or compromise any Disputed Claim without any further notice to or action, order, or approval by the
Bankruptcy Court; and (3) to administer and adjust the Claims Register to reflect any such settlements or
compromises without any further notice to or action, order, or approval by the Bankruptcy Court.

C.       Estimation of Claims

          Before or after the Effective Date, the Debtors or Reorganized Debtors, as applicable, may (but are not
required to) at any time request that the Bankruptcy Court estimate any Claim that is contingent or unliquidated
pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether any party previously has
objected to such Claim or Interest or whether the Bankruptcy Court has ruled on any such objection, and the
Bankruptcy Court shall retain jurisdiction to estimate any such Claim or Interest, including during the litigation of
any objection to any Claim or Interest or during the appeal relating to such objection. Notwithstanding any
provision otherwise in the Plan, a Claim that has been expunged from the Claims Register, but that either is subject
to appeal or has not been the subject of a Final Order, shall be deemed to be estimated at zero dollars, unless
otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any contingent or
unliquidated Claim or Interest, that estimated amount shall constitute a maximum limitation on such Claim or
Interest for all purposes under the Plan (including for purposes of distributions), and the relevant Reorganized
Debtor may elect to pursue any supplemental proceedings to object to any ultimate distribution on such Claim or
Interest.




                                                          31
               Case 19-10488-LSS              Doc 105        Filed 03/22/19         Page 92 of 106



D.       Adjustment to Claims Without Objection

         Any Claim or Interest that has been paid or satisfied, or any Claim or Interest that has been amended or
superseded, cancelled or otherwise expunged (including pursuant to the Plan), may be adjusted or expunged
(including on the Claims Register, to the extent applicable) by the Reorganized Debtors without a Claims objection
having to be Filed and without any further notice to or action, order or approval of the Bankruptcy Court.

E.       Time to File Objections to Claims

         Any objections to Claims shall be Filed on or before the later of (1) 180 days after the Effective Date and
(2) such other period of limitation as may be specifically fixed by the Debtors or the Reorganized Debtors, as
applicable, or by a Final Order of the Bankruptcy Court for objecting to such claims.

F.       Disallowance of Claims

          Any Claims or Interests held by Entities from which property is recoverable under section 542, 543, 550, or
553 of the Bankruptcy Code, or that is a transferee of a transfer avoidable under section 522(f), 522(h), 544, 545,
547, 548, 549, or 724(a) of the Bankruptcy Code, shall be deemed disallowed pursuant to section 502(d) of the
Bankruptcy Code, and Holders of such Claims or Interests may not receive any distributions on account of such
Claims until such time as such Causes of Action against that Entity have been settled or a Bankruptcy Court order
with respect thereto has been entered and all sums due, if any, to the Debtors by that Entity have been turned over or
paid to the Reorganized Debtors. All Claims Filed on account of an indemnification obligation to a director, officer,
or employee shall be deemed satisfied and expunged from the Claims Register as of the Effective Date to the extent
such indemnification obligation is assumed (or honored or reaffirmed, as the case may be) pursuant to the Plan,
without any further notice to or action, order, or approval of the Bankruptcy Court.

         Except as provided herein or otherwise agreed, any and all Proofs of Claim Filed after the Bar Date
shall be deemed disallowed and expunged as of the Effective Date without any further notice to or action,
order, or approval of the Bankruptcy Court, and Holders of such Claims may not receive any distributions
on account of such Claims, unless on or before the Confirmation Hearing such late Claim has been deemed
timely Filed by a Final Order.

G.       Amendments to Claims

          On or after the applicable bar date, a Claim may not be Filed or amended without the prior authorization of
the Bankruptcy Court or the Reorganized Debtors. Absent such authorization, any new or amended Claim Filed
shall be deemed disallowed in full and expunged without any further action.

H.       No Distributions Pending Allowance

        If an objection to a Claim or portion thereof is Filed as set forth in Article VII.B, no payment or distribution
provided under the Plan shall be made on account of such Claim or portion thereof unless and until such Disputed
Claim becomes an Allowed Claim.

I.       Distributions After Allowance

          To the extent that a Disputed Claim ultimately becomes an Allowed Claim or Allowed Interest,
distributions (if any) shall be made to the Holder of such Allowed Claim or Allowed Interest (as applicable) in
accordance with the provisions of the Plan. As soon as practicable after the date that the order or judgment of the
Bankruptcy Court allowing any Disputed Claim or Disputed Interest becomes a Final Order, the Disbursing Agent
shall provide to the Holder of such Claim or Interest the distribution (if any) to which such Holder is entitled under
the Plan as of the Effective Date, without any interest, dividends, or accruals to be paid on account of such Claim or
Interest unless required under applicable bankruptcy law.




                                                          32
               Case 19-10488-LSS              Doc 105        Filed 03/22/19         Page 93 of 106



                                       ARTICLE VIII.
                 SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests

          To the maximum extent provided by section 1141(d) of the Bankruptcy Code, and except as otherwise
specifically provided in the Plan or in any contract, instrument, or other agreement or document created pursuant to
the Plan, the distributions, rights, and treatment that are provided in the Plan shall be in complete satisfaction,
discharge, and release, effective as of the Effective Date, of Claims (including any Intercompany Claims resolved or
compromised after the Effective Date by the Reorganized Debtors), Interests, and Causes of Action of any nature
whatsoever, including any interest accrued on Claims or Interests from and after the Petition Date, whether known
or unknown, against, liabilities of, Liens on, obligations of, rights against, and Interests in, the Debtors or any of
their assets or properties, regardless of whether any property shall have been distributed or retained pursuant to the
Plan on account of such Claims and Interests, including demands, liabilities, and Causes of Action that arose before
the Effective Date, any liability (including withdrawal liability) to the extent such Claims or Interests relate to
services performed by current or former employees of the Debtors prior to the Effective Date and that arise from a
termination of employment, any contingent or non-contingent liability on account of representations or warranties
issued on or before the Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
Bankruptcy Code, in each case whether or not: (1) a Proof of Claim or Proof of Interest based upon such debt, right,
or Interest is Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code; (2) a Claim or Interest based
upon such debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (3) the Holder of
such a Claim or Interest has accepted the Plan. Any default by the Debtors or their Affiliates with respect to any
Claim or Interest that existed immediately prior to or on account of the filing of the Chapter 11 Cases shall be
deemed cured on the Effective Date. The Confirmation Order shall be a judicial determination of the discharge of
all Claims and Interests subject to the occurrence of the Effective Date.

B.       Release of Liens

         Except as otherwise provided in the Exit Credit Agreement Documents, the Plan, the Plan
Supplement, or any contract, instrument, release, or other agreement or document created pursuant to the
Plan, on the Effective Date and concurrently with the applicable distributions made pursuant to the Plan and,
in the case of a Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the
Effective Date, except for Other Secured Claims that the Debtors elect to reinstate in accordance with Article
III.B.1 hereof, all mortgages, deeds of trust, Liens, pledges, or other security interests against any property of
the Estates shall be fully released, settled, compromised, and discharged, and all of the right, title, and
interest of any Holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall revert
automatically to the applicable Debtor and its successors and assigns. Any Holder of such Secured Claim
(and the applicable agents for such Holder) shall be authorized and directed to release any collateral or other
property of any Debtor (including any cash collateral and possessory collateral) held by such Holder (and the
applicable agents for such Holder), and to take such actions as may be reasonably requested by the
Reorganized Debtors to evidence the release of such Lien, including the execution, delivery, and filing or
recording of such releases. The presentation or filing of the Confirmation Order to or with any federal, state,
provincial, or local agency or department shall constitute good and sufficient evidence of, but shall not be
required to effect, the termination of such Liens.

C.       Releases by the Debtors

         As of the Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, each Released Party is deemed released and discharged by each and all of the Debtors, the
Reorganized Debtors, and their Estates, in each case on behalf of themselves and their respective successors,
assigns, and representatives, and any and all other entities who may purport to assert any Cause of Action,
directly or derivatively, by, through, for, or because of the foregoing entities, from any and all Claims,
obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever, including any
derivative claims, asserted or assertable on behalf of any of the Debtors, the Reorganized Debtors, or their
Estates, as applicable, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, in
law, equity, or otherwise, that the Debtors, the Reorganized Debtors, or their Estates or affiliates would have

                                                          33
              Case 19-10488-LSS            Doc 105       Filed 03/22/19       Page 94 of 106



been legally entitled to assert in their own right (whether individually or collectively) or on behalf of the
Holder of any Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
manner arising from, in whole or in part, the Debtors, the purchase, sale, or rescission of the purchase or sale
of any security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements
between any Debtor and any Released Party, the Debtors’ in- or out-of-court restructuring efforts,
intercompany transactions, the Restructuring Transactions, the Sale Transaction, entry into the Exit Credit
Agreement Facility, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, filing, or
consummation of the Disclosure Statement, the DIP Facility, the Sale Transaction, the Exit Credit Agreement
Facility, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any Restructuring
Transaction, contract, instrument, release, or other agreement or document created or entered into in
connection with the Disclosure Statement, the DIP Facility, or the Plan, the filing of the Chapter 11 Cases, the
pursuit of Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
including the issuance or distribution of securities pursuant to the Plan, or the distribution of property under
the Plan or any other related agreement, or upon any other act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date; provided that any right to enforce the Plan and
Confirmation Order is not so released.

          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases described in this Article VIII.C by the Debtors, which includes by
reference each of the related provisions and definitions contained in this Plan, and further, shall constitute
the Bankruptcy Court’s finding that each release described in this Article VIII.C is: (1) in exchange for the
good and valuable consideration provided by the Released Parties, (2) a good-faith settlement and
compromise of such Claims; (3) in the best interests of the Debtors and all Holders of Claims and Interests;
(4) fair, equitable, and reasonable; (5) given and made after due notice and opportunity for hearing; and (6) a
bar to any of the Debtors or Reorganized Debtors or their respective Estates asserting any claim, Cause of
Action, or liability related thereto, of any kind whatsoever, against any of the Released Parties or their
property.

D.      Releases by Holders of Claims and Interests.

          As of the Effective Date, in exchange for good and valuable consideration, including the obligations
of the Debtors under the Plan and the contributions of the Released Parties to facilitate and implement the
Plan, to the fullest extent permissible under applicable law, as such law may be extended or integrated after
the Effective Date, each of the Releasing Parties shall be deemed to have conclusively, absolutely,
unconditionally, irrevocably, and forever, released and discharged each Debtor, Reorganized Debtor, and
Released Party from any and all any and all Claims, interests, obligations, rights, suits, damages, Causes of
Action, remedies, and liabilities whatsoever, whether known or unknown, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, or otherwise, including any derivative claims, asserted or assertable on
behalf of any of the Debtors, the Reorganized Debtors, or their Estates, that such Entity would have been
legally entitled to assert (whether individually or collectively), based on or relating to, or in any manner
arising from, in whole or in part, the Debtors, the purchase, sale, or rescission of the purchase or sale of any
security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events giving
rise to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements between
any Debtor and any Released Party, the Debtors’ in- or out-of-court restructuring efforts, intercompany
transactions, the Restructuring Transactions, the Sale Transaction, entry into the Exit Credit Agreement
Facility, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, filing, or
consummation of the Disclosure Statement, the DIP Facility, the Sale Transaction, the Exit Credit Agreement
Facility, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any Restructuring
Transaction, contract, instrument, release, or other agreement or document created or entered into in
connection with the Disclosure Statement, the DIP Facility, or the Plan, the filing of the Chapter 11 Cases, the
pursuit of Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
including the issuance or distribution of securities pursuant to the Plan, or the distribution of property under
the Plan or any other related agreement, or upon any other related act or omission, transaction, agreement,
event, or other occurrence taking place on or before the Effective Date; provided that any right to enforce the
Plan and Confirmation Order is not so released.

                                                       34
              Case 19-10488-LSS             Doc 105       Filed 03/22/19       Page 95 of 106



         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the releases described in this Article VIII.D, which includes by reference each of
the related provisions and definitions contained in this Plan, and further, shall constitute the Bankruptcy
Court’s finding that each release described in this Article VIII.D is: (1) in exchange for the good and
valuable consideration provided by the Released Parties, (2) a good-faith settlement and compromise of such
Claims; (3) in the best interests of the Debtors and all Holders of Claims and Interests; (4) fair, equitable, and
reasonable; (5) given and made after due notice and opportunity for hearing; and (6) a bar to any of the
Debtors or Reorganized Debtors or their respective Estates asserting any claim, Cause of Action, or liability
related thereto, of any kind whatsoever, against any of the Released Parties or their property.

E.      Exculpation

         Notwithstanding anything herein to the contrary, the Exculpated Parties shall neither have nor
incur, and each Exculpated Party is released and exculpated from, any liability to any Holder of a Cause of
Action, Claim, or Interest for any act or omission in connection with, relating to, or arising out of, the
Chapter 11 Cases, consummation of the Sale Transaction, the formulation, preparation, dissemination,
negotiation, filing, or consummation of the Disclosure Statement, the Plan, or any Restructuring Transaction,
contract, instrument, release or other agreement or document created or entered into in connection with the
Disclosure Statement or the Plan, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit
of Consummation, the administration and implementation of the Plan, including the issuance of securities
pursuant to the Plan or the distribution of property under the Plan or any other related agreement (whether
or not such issuance or distribution occurs following the Effective Date), negotiations regarding or
concerning any of the foregoing, or the administration of the Plan or property to be distributed hereunder,
except for actions determined by Final Order to have constituted actual fraud or gross negligence, but in all
respects such Entities shall be entitled to reasonably rely upon the advice of counsel with respect to their
duties and responsibilities pursuant to the Plan. The Exculpated Parties have, and upon completion of the
Plan shall be deemed to have, participated in good faith and in compliance with the applicable laws with
regard to the solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are
not, and on account of such distributions shall not be, liable at any time for the violation of any applicable
law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan or such distributions
made pursuant to the Plan.

F.      Injunction

         Except as otherwise expressly provided in the Plan or for obligations issued or required to be paid
pursuant to the Plan or the Confirmation Order, all Entities who have held, hold, or may hold Claims or
Interests that have been released, discharged, or are subject to exculpation are permanently enjoined, from
and after the Effective Date, from taking any of the following actions against, as applicable, the Debtors, the
Reorganized Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or continuing in any
manner any action or other proceeding of any kind on account of or in connection with or with respect to any
such Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner or means any
judgment, award, decree, or order against such Entities on account of or in connection with or with respect to
any such Claims or Interests; (3) creating, perfecting, or enforcing any encumbrance of any kind against such
Entities or the property or the estates of such Entities on account of or in connection with or with respect to
any such Claims or Interests; (4) asserting any right of setoff, subrogation, or recoupment of any kind against
any obligation due from such Entities or against the property of such Entities on account of or in connection
with or with respect to any such Claims or Interests unless such Holder has Filed a motion requesting the
right to perform such setoff on or before the Effective Date, and notwithstanding an indication of a Claim or
Interest or otherwise that such Holder asserts, has, or intends to preserve any right of setoff pursuant to
applicable law or otherwise; and (5) commencing or continuing in any manner any action or other proceeding
of any kind on account of or in connection with or with respect to any such Claims or Interests released or
settled pursuant to the Plan.

        Upon entry of the Confirmation Order, all Holders of Claims and Interests and their respective
current and former employees, agents, officers, directors, principals, and direct and indirect affiliates shall be
enjoined from taking any actions to interfere with the implementation or Consummation of the Plan. Each

                                                       35
               Case 19-10488-LSS              Doc 105        Filed 03/22/19         Page 96 of 106



Holder of an Allowed Claim or Allowed Interest, as applicable, by accepting, or being eligible to accept,
distributions under or Reinstatement of such Claim or Interest, as applicable, pursuant to the Plan, shall be
deemed to have consented to the injunction provisions set forth in this Article VIII.F of the Plan.

G.       Protections Against Discriminatory Treatment.

         To the maximum extent provided by section 525 of the Bankruptcy Code and the Supremacy Clause of the
U.S. Constitution, all Entities, including Governmental Units, shall not discriminate against the Reorganized
Debtors or deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to,
condition such a grant to, discriminate with respect to such a grant against, the Reorganized Debtors, or another
Entity with whom the Reorganized Debtors have been associated, solely because each Debtor has been a debtor
under chapter 11 of the Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or
during the Chapter 11 Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is
dischargeable in the Chapter 11 Cases.

H.       Document Retention.

         On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the Reorganized
Debtors.

I.       Reimbursement or Contribution.

         If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent
or (2) the relevant Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a
Final Order has been entered prior to the Confirmation Date determining such Claim as no longer contingent.

J.       Term of Injunctions or Stays

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation
Order), shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or
the Confirmation Order shall remain in full force and effect in accordance with their terms.

                                            ARTICLE IX.
                              CONDITIONS PRECEDENT TO CONFIRMATION
                                 AND CONSUMMATION OF THE PLAN

A.       Conditions Precedent to the Confirmation of the Plan

         It shall be a condition precedent to the confirmation of the Plan that the following conditions shall have
been satisfied or waived pursuant to the provisions of Article IX.C hereof:

         1. The Plan Supplement and all of the schedules, documents, and exhibits contained therein shall have
been filed; and

         2.   The Bankruptcy Court shall have entered a Confirmation Order with respect to the Plan.




                                                           36
                 Case 19-10488-LSS              Doc 105        Filed 03/22/19         Page 97 of 106



B.         Conditions Precedent to the Effective Date

          It shall be a condition to the Effective Date of the Plan that the following conditions shall have been
satisfied or waived pursuant to the provisions of Article IX.C hereof:

         3. the Bankruptcy Court shall have entered the Confirmation Order (and such order shall be a Final
Order) in form and substance acceptable to the Debtors;

                (a)      authorize the Debtors to take all actions necessary to enter into, implement, and consummate
                         the contracts, instruments, releases, leases, indentures, and other agreements or documents
                         created in connection with the Plan;

                (b)      decree that the provisions of the Confirmation Order and the Plan are nonseverable and
                         mutually dependent;

                (c)      authorize the Debtors, as applicable or necessary, to: (i) implement the Restructuring
                         Transactions, including the Exit Credit Agreement Facility, and Exit Secured Term Loan
                         Facility and Exit Secured Revolving Loan Facility therewith, and the Sale Transaction;
                         (ii) distribute the Reorganized Debtors Interests pursuant to the exemption from registration
                         under the Securities Act provided by section 1145 of the Bankruptcy Code or other exemption
                         from such registration or pursuant to one or more registration statements; (iii) make all
                         distributions and issuances as required under the Plan, including Cash and the Reorganized
                         Debtors Interests; and (iv) enter into any agreements, transactions, and sales of property as set
                         forth in the Plan Supplement;

                (d)      authorize the implementation of the Plan in accordance with its terms; and

                (e)      provide that, pursuant to section 1146 of the Bankruptcy Code, the assignment or surrender of
                         any lease or sublease, and the delivery of any deed or other instrument or transfer order, in
                         furtherance of, or in connection with the Plan, including any deeds, bills of sale, or
                         assignments executed in connection with any disposition or transfer of assets contemplated
                         under the Plan, shall not be subject to any stamp, real estate transfer, mortgage recording, or
                         other similar tax; and

            4. the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
     documents that are necessary to implement and effectuate the Plan;

             5. the Professional Fee Escrow Account shall have been established and funded with the Professional
     Fee Escrow Amount;

              6. the Exit Credit Agreement Documents shall have been executed and delivered by all of the Entities
     that are parties thereto, and all conditions precedent (other than any conditions related to the occurrence of the
     Effective Date) to the consummation of the Exit Credit Agreement Facility shall have been waived or satisfied in
     accordance with the terms thereof, and the closing of the Exit Credit Agreement Facility shall be deemed to occur
     concurrently with the occurrence of the Effective Date;

              7. all conditions precedent to the consummation of the Sale Transaction shall have been satisfied in
     accordance with the terms thereof, and the closing of the Sale Transaction shall be deemed to occur concurrently
     with the occurrence of the Effective Date;

              8. all conditions precedent to the issuance of the New Common Stock, other than any conditions related
     to the occurrence of the Effective Date, shall have occurred;




                                                            37
                 Case 19-10488-LSS              Doc 105        Filed 03/22/19        Page 98 of 106



              9. the final version of the Plan Supplement and all of the schedules, documents, and exhibits contained
     therein shall have been Filed in a manner consistent in all material respects with the Plan and shall be in form and
     substance acceptable to the Debtors;

             10. all reasonable and documented fees and out-of-pocket professional fees and expenses of the Secured
     Credit Agreement Agent, the Secured Credit Agreement Lenders, the DIP Agent, the DIP Lender, the Exit Credit
     Agreement Agent, and the Exit Credit Agreement Lenders, as applicable, shall have been paid in full in cash by
     the Debtors; and

             11. the Debtors shall have implemented the Restructuring Transactions and all transactions
     contemplated herein, in a manner consistent in all respects with the Plan, pursuant to documentation acceptable to
     the Debtors.

C.         Waiver of Conditions

        The conditions to Confirmation and to Consummation set forth in Article IX may be waived by the Debtors
without notice, leave, or order of the Bankruptcy Court or any formal action other than proceeding to confirm or
consummate the Plan.

D.         Effect of Failure of Conditions

         If the Consummation of the Plan does not occur, the Plan shall be null and void in all respects and nothing
contained in the Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any Claims by the
Debtors, any Holders, or any other Entity; (2) prejudice in any manner the rights of the Debtors, any Holders, or any
other Entity; or (3) constitute an admission, acknowledgment, offer or undertaking by the Debtors, any Holders, or
any other Entity in any respect.

                                         ARTICLE X.
                     MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN

A.         Modification and Amendments

         Except as otherwise specifically provided in the Plan, the Debtors reserve the right to modify the Plan,
whether such modification is material or immaterial, and seek Confirmation consistent with the Bankruptcy Code
and, as appropriate, not re-solicit votes on such modified Plan. Subject to certain restrictions and requirements set
forth in section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019 (as well as those restrictions on
modifications set forth in the Plan), the Debtors expressly reserve their respective rights to revoke or withdraw, to
alter, amend or modify the Plan with respect to such Debtor, one or more times, before or after Confirmation, and, to
the extent necessary, may initiate proceedings in the Bankruptcy Court to so alter, amend or modify the Plan, or
remedy any defect or omission or reconcile any inconsistencies in the Plan, the Disclosure Statement or the
Confirmation Order, in such matters as may be necessary to carry out the purposes and intent of the Plan.

B.         Effect of Confirmation on Modifications

          Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or re-solicitation under Bankruptcy Rule 3019.

C.         Revocation or Withdrawal of Plan

         The Debtors reserve the right to revoke or withdraw the Plan before the Confirmation Date and to file
subsequent plans of reorganization. If the Debtors revoke or withdraw the Plan, or if Confirmation or
Consummation does not occur, then: (1) the Plan shall be null and void in all respects; (2) any settlement or
compromise embodied in the Plan (including the fixing or limiting to an amount certain of the Claims or Interests or
Class of Claims or Interests), assumption or rejection of Executory Contracts or Unexpired Leases effected by the

                                                            38
               Case 19-10488-LSS              Doc 105        Filed 03/22/19         Page 99 of 106



Plan, and any document or agreement executed pursuant to the Plan, shall be deemed null and void; and (3) nothing
contained in the Plan shall: (a) constitute a waiver or release of any Claims or Interests; (b) prejudice in any manner
the rights of such Debtor, any Holder, or any other Entity; or (c) constitute an admission, acknowledgement, offer or
undertaking of any sort by such Debtor, any Holder, or any other Entity.

                                               ARTICLE XI.
                                        RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or related
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

        1.        allow, disallow, determine, liquidate, classify, estimate, or establish the priority, Secured or
unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment of any
Administrative Claim and the resolution of any and all objections to the Secured or unsecured status, priority,
amount, or allowance of Claims or Interests;

         2.       decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Professionals (including Accrued
Professional Compensation Claims) authorized pursuant to the Bankruptcy Code or the Plan;

         3.       resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may be liable
and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including cure Claims pursuant to
section 365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract or
Unexpired Lease that is assumed; (c) the Reorganized Debtors amending, modifying or supplementing, after the
Effective Date, pursuant to Article V, the Executory Contracts and Unexpired Leases to be assumed or rejected or
otherwise; and (d) any dispute regarding whether a contract or lease is or was executory, expired, or terminated;

         4.        ensure that distributions to Holders of Allowed Claims and Interests are accomplished pursuant to
the provisions of the Plan;

         5.     adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters,
and any other matters, and grant or deny any applications involving a Debtor that may be pending on the
Effective Date;

         6.       adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

       7.       enter and implement such orders as may be necessary or appropriate to execute, implement, or
consummate the provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
documents created in connection with the Plan, the Plan Supplement, or the Disclosure Statement;

        8.      enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of
the Bankruptcy Code;

        9.        resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection
with Consummation, including interpretation or enforcement of the Plan or any Entity’s obligations incurred in
connection with the Plan;

        10.        issue injunctions, enter and implement other orders, or take such other actions as may be necessary
or appropriate to restrain interference by any Entity with Consummation or enforcement of the Plan;




                                                          39
               Case 19-10488-LSS             Doc 105        Filed 03/22/19         Page 100 of 106



         11.      resolve any cases, controversies, suits, disputes or Causes of Action with respect to the releases,
injunctions and other provisions contained in Article VIII, and enter such orders as may be necessary or appropriate
to implement such releases, injunctions and other provisions;

         12.       resolve any cases, controversies, suits, disputes or Causes of Action with respect to the repayment
or return of distributions and the recovery of additional amounts owed by the Holder of a Claim for amounts not
timely repaid pursuant to Article VI.J.1;

         13.     enter and implement such orders as are necessary or appropriate if the Confirmation Order is for
any reason modified, stayed, reversed, revoked, or vacated;

        14. determine any other matters that may arise in connection with or relate to the Plan, the
Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other agreement or
document created in connection with the Plan or the Disclosure Statement;

         15.      enter an order or Final Decree concluding or closing any of the Chapter 11 Cases;

         16.      adjudicate any and all disputes arising from or relating to distributions under the Plan;

         17.      consider any modifications of the Plan, to cure any defect or omission or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        18.     determine requests for the payment of Claims entitled to priority pursuant to section 507 of the
Bankruptcy Code;

        19.      hear and determine disputes arising in connection with the interpretation, implementation, or
enforcement of the Plan or the Confirmation Order, including disputes arising under agreements, documents, or
instruments executed in connection with the Plan;

        20.      hear and determine disputes arising in connection with the interpretation, implementation, or
enforcement of the Restructuring Transactions, whether they occur before, on or after the Effective Date;

         21.      hear and determine matters concerning state, local, and federal taxes in accordance with
sections 346, 505, and 1146 of the Bankruptcy Code;

         22.      hear and determine all disputes involving the existence, nature, scope, or enforcement of any
exculpations, discharges, injunctions, and releases granted in connection with and under the Plan, including under
Article VIII;

         23.      enforce all orders previously entered by the Bankruptcy Court; and

         24.      hear any other matter not inconsistent with the Bankruptcy Code.

                                               ARTICLE XII.
                                        MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect

         Subject to Article IX.A and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise,
upon the occurrence of the Effective Date, the terms of the Plan and the Plan Supplement shall be immediately
effective and enforceable and deemed binding upon the Debtors, the Reorganized Debtors, and any and all Holders
of Claims or Interests (irrespective of whether their Claims or Interests are deemed to have accepted the Plan), all
Entities that are parties to or are subject to the settlements, compromises, releases, discharges, and injunctions
described in the Plan, each Entity acquiring property under the Plan and any and all non-Debtor parties to Executory
Contracts and Unexpired Leases with the Debtors.

                                                          40
              Case 19-10488-LSS               Doc 105        Filed 03/22/19         Page 101 of 106



B.       Additional Documents

         On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements and
other documents as may be necessary or appropriate to effectuate and further evidence the terms and conditions of
the Plan. The Debtors or Reorganized Debtors, as applicable, and all Holders receiving distributions pursuant to the
Plan and all other parties in interest may, from time to time, prepare, execute, and deliver any agreements or
documents and take any other actions as may be necessary or advisable to effectuate the provisions and intent of the
Plan.

C.       Payment of Statutory Fees.

          All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Reorganized Debtors (or the
Disbursing Agent on behalf of each of the Reorganized Debtors) for each quarter (including any fraction thereof)
until the Chapter 11 Cases are converted, dismissed, or closed, whichever occurs first.

D.       Statutory Committee and Cessation of Fee and Expense Payment

         On the Effective Date, any statutory committee appointed in the Chapter 11 Cases shall dissolve and
members thereof shall be released and discharged from all rights and duties from or related to the Chapter 11 Cases,
except for the filing of applications for compensation. The Reorganized Debtors shall no longer be responsible for
paying any fees or expenses incurred by any statutory committees after the Effective Date.

E.       Reservation of Rights

         Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
enters the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date does
not occur. None of the Filing of the Plan, any statement or provision contained in the Plan or the taking of any
action by any Debtor with respect to the Plan, the Disclosure Statement or the Plan Supplement shall be or shall be
deemed to be an admission or waiver of any rights of any Debtor with respect to the Holders unless and until the
Effective Date has occurred.

F.       Successors and Assigns

         The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, director, agent,
representative, attorney, beneficiaries, or guardian, if any, of each Entity.

G.       Notices

         To be effective, all notices, requests and demands to or upon the Debtors shall be in writing (including by
facsimile transmission). Unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed to the following:

         1.   If to the Debtors, to:

                    Z Gallerie, LLC
                    1855 West 139th Street
                    Gardena, California
                    Attention: Mark Weinsten
                    E-mail address: mweinsten@zgallerie.com

                    with copies (which shall not constitute notice) to:



                                                           41
             Case 19-10488-LSS              Doc 105        Filed 03/22/19       Page 102 of 106



                   Kirkland & Ellis LLP
                   601 Lexington Avenue
                   New York, New York 10022
                   Attention: Joshua A. Sussberg, P.C.
                   E-mail address: joshua.sussberg@kirkland.com

                  - and -

                   Kirkland & Ellis LLP
                   300 North LaSalle
                   Chicago, Illinois 60654
                   Attention: Justin Bernbrock
                   E-mail address: justin.bernbrock@kirkland.com

        2.   If to Secured Term Loan Lenders, to:

                   KKR Credit Advisors (US) LLC
                   555 California Street, 50th Floor
                   San Francisco, California 94104
                   Attention: Scott Cullerton
                   E-mail address: scott.cullerton@kkr.com

                   with copies (which shall not constitute notice) to:

                  Proskauer Rose LLP
                  Eleven Times Square
                  New York, New York 10036
                  Attention: Vincent Indelicato
                             Chris Theodoridis
                  E-mail address: vindelicato@proskauer.com
                                  ctheodoridis@proskauer.com

        3.   If to Secured Revolving Loan Lenders, to:

                   Keybank National Association
                   127 Public Square
                   Cleveland, Ohio 44114
                   Attention: [ ]
                   E-mail address: [ ]

                   with copies (which shall not constitute notice) to:

                   Buchanan Ingersoll & Rooney PC
                   919 N. Market St.
                   Wilmington, DE 19801
                   Attention: Mary F. Caloway
                   E-mail address: mary.caloway@bipc.com

         After the Effective Date, the Reorganized Debtors may notify Entities that, in order to continue to receive
documents pursuant to Bankruptcy Rule 2002, such Entity must File a renewed request to receive documents
pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors are authorized to limit the list of Entities
receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such renewed requests.




                                                          42
             Case 19-10488-LSS              Doc 105        Filed 03/22/19           Page 103 of 106



H.        Entire AgreementExcept as otherwise indicated, the Plan and the Plan Supplement supersede all previous
and contemporaneous negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

I.       Exhibits

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the website of the Notice and Claims Agent at http://www.deb.uscourts.gov/ or the Bankruptcy
Court’s website at [●]. To the extent any exhibit or document is inconsistent with the terms of the Plan, unless
otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan shall control.

J.       Non-Severability of Plan Provisions

         The provisions of the Plan, including its release, injunction, exculpation and compromise provisions, are
mutually dependent and non-severable. The Confirmation Order shall constitute a judicial determination and shall
provide that each term and provision of the Plan, as it may have been altered or interpreted in accordance with the
foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or
modified without the consent of the Debtors and the [●], consistent with the terms set forth herein; and (3) non-
severable and mutually dependent.

K.       Votes Solicited in Good Faith

          Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with the Bankruptcy Code, and pursuant to section 1125(e) of the Bankruptcy Code,
the Debtors and each of their respective affiliates, agents, representatives, members, principals, shareholders,
officers, directors, employees, advisors, and attorneys will be deemed to have participated in good faith and in
compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and sold under
the Plan and any previous plan and, therefore, no such parties will have any liability for the violation of any
applicable law, rule, or regulation governing the solicitation of votes on the Plan or the offer, issuance, sale, or
purchase of the Securities offered and sold under the Plan or any previous plan.

L.       Closing of Chapter 11 Cases

        The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order necessary to close the
Chapter 11 Cases.

M.       Conflicts

         Except as set forth in the Plan, to the extent that any provision of the Disclosure Statement, the
Plan Supplement, or any other order (other than the Confirmation Order) referenced in the Plan (or any exhibits,
schedules, appendices, supplements, or amendments to any of the foregoing), conflict with or are in any way
inconsistent with any provision of the Plan, the Plan shall govern and control. In the event of an inconsistency
between the Confirmation Order and the Plan, the Confirmation Order shall control.



                                     [Remainder of page intentionally left blank]




                                                         43
            Case 19-10488-LSS   Doc 105     Filed 03/22/19       Page 104 of 106



                                   Z Gallerie, LLC and Z Gallerie Holding Company, LLC


                                   By:    /s/ Mark Weinsten
                                   Name: Mark Weinsten
                                   Title: Interim President and CEO




COUNSEL:

Dated: March 22, 2019           /s/ Domenic E. Pacitti
Wilmington, Delaware            Domenic E. Pacitti (DE Bar No. 3989)
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                                Proposed Co-Counsel for the Debtors and Debtors in Possession
              Case 19-10488-LSS   Doc 105    Filed 03/22/19   Page 105 of 106



                                      EXHIBIT B

                                   Liquidation Analysis

                                      [TO COME]




#88746404v6
              Case 19-10488-LSS   Doc 105   Filed 03/22/19   Page 106 of 106



                                      EXHIBIT C

                                  Financial Projections

                                      [TO COME]




#88746404v6
